EXHIBIT 5
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


  YEHUDA HERSKOVIC,                                            Case No.: i:2019cv03372


                                         Plainlijf,            SUPPLEMENTAL
                                                               DECLARATION OE DANIEL
                          -against-                            REED RE MOTION TO
                                                               COMPEL CONTRACTUAL
  VERIZON WIRELESS,                                            ARBITRATION AND STAY
                                                               ACTION
                                         Defendant.
                                                               Case Remuvcd: June 6, 2019




  SUPPLEMENTAL DECLARATION OF DANIEL REED IN SUPPORT OF MOTION TO
              COMPEL CONTRACTUAL ARBITRATION AND STAY ACTION



         I, Daniel Rccd. hereby declare as follows;

         1.      I am over the age of 18 and am competent to testify to the facts declared below,

  and could testify truthfully ihereio if required. I am currently employed by Verizon Wireless as

  a Senior Analyst. I have been employed by Verizon Wireless since 2005. In my capacity as a

  Senior Analyst, i provide services to Cellco Partnership d/b/a Verizon Wireless ("Verizon

  Wireless"). Specifically, I assist with the handling of consumer disputes for Verizon Wireless,
  among other things.

         2.      In preparing this Supplemental Declaration, I have relied on my personal

  knowledge of, and experience in, the business operations of Verizon Wireless as well as a review

  of Verizon Wireless's business records. Verizon Wireless's business records are made in the

  regular course ofbusiness, at or near the lime of the act. conditions or events described in the

  documents, and by or from information provided by a person with knowledge of the act,
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  conditions or event. The attached Exhibits i and 2 are true and correct copies of Verizon
  Wireless's business records.

         3.      T offer this Supplemental Declaration to address the request made by the Court at
  the initial status conference on September 10, 2019 for the sales receipt and customer agreement
  that Plaintiff Yehuda Hcrskovic ("Plaintiff) executed at 100 Wall Street, New York, NY for his
  phone number ending in 4565.
         4.      On December 8, 2016, at a third-party Verizon Wireless retail store located at 100
  Wall Street, New York, NY,Plaintiff executed a sales receipt for equipment and services in
  connection with phone numbers ending in 4565 and 6897. Attached hereto as Exhibit A is a true
  and correct copy of this sales receipt executed by Plaintiff on December 8, 2016.
         5.      Attached hereto as Exhibit B is a true and con-ect copy of the Verizon Wireless
  Customer Agreement in effect on December 8, 2016 when Exhibit A was executed.
         I declare under penalty of perjury under the laws ol the United States that the foregoing is
  true and correct.

         Executed on September >2 7, 2019 at Irvine, California.




                                                           Daniel Reed
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    verizon                                                                                       Total paid today '32.65


   Thank you.
   Monthly charges                                                        Today's charges


                 718-675-6897                                             Verizon Wireless Home Phone in           $29.99
                                                                          Black 2Year Price

                 Verizon Wireless Home Phone in
                 Black
                 Cii'/!C A;'OC0r.4FC2E3D3

                 Device

                 WIRELESS HOME PHONE                             $20.00
                 UNLIMITED $20.00
                 Contractend date 12/08/2018

                 Features                                                 Accessories



                 Decline Equipment Protection                     $0.00




                                                                           NY Local Sales Tax                        $1.46


                                                                           NY StateSalesTax
                                                                                                                     $1.20


   Taxes & Fees                                                   $0.00   Total taxes & fees                        $2.66



 Due monthly                                                   ^20.00        Paid today                           ^32.65
 {Expect an email shortly detailirtg your next bill or go to
 VAW/.vzw.com/myverizon)




Your Verizon receipt; generated on 12/03/2016@04:50 EST: order #:454773:location D231601                           Page 1 of 3
^e£i^^^l^:i^^b\?'^l!J3^72-AMD-RML Document 18-2 Filed 10/01/19 Page 2 of 3 PagelD #: 134

    Payment method
    Transaction type:Sale
    Transactions are charged in USD
    I agree to pay the below paynent amount

    Cash                                                                            * 32.65
    Ciinnge Due:$67.?o
    Register.43

    Decline Equipment Protection
    You have declined equipment protection on one or more of your
    devices. If you need to replace your device the full retail cost may
    e.\ceed S700.00.




    Agreements                     ■Oow li ii!     ai viw.c.'f'i/ii'i-i ■.g'.zon)



    Customer agreement
    I agiee to the Veiizon Wireless Customet Agreement including an
    ear ly termination fee up tc So5D per line, settlement of disputes by
    arbit' Otion instead of jui-y tnaf as well as the terms of my plan and any
    optional services I have agreed to purchase as reflected on the
    previous screen.Note: This purchase may be returned or exchanged
    through f/14/2017. S35 restock fee applies <excludiiig Hawaii).


    Signature
    By sigiiing below I accept the agreemervts above




    Device trade-in                                                                           Ewaste tax disclaimer
    In some states recycle credit reduces the tax base. The Taxes or fees                     Electronic v^aste should be recycled or disposed of properly. Contact
    on your purchase were based on a pnceof:S23.99                                            httpY/www,state.ni.us'dep/dsiiw/recycling/
    Amount tendered: $100.00 < This payment: $32.65                                           ElectrDnic_VVaste.'index.html or 866-DEPKNOW for information.


    Trade-in device transactions are final and devices cannot be
    returner!.


    if you received promo value vvtien trading in a device and/or instant
    device savings, you will be cinarged for tlvat value if you do not maintain
    active service for three billing cycles.

    Verizon will also adiust any promotional Trade-in value if you return or
    exchange your promotional device for an ineligible device.

    Promotional trade in credits issued over 24 months and will appear in
    2-3 bill cycles after receipt of trade at Verizon. Your smai tphone
    purchase nuist reinain active on device payinent agreement for 24
    months to receive credits.


    It you cancel service, or if device payment agreement is paid off or
    transferred, promotional credits will stop, Traded device must be in
    good working and cosmetic condition to receive credits.




 >'our Verizon receipt; generated on 12/08/2016 (3; 04;50EST; order#: 454773; location D231601                                                            Page 2 of 3
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   Return policy                                                                Taxes and surcharges
   New and Genified Pre-Owned merchandise purchased between                     Taxes and surchai ges can add 5^/o to 44"/o to your monthly access
   November 24 and December 31.2016 may be returned or exchanged                and usage charges.including these Vei iron Wireless monthly
   through January 14,2017. You are permitted to make one exchange.A            surcharges:
   restocking fee of S35 apoiies to any return or e.xchange of a wireless       Monthly Federal Universal Service Charge on interstate S
   device(e.xcluding Hawaii). If you received your merchandise through          international telecom charges(varies quarterly based on FCC rate);
   a'Buy One.Get One'or similar offer, both items must be returned in           17.4"^'? per line.
   order to receive a refund. For exchanges for the same merchandise            Regulatory($.21 per voice line;$.02 per data-only line);
   make and model,only the item to bee.xchanged needs to be returned,           Administrative($1,23 per voice line: S.06 per data-only iine).
   See verizonwii eless.coiTi/returnpoiicy for complete details.To
   receive acreditfor the activation fee,ci^cellations must occur within        Handset,equipment and accessories sold by Verizon Wireless
   3davs of activation of seivice,                                              Network Procurement,LP




Verizon retail location                                  Receipt of transaction                             Verizon specialist
VERIZON,100WALL ST                                       Order No;45477312/08/2016@04;50 EST                REP
NEW YORK,NY
10005-3701
212-510-6160
www.v2w.com                                              First Copy - Customer.Second Copy - Merchant
Your Verizon receipt;generated on 12/08/2016(§> 04:50 EST;order»:454773;location D231601                                                         Pages of3
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  Customer Agreement
  Customer Agreement
  (Para una copia de este documento en espanol, visite nuestro website;
  vzw.com/espanol.)

  Thanks for choosing Verizon. In this Customer Agreement("Agreement"), you'll find
  important information about your wireless Service, including:

  our ability to make changes to your Service or this Agreement's terms,
  our liability if things don't work as planned and how any disputes between us must be
  resolved in arbitration or small claims court.



  My Service
  Your Service terms and conditions are part of this Agreement. Your Plan includes your monthly
  allowances and features, where you can use them (your "Coverage Area"), and their monthly and
  pay~per~use charges. You can also subscribe to several Optional Services, like International service
  plans or equipment protection services. Together, your Plan, features you use, and any Optional
  Services you select are your Service. Your billing and shipping addresses, and your primary place of
  use, must be within the areas served by the network Verizon owns and operates. The current
  version of this Agreement and the terms and conditions for your Service are available online at
  verizonwireless.com.


  By using the Service you are agreeing to every provision of this Agreement whether or not you have
  read it. This agreement also applies to anyone who uses your Service.

  Cancellation

  You can cancel a line of Service within 14 days of accepting this Agreement without having to
  pay an early termination fee as long as you return, within the applicable return period, any
  equipment you purchased from us or one of our authorized agents at a discount in
  connection with your acceptance of this Agreement, but you'll still have to pay for your
  Service through that date. If you signed up for Prepaid Service, no refunds will be granted
  after 14 days or if your account has been activated. See vzw.com/returnpolicy for complete
  details and information on returning your equipment.

  My Privacy

  We collect personal information about you, By entering into this Agreement, you consent to our data
  collection, use and sharing practices described In our Privacy Policy. It is your responsibility to notify
  people who connect devices through your mobile hotspot, Jetpack or wireless router that we will
  collect, use and share information about their device and use of the Service in accordance with our
  Privacy Policy. We provide you with choices to limit, in certain circumstances, our use of the data we
  have about you. You can review these choices at Verizon.com/Prlvacy#Llmlts. If there are additional
  specific advertising and marketing practices for which your consent is necessary, we will seek your
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  consent (such as through the privacy-related notices you receive when you purchase or use our
  products and services) before engaging in those practices. You can find out how we use, share and
  protect the information we collect about you in the Verizon Privacy Policy, available at
  verizon.com/privacy.

  If you subscribe to Service for which usage charges are billed at the end of the billing period
  {"Postpay Service"), we may investigate your credit history at any time. If you'd like the name and
  address of any credit agency that gives us a credit report about you, just ask.

  Many services and applications offered through your device may be provided by third parties. Before
  you use, link to or download a service or application provided by a third party, you should review the
  terms of such service or application and applicable privacy policy. Personal information you submit
  may be read, collected or used by the service or application provider and/or other users of those
  forums.


  You consent to allow Verizon and anyone who collects on our behalf to contact you about your
  account status, including past due or current charges, using prerecorded calls, email and calls or
  messages delivered by an automatic telephone dialing system to any wireless phone number, other
  contact number or email address you provide. Verizon will treat any email address you provide as
  your private email that is not accessible by unauthorized third parties. Unless you notify us that your
  wireless service is based in a different time zone, calls will be made to your cellular device during
  permitted calling hours based upon the time zone affiliated with the mobile telephone number you
  provide.

  What happens if my Postpay Service is canceled before the end of my
  contract term?

  If you're signing up for Postpay Service, you're agreeing to subscribe to a line of Service either on a
  month-to-month basis or for a minimum contract term, as shown on your receipt or order
  confirmation. (If your Service is suspended without billing or at a reduced billing rate, that time
  doesn't count toward completing your contract term.) Once you've completed your contract term,
  you'll automatically become a customer on a month-to-month basis for that line of Service.If you
  cancel a line of Service, or if we cancel it for good cause, during its contract term, you'll have
  to pay an early termination fee. If your contract term results from your purchase of an
  advanced device, your early termination fee will be $350, which will decline by $10 per month
  upon completion of months 7-17, $20 per month upon completion of months 18-22, $60 upon
  completion of month 23 and will be $0 upon completion of the contract term. For other
  contract terms entered into on or after November 14, 2014, your early termination fee will be
  $175, which will decline by $5 per month upon completion of months 7-17,$10 per month
  upon completion of months 18-22, $30 upon completion of month 23 and will be $0 upon
  completion of your contract term. If you cancel service, you may have to immediately pay off
  the remaining balance on any device agreement. Cancellations will become effective on the
  last day of that month's billing cycle, and you are responsible for all charges incurred until then.
  Also, if you bought your wireless device from an authorized agent or third-party vendor, you should
  check whether it charges a separate termination fee.

  Can I take my wireless phone number to another carrier?

  You may be able to transfer, or "port", your wireless phone number to another carrier. If you port a
  number from us, we'll treat it as though you asked us to cancel your Service for that number. After
  the porting is completed, you won't be able to use our service for that number, but you'll remain
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  responsible for all fees and charges through the end of that billing cycle, just like any other
  cancellation. If you're a Prepaid customer, you won't be entitled to a refund of any balance on your
  account. If you port a number to us, please be aware that we may not be able to provide some
  services right away, such as 911 location services. You don't have any rights to your wireless phone
  number, except for any right you may have to port it.

  Can I have someone else manage my Postpay account?

  No problem -just tell us by phone, in person, or in writing. You can appoint someone to manage
  your Postpay account. The person you appoint will be able to make changes to your account,
  including adding new lines of Service, buying new wireless devices, and extending your contract
  term. Any changes that person makes will be treated as modifications to this Agreement.

  Can Verizon change this Agreement or my Service?

  We may change prices or any other term of your Service or this Agreement at any time, but we'll
  provide notice first, including written notice if you have Postpay Service. If you use your Service after
  the change takes effect that means you're accepting the change. If you're a Postpay customer and a
  change to your Plan or this Agreement has a material adverse effect on you, you can cancel the line
  of Service that has been affected within 60 days of receiving the notice with no early termination fee
  if we fail to negate the change after you notify us of your objection to it. Notwithstanding this
  provision, if we make any changes to the dispute resolution provision of this Agreement, such
  changes will not affect the resolution of any disputes that arose before such change.

  My wireless device

  Your wireless device must comply with Federal Communications Commission regulations, be
  certified for use on our network, and be compatible with your Service. Please be aware that we may
  change your wireless device's software, applications or programming remotely, without notice. This
  could affect your stored data, or how you've programmed or use your wireless device. By activating
  Service that uses a SIM (Subscriber Identity Module)card, you agree we own the intellectual
  property and software in the SIM card that we may change the software or other data in the SIM
  card remotely and without notice, and we may utilize any capacity in the SIM card for administrative,
  network, business and/or commercial purposes.

  Where and how does Verizon wireless Service work?

  Wireless devices use radio transmissions, so unfortunately you can't get Service if your device isn't
  in range of a transmission signal. And please be aware that even within your Coverage Area, many
  things can affect the availability and quality of your Service, Including network capacity, your device,
  terrain, buildings, foliage and weather.

  How does Verizon calculate my charges?

  You agree to pay all access, usage and other charges that you or any other user of your wireless
  device incurred. If multiple wireless devices are associated with your account, you agree to pay all
  charges incurred by users of those wireless devices. For charges based on the amount of time used
  or data sent or received, we'll round up any fraction to the next full minute or, depending on how
  you're billed for data usage, the next full megabyte or gigabyte. For outgoing calls, usage time starts
  when you first press Send or the call connects to a network, and for incoming calls, it starts when
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  the call connects to a network (which may be before it rings). Usage time may end several seconds
  after you press End or after the call disconnects. For calls made on our network, we charge only for
  calls that are answered, including by machines. For Postpay Service, usage cannot always be
  processed right away and may be included in a later bill, but the usage will still count towards your
  allowance for the month when the Service was used.


  What Charges are set by Verizon?

  Our charges may also include Federal Universal Service, Regulatory and Administrative Charges,
  and we may also include other charges related to our governmental costs. We set these charges;
  they aren't taxes, they aren't required by law, they are not necessarily related to anything the
  government does, they are kept by us in whole or in part, and the amounts and what they pay for
  may change.

  Government Taxes, Fees and Surcharges

  You must pay all taxes, fees and surcharges set by federal, state and local governments. Please
  note that we may not always be able to notify you in advance of changes to these charges.

  What is roaming?

  You're "roaming" whenever your wireless device connects to a network outside your Coverage Area
  or connects to another carrier's network, which could happen even within your Coverage Area.
  There may be higher rates or extra charges (including charges for long distance, tolls or calls that
  don't connect), and your data service may be limited or slowed, when roaming.

  How can i prevent unintended charges on my biil?

  Many services and applications are accessible on or through wireless devices, including purchases
  of games, movies, music and other content. Some of these services are provided by Verizon. Others
  are provided by third parties that may offer the option to bill the charges to your Verizon bill or other
  methods of payment. Charges may be one-time or recurring. The amount and frequency of the
  charges will be disclosed to you or the person using your device or a device associated with your
  account at the time a purchase is made. If the purchaser chooses to have the charges billed to your
  account, such charges will become part of the amount due for that billing cycle.Verizon offers tools
  to block or restrict these services, and to block all billing for third-party services on your
  Verizon wireless bill, at verizonwlreless.com/myverizon. We do not support calls to 900,976
  and certain other international premium rate numbers.

  How and when can I dispute charges?

  If you're a Postpay customer, you can dispute your bill within 180 days of receiving it, but unless
  otherwise provided by law or unless you're disputing charges because your wireless device was lost
  or stolen, you still have to pay all charges until the dispute is resolved. If you're a Prepaid customer,
  you can dispute a charge within 180 days of the date the disputed charge was incurred. YOU MAY
  CALL US TO DISPUTE CHARGES ON YOUR BILL OR ANY SERVICE(S) FOR WHICH YOU
  WERE BILLED, BUT IF YOU WISH TO PRESERVE YOUR RIGHT TO BRING AN ARBITRATION
  OR SMALL CLAIMS CASE REGARDING SUCH DISPUTE, YOU MUST WRITE TO US AT THE
  CUSTOMER SERVICE ADDRESS ON YOUR BILL, OR SEND US A COMPLETED NOTICE OF
  DISPUTE FORM (AVAILABLE ATVERIZONWIRELESS.COM), WITHIN THE 180-DAY PERIOD




                                                                                  '•O':
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  MENTIONED ABOVE. IF YOU DO NOT NOTIFY US IN WRITING OF SUCH DISPUTE WITHIN
  THE 180-DAY PERIOD, YOU WILL HAVE WAIVED YOUR RIGHT TO DISPUTE THE BILL OR
  SUCH SERVICE(S) AND TO BRING AN ARBITRATION OR SMALL CLAIMS CASE REGARDING
  ANY SUCH DISPUTE.


  What are my rights for dropped calls or interrupted Service?
  if you drop a call In your Coverage Area, redial. If it's answered within 5 minutes, call us within 90
  days if you're a Postpay customer, or within 45 days if you're a Prepaid customer, and we'll give you
  a 1-mlnute airtime credit. If you're a Postpay customer and you lose Service in your Coverage Area
  for more than 24 hours in a row and we're at fault, call us within 180 days and we'll give you a credit
  for the time lost. Please be aware that these are your only rights for dropped calls or interrupted
  Service.


  Billing and Payments

  If you're a Postpay customer and we don't get your payment on time, we will charge you a late fee of
  up to 1.5 percent per month (18 percent per year) on the unpaid balance, or a flat $5 per month,
  whichever is greater, if allowed by law in the state of your billing address. (If you choose to have
  your Service billed by another company (pursuant to a Verizon-approved program), late fees are set
  by that company and may be higher than our late fees.) Late fees are part of the rates and charges
  you agree to pay. If you fail to pay on time and we refer your account(s) to a third party for collection,
  a collection fee will be assessed and will be due at the time of the referral to the third party. The fee
  will be calculated at the maximum percentage permitted by applicable law, not to exceed 18 percent.
  We may require a deposit at the time of activation or afterward, or an increased deposit. We'll pay
  simple Interest on any deposit at the rate the law requires. We may apply deposits or payments in
  any order to any amounts you owe us on any account. If your final credit balance is less than $1, we
  will refund it only if you ask. If your service is suspended or terminated, you may have to pay a fee to
  have service reactivated.


  If you're a Prepaid customer, you may replenish your balance at any time before the expiration date
  by providing us with another payment. If you maintain a Prepaid account balance, it may not exceed
  $1,000 and you may be prevented from replenishing if your balance reaches $1,000. We may apply
  your payments to any amounts you may owe us if your earlier account replenishment payments had
  been reversed. We will suspend service when your account reaches the expiration date and any
  unused balance will be forfeited.


  We may charge you up to $25 for any returned check. If you make a payment, or make a payment
  arrangement, through a call center representative, we may charge you an Agent Assistance Fee of
  $7.00


  What if my wireless device gets lost or stolen?

  We're here to help. It's important that you notify us right away, so we can suspend your Service to
  keep someone else from using it. If you're a Postpay customer and your wireless device is used after
  the loss or theft but before you report it, and you want a credit for any charges for that usage, we're
  happy to review your account activity and any other information you'd like us to consider. Keep in
  mind that you may be held responsible for the charges if you delayed reporting the loss or theft
  without good reason, but you don't have to pay any charges you dispute while they are being
  investigated. If you are a California customer and we haven't given you a courtesy suspension of
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  recurring monthly charges during the past year, we'll give you one for 30 days or until you replace or
  recover your wireless device, whichever comes first.

  What are Verizon's rights to limit or end Service or end this Agreement?
  We can, without notice, limit, suspend or end your Service or any agreement with you for any good
  cause, including, but not limited to:(1) if you:(a) breach this agreement;(b) resell your Service;(c)
  use your Service for any illegal purpose, including use that violates trade and economic sanctions
  and prohibitions promulgated by any US governmental agency;(d) install, deploy or use any
  regeneration equipment or similar mechanism (for example, a repeater) to originate, amplify,
  enhance, retransmit or regenerate an RF signal without our permission;(e) steal from or lie to us; or,
  if you're a Postpay customer;(f) do not pay your bill on time;(g)incur charges larger than a required
  deposit or billing limit, or materially in excess of your monthiy access charges(even if we haven't yet
  billed the charges);(h) provide credit information we can't verify; or (i) are unable to pay us or go
  bankrupt; or (2) if you, any user of your device or any line of service on your account, or any account
  manager on your account:(a)threaten, harass, or use vulgar and/or inappropriate language toward
  our representatives;(b) interfere with our operations;(c)"spam," or engage in other abusive
  messaging or calling; (d) modify your device from its manufacturer's specifications; or(e) use your
  Service in a way that negatively affects our network or other customers. We can also temporarily
  limit your Service for any operational or governmental reason.

  Am I eligible for special discounts?

  If you're a Postpay customer, you may be eligible for a discount if you are and remain affiliated with
  an organization that has an agreement with us. Unless your discount is through a government
  employee discount program, we may share certain information about your Service (including your
  name, your wireless telephone number and your total monthly charges) with your organization from
  time to time to make sure you're still eligible. We may adjust or remove your discount according to
  your organization's agreement with us. and remove your discount if your eligibility ends or your
  contract term expires. In any case, this won't be considered to have a material adverse effect on
  you.


  DISCLAIMER OF WARRANTIES

  We make no representations or warranties, express or implied, including, to the extent
  permitted by applicable law, any implied warranty of merchantability or fitness for a particular
  purpose, about your Service, your wireless device, or any applications you access through
  your wireless device. We do not warrant that your wireless device will work perfectly or will
  not need occasional upgrades or modifications, or that it will not be negatively affected by
  network-related modifications, upgrades or similar activity. If you download or use
  applications, services or software provided by third parties (including voice applications),
  911 or E911, or other calling functionality, may work differently than services offered by us,
  or may not work at all. Please review all terms and conditions of such third-party products.
  Verizon Wireless is not responsible for any third-party information, content, applications or
  services you access, download or use on your device. You are responsible for maintaining
  virus and other Internet security protections when accessing these third-party products or
  services. For additional information, visit the Verizon Content Policy at
  responsibility.verizon.com/contentpoticy

  WAIVERS AND LIMITATIONS OF LIABILITY
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  You and Verizon both agree to limit claims against each other solely to direct damages. That
  means neither of us will claim any damages that are indirect, special, consequential,
  incidental, treble or punitive. For example, disallowed damages include those arising out of a
  Service or device failure, unauthorized access or changes to your account or device, or the
  use of your account or device to access or make changes to an account with another entity,
  such as a financial entity, without authorization. This limitation and waiver will apply
  regardless of the theory of liability. It also applies if you bring a claim against one of our
  suppliers, to the extent we would be required to indemnify the supplier for the claim.You
  agree we aren't responsible for problems caused by you or others, or by any act of God. You also
  agree we aren't liable for missed or deleted voice mails or other messages, or for any information
  (like pictures) that gets lost or deleted if we work on your device. If another wireless carrier is
  involved in any problem (for example, while you're roaming), you also agree to any limitations of
  liability that it imposes.

  HOW DO I RESOLVE DISPUTES WITH VERIZON?

  WE HOPE TO MAKE YOU A HAPPY CUSTOMER, BUT IF THERE'S AN ISSUE THAT NEEDS TO
  BE RESOLVED,THIS SECTION OUTLINES WHAT'S EXPECTED OF BOTH OF US.

  YOU AND VERIZON BOTH AGREE TO RESOLVE DISPUTES ONLY BY ARBITRATION OR IN
  SMALL CLAIMS COURT. YOU UNDERSTAND THAT BY THIS AGREEMENT YOU ARE GIVING
  UP THE RIGHT TO BRING A CLAIM IN COURT OR IN FRONT OF A JURY. WHILE THE
  PROCEDURES MAY BE DIFFERENT, AN ARBITRATOR CAN AWARD YOU THE SAME
  DAMAGES AND RELIEF, AND MUST HONOR THE SAME TERMS IN THIS AGREEMENT, AS A
  COURT WOULD. IF THE LAW ALLOWS FOR AN AWARD OF ATTORNEYS' FEES, AN
  ARBITRATOR CAN AWARD THEM TOO. WE ALSO BOTH AGREE THAT:

  (1) THE FEDERAL ARBITRATION ACT APPLIES TO THIS AGREEMENT. EXCEPT FOR SMALL
  CLAIMS COURT CASES, ANY DISPUTE THAT IN ANY WAY RELATES TO OR ARISES OUT OF
  THIS AGREEMENT OR FROM ANY EQUIPMENT. PRODUCTS AND SERVICES YOU RECEIVE
  FROM US(OR FROM ANY ADVERTISING FOR ANY SUCH PRODUCTS OR SERVICES),
  INCLUDING ANY DISPUTES YOU HAVE WITH OUR EMPLOYEES OR AGENTS, WILL BE
  RESOLVED BY ONE OR MORE NEUTRAL ARBITRATORS BEFORE THE AMERICAN
  ARBITRATION ASSOCIATION ("AAA") OR BETTER BUSINESS BUREAU ("BBB"). YOU CAN
  ALSO BRING ANY ISSUES YOU MAY HAVE TO THE ATTENTION OF FEDERAL, STATE, OR
  LOCAL GOVERNMENT AGENCIES, AND IF THE LAW ALLOWS, THEY CAN SEEK RELIEF
  AGAINST US FOR YOU. THIS AGREEMENT TO ARBITRATE CONTINUES TO APPLY EVEN
  AFTER YOU HAVE STOPPED RECEIVING SERVICE FROM US.

  (2) UNLESS YOU AND VERIZON AGREE OTHERWISE,THE ARBITRATION WILL TAKE PLACE
  IN THE COUNTY OF YOUR BILLING ADDRESS. FOR CLAIMS OVER $10,000, THE AAA'S
  CONSUMER ARBITRATION RULES WILL APPLY. FOR CLAIMS OF $10,000 OR LESS, THE
  PARTY BRINGING THE CLAIM CAN CHOOSE EITHER THE AAA'S CONSUMER ARBITRATION
  RULES OR THE BBB'S RULES FOR BINDING ARBITRATION OR, ALTERNATIVELY, CAN BRING
  AN INDIVIDUAL ACTION IN SMALL CLAIMS COURT. YOU CAN GET PROCEDURES, RULES
  AND FEE INFORMATION FROM THE AAA(WWW.ADR.ORG),THE BBB(WWW.BBB.ORG)OR
  FROM US. FOR CLAIMS OF $10,000 OR LESS, YOU CAN CHOOSE WHETHER YOU'D LIKE
  THE ARBITRATION CARRIED OUT BASED ONLY ON DOCUMENTS SUBMITTED TO THE
  ARBITRATOR, OR BY A HEARING IN PERSON OR BY PHONE.

  (3)THIS AGREEMENT DOESN'T ALLOW CLASS OR COLLECTIVE ARBITRATIONS EVEN IF
  THE AAA OR BBB PROCEDURES OR RULES WOULD. NOTWITHSTANDING ANY OTHER
Case l;19-cv-03372-AMD-RML Document 18-3 Filed 10/01/19 Page 8 of 9 PagelD #: 143



  PROVISION OF THIS AGREEMENT,THE ARBITRATOR MAY AWARD MONEY OR INJUNCTIVE
  RELIEF ONLY IN FAVOR OF THE INDIVIDUAL PARTY SEEKING RELIEF AND ONLY TO THE
  EXTENT NECESSARY TO PROVIDE RELIEF WARRANTED BY THAT PARTY'S INDIVIDUAL
  CLAIM. NO CLASS OR REPRESENTATIVE OR PRIVATE ATTORNEY GENERAL THEORIES OF
  LIABILITY OR PRAYERS FOR RELIEF MAY BE MAINTAINED IN ANY ARBITRATION HELD
  UNDER THIS AGREEMENT. ANY QUESTION REGARDING THE ENFORCEABILITY OR
  INTERPRETATION OF THIS PARAGRAPH SHALL BE DECIDED BY A COURT AND NOT THE
  ARBITRATOR.


  (4) IF EITHER OF US INTENDS TO SEEK ARBITRATION UNDER THIS AGREEMENT,THE
  PARTY SEEKING ARBITRATION MUST FIRST NOTIFY THE OTHER PARTY OF THE DISPUTE
  IN WRITING AT LEAST 30 DAYS IN ADVANCE OF INITIATING THE ARBITRATION. NOTICE TO
  VERIZON SHOULD BE SENT TO VERIZON WIRELESS DISPUTE RESOLUTION MANAGER,
  ONE VERIZON WAY, BASKING RIDGE, NJ 07920. THE NOTICE MUST DESCRIBE THE NATURE
  OF THE CLAIM AND THE RELIEF BEING SOUGHT. IF WE ARE UNABLE TO RESOLVE OUR
  DISPUTE WITHIN 30 DAYS, EITHER PARTY MAY THEN PROCEED TO FILE A CLAIM FOR
  ARBITRATION. WE'LL REIMBURSE ANY FILING FEE THAT THE AAA OR BBB CHARGES YOU
  FOR ARBITRATION OF THE DISPUTE. IF YOU PROVIDE US WITH SIGNED WRITTEN NOTICE
  THAT YOU CANNOT PAY THE FILING FEE, VERIZON WILL PAY THE FEE DIRECTLY TO THE
  AAA OR BBB. IF THAT ARBITRATION PROCEEDS, WE'LL ALSO PAY ANY ADMINISTRATIVE
  AND ARBITRATOR FEES CHARGED LATER.


  (5) WE ALSO OFFER CUSTOMERS THE OPTION OF PARTICIPATING IN A FREE INTERNAL
  MEDIATION PROGRAM. THIS PROGRAM IS ENTIRELY VOLUNTARY AND DOES NOT AFFECT
  EITHER PARTY'S RIGHTS IN ANY OTHER ASPECT OF THESE DISPUTE RESOLUTION
  PROCEDURES. IN OUR VOLUNTARY MEDIATION PROGRAM, WE WILL ASSIGN AN
  EMPLOYEE WHO'S NOT DIRECTLY INVOLVED IN THE DISPUTE TO HELP BOTH SIDES
  REACH AN AGREEMENT. THAT PERSON HAS ALL THE RIGHTS AND PROTECTIONS OF A
  MEDIATOR AND THE PROCESS HAS ALL OF THE PROTECTIONS ASSOCIATED WITH
  MEDIATION. FOR EXAMPLE, NOTHING SAID IN THE MEDIATION CAN BE USED LATER IN AN
  ARBITRATION OR LAWSUIT. IF YOU'D LIKE TO KNOW MORE, PLEASE CONTACT US AT
  VERIZONWIRELESS.COM OR THROUGH CUSTOMER SERVICE. IF YOU'D LIKE TO START
  THE MEDIATION PROCESS,PLEASE GO TO VERIZONWIRELESS.COM OR CALL CUSTOMER
  SERVICE FOR A NOTICE OF DISPUTE FORM TO FILL OUT, AND MAIL, FAX OR EMAIL IT TO
  US ACCORDING TO THE DIRECTIONS ON THE FORM.

  (6)WE MAY, BUT ARE NOT OBLIGATED TO, MAKE A WRITTEN SETTLEMENT OFFER
  ANYTIME BEFORE THE ARBITRATION HEARING. THE AMOUNT OR TERMS OF ANY
  SETTLEMENT OFFER MAY NOT BE DISCLOSED TO THE ARBITRATOR UNTIL AFTER THE
  ARBITRATOR ISSUES AN AWARD ON THE CLAIM. IF YOU DON'T ACCEPT THE OFFER AND
  THE ARBITRATOR AWARDS YOU AN AMOUNT OF MONEY THAT'S MORE THAN OUR OFFER
  BUT LESS THAN $5,000, OR IF WE DON'T MAKE YOU AN OFFER, AND THE ARBITRATOR
  AWARDS YOU ANY AMOUNT OF MONEY BUT LESS THAN $5,000, THEN WE AGREE TO PAY
  YOU $5,000 INSTEAD OF THE AMOUNT AWARDED. IN THAT CASE WE ALSO AGREE TO PAY
  ANY REASONABLE ATTORNEYS' FEES AND EXPENSES, REGARDLESS OF WHETHER THE
  LAW REQUIRES IT FOR YOUR CASE. IF THE ARBITRATOR AWARDS YOU MORE THAN
  $5,000, THEN WE WILL PAY YOU ONLY THAT AMOUNT.

  (7) AN ARBITRATION AWARD AND ANY JUDGMENT CONFIRMING IT APPLY ONLY TO THAT
  SPECIFIC CASE; IT CAN'T BE USED IN ANY OTHER CASE EXCEPT TO ENFORCE THE
  AWARD ITSELF.
Case l:19-cv-03372-AMD-RML Document 18-3 Filed 10/01/19 Page 9 of 9 PagelD #: 144




  (8)IF FOR SOME REASON THE PROHIBITION ON CLASS ARBITRATIONS SET FORTH IN
  SUBSECTION (3) CANNOT BE ENFORCED AS TO ALL OR PART OF A DISPUTE, THEN THE
  AGREEMENT TO ARBITRATE WILL NOT APPLY TO THAT DISPUTE OR PART OF THE
  DISPUTE.


  (9) IF FOR ANY REASON A CLAIM PROCEEDS IN COURT RATHER THAN THROUGH
  ARBITRATION, YOU AND VERIZON AGREE THAT THERE WILL NOT BE A JURY TRIAL. YOU
  AND VERIZON UNCONDITIONALLY WAIVE ANY RIGHT TO TRIAL BY JURY IN ANY ACTION,
  PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING TO THIS AGREEMENT
  IN ANY WAY. IN THE EVENT OF LITIGATION, THIS PARAGRAPH MAY BE FILED TO SHOW A
  WRITTEN CONSENT TO A TRIAL BY THE COURT.


  About this Agreement

  If we don't enforce our rights under this agreement in one instance, that doesn't mean we won't or
  can't enforce those rights in any other instance. You cannot assign this Agreement or any of your
  rights or duties under it without our permission. However, we may assign this Agreement or any debt
  you owe us without notifying you. If you're a Postpay customer, please note that many notices
  we send to you will show up as messages on your monthly bill. If you have online billing,
  those notices will be deemed received by you when your online bill is available for viewing. If
  you get a paper bill, those notices will be deemed received by you three days after we mail
  the bill to you. If we send other notices to you, they wili be considered received immediately if
  we send them to your wireless device, or to any email or fax number you've given us, or after
  three days If we mail them to your billing address. If you need to send notices to us, please
  send them to the customer service address on your latest bill.

  If you're a Prepaid customer and we send notices to you, they will be considered received
  Immediately if we send them to your wireless device or to any email or fax number you've
  given us, or If we post them as a precall notification on your Service, or after three days if we
  mall them to the most current address we have for you. If you need to send notices to us,
  please send them to the Customer Service Prepaid address at verizonwireless.com/contactus

  If any part of this agreement, including anything regarding the arbitration process(except for
  the prohibition on class arbitrations as explained in part 8 of the dispute resolution section
  above), is ruled invalid, that part may be removed from this agreement.

  This agreement and the documents it incorporates form the entire agreement between us.
  You can't rely on any other documents, or on what's said by any Sales or Customer Service
  Representatives, and you have no other rights regarding Service or this agreements This
  Agreement isn't for the benefit of any third party except our parent companies, affiliates, subsidiaries,
  agents, and predecessors and successors in interest. Except where we've agreed otherwise
  elsewhere in this agreement, this agreement and any disputes covered by it are governed by federal
  law and the laws of the state encompassing the area code of your wireless phone number when you
  accepted this agreement, without regard to the conflicts of laws and rules of that state.

  April 13, 2018
     ' ■>.


If
Case No.: 01-21-0016-5580

Date March 4, 2022
Hon. Michael D. Blechman
Arbitrator
American Arbitration Association




Dear Arbitrator Blechman,
I Yehuda Herskovic am the Claimant and respond to the letter from Respondent
Verizon Wireless, dated February 18, 2022.

On February 2, 2022, your honor asked the parties what rules apply to the
arbitration proceedings, specifically, I recall the question was whether the
contract provides the rules for arbitration. In response, I objected to the
proceeding and notified your honor that there is no contract, no arbitration
agreement, and that my presence is under duress and protest.

Respondent letter omits addressing the rules that apply here, because there is no
arbitration agreement. Respondents do not address the facts, that upon a
rescission no benefit of the contract remains—not even the arbitration clause, no
provision in the purported arbitration agreement survives rescission, none of
Respondent's attachments show an arbitration agreement for the phone number
718.387.4565—the account at issue, and none of the attachments of Respondent
involve the same "Yehuda Herskovic" with an address at 225 Ross Street.

The claim in this case involves a rescinded account for a home device under the
account and phone number for 718.387.4565. The rescission was upheld by the
Small Claims Court of Kings County. The force of the rescission is not up for
debate. At issue, despite the transaction was rescinded and Claimant received a
judgment consisting of a refund of all the monies paid, Respondent continues
reporting a false charge on Claimant's credit report. The claim in this case does
not second guess the judgment of the Small Claims Court but seeks to enforce the
full effect of the judgment.

As for the first issue, a recission of a contract precludes recovery under the
contract or to even enforce it. Once a contract is rescinded, it has no legal effect.

Page 1
Horowitz V Natl. Gas & Electric, LLC. 17-CV-7742 (JPO), 2021 WL 4478622, at *10
[SONY Sept. 30, 2021]. It is common sense; a rescinded contract provides no
recourse. The effect of rescission is to declare the contract void from its inception
and put or restore the parties to status quo as if there was no contract. Broder v
Pallotta & Assoc. Dev., Inc., 186 ADSd 1189,1192[2d Dept 2020]. Here, the
rescission was upheld by the Small Claims Court of Kings County. The purported
arbitration agreement produced by Respondent are a "customer agreement". But
Claimant is not a customer of Verizon, the transaction has been rescinded. Thus,
there is no agreement/contract to enforce and the purported contract that
provided for arbitration (even if there were any-since there were none) is void.
As for the second issue, the issue of this case does not arise from a dispute under
a purported customer agreement, but from a failure to honor a judgment by the
Small Claims Court and reporting a debt that is collaterally estopped by the
judgment of the Small Claims Court. Thus, Respondent cannot show that any
provision of its rescinded customer agreement survives the judgment of the Small
Claims Court. Given that the Small Claims Court judgment affirmed the rescission.
Respondent has no basis for attempting to enforce a rescinded contract (even if
any ever existed); neither the alleged debt that Respondent has placed on
Claimant's credit report nor the arbitration clause of the customer agreement
(even if any ever existed) survives the rescission of the Small Claims Court. The
rules of arbitration do not provide the authority to second the force of the
judgment of the Small Claim Court. Respondent's insistence that it has an
arbitration agreement is an attempt to contest the judgment of the Small Claims
Court and relitigate that judgment.

As for the third issue, each account at Verizon is attached to a phone number.
None of Respondent's attachments show a customer agreement/contract for the
phone number 718.387.4565—the account at issue. In particular, the amended
complaint alleges that the home device was purchased December 2016.
Respondent does not show any document of that date. The document dated
4/02/2014 involves an account with a phone number ending as 3261 and 0559.
The other document dated 12/08/2016 involves the phone number 718-675-
6897. Neither of these documents show an arbitration agreement for
718.387.4565—the account at issue.




Page 2
As for the fourth issue, neither arbitration agreement contended by the
Respondent show a "Yehuda Herskovic" with an address at 225 Ross Street.
Claimant does not live at 581 Flushing Av, Brooklyn NY 11206 and never resided
there. This "Yehuda Herskovic" 581 Flushing Av is not the same person as
claimant. Claimant has resided at 225 Ross Street for the past 10 years.

Indeed, the decelerations by Daniel Reed do not and cannot authenticate that the
"Yehuda Herskovic" of 3261 and 0559 is the same as Claimant. It is not the same
person. Nor does the statement for 6897 show any connection to 4565 or a name
and address. Attached is a Spokeo lookup for the number 6897 and it belongs to
"Mordechai Beite"; not "Yehuda Herskovic".

Moreover, the Respondents cannot make up any consistent phone numbers
related to Claimant. The Claimant's phone numbers are 718.387.4565 and
347.731.8818. The phone numbers ending 3261,0559 and 6897 never belonged
to Claimant.

What is really going on, Lisa Lawrence is not admitted before the Eastern District
of New York and was ghost writing the papers filed with the Federal Court. She
insisted that an arbitration agreement existed, even though none exist, because
she is not admitted in federal court and Is able to appear at the American
Arbitration Association. Basically, the desire for arbitration arises from a yearning
by Lisa Lawrence to litigate this case by herself. So, she claims that there is an
arbitration agreement when none exist. The bottom line is, "a basic premise is
that we initially must find that there is a valid agreement to arbitrate." Id. "And if
a party has not agreed to arbitrate, the courts have no authority to mandate that
it do so." Hamilton Park Health Care Ctr. Ltd. v. 1199 SEIU United Healthcare
Workers E.. 817 F.3d 857,864(3d Cir. 2016). The arbitrator must separately verify
if there is an arbitration agreement, because the only authority an arbitrator has
comes from the arbitration agreement."Consent is essential under the FAA
because arbitrators wield only the authority they are given. That is, they derive
their powers from the parties' agreement to forgo the legal process and submit
their disputes to private dispute resolution." Lamps Plus. Inc. v. Varela, 139 S. Ct.
1407,1416, 203 L. Ed. 2d 636(2019). The arbitrator's duty to verify an arbitration
agreement is essential because without an agreement, without knowing whether
there is an agreement, the arbitrator has no authority.


Page 3
                               Conclusion
Wherefore, claimant request that an order that Respondent has not produced any
evidence of an agreement to arbitrate.

Respectfully submitted,

Yehuda Herskovic, vhml234(^vahoo.com,347 731 8818




Page 4
*
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                                         March 11,2022



VIA E-Mail Only
Michael D. Blechman, Esq.
American Arbitration Association
Email: prosemanager3@adr.org


           Re:   Yehuda Herskovic v. Verizon Wireless
                 AAA Case No.: 01-21-0016-5580
                 Reply Brief Re Arbitrabilitv of the Dispute and Briefing Re Res Judicata



Dear Arbitrator Blechman:


       Please accept this letter as Respondent Cellco Partnership d/b/a Verizon Wireless's
("Respondent")• reply brief on the issue of arbitrability, as well as Respondent's statement
regarding the motion for summary judgment it requests to bring under AAA Consumer Rule 33.

      I.      Response to Claimant's Arguments re Arbitrabilitv

      In his Opposition, Claimant Yehuda Herskovic ("Claimant") reiterates the same
arguments regarding arbitrability that the U.S. District Court twice rejected. See Respondent's
Exhibits 1-3. Moreover, Claimant has cited no legal authority supporting his request that the
Arbitrator revisit and overturn the Court's binding orders that Claimant arbitrate his dispute with
Respondent before the AAA.

        Claimant cites just four cases in support of his request. Neither Horowitz v. Nat7 Gas &
Elec., LLC,2021 WL 4478622(S.D.N.Y. Sept. 30, 2021) nor Broder v. Pallotta & Assocs. Dev.,
Inc., 186 A.D.3d 1189, 130 N.Y.S.3d 75 (2020)even mention arbitration. The former case
rejected "recessionary damages" on a breach of contract claim, and the second explained the
effect of a void deed on a bona fide purchaser. See Horowitz, 2021 WL 4478622 at *9; Broder,
186 A.D.3datll92.


           Similarly, the remaining two cases cited by Claimant—Hamilton Park Health Care Ctr.
Ltd. V. 1199 SEIU United Healthcare Workers £".,817 F.3d 857, 866(3d Cir. 2016) and Lamps

^ Defendant Cellco Partnership (lT)/a Verizon Wireless was erroneously sued as "Verizon
Wireless."
Page 2 of5


        Plus, Inc. V. Varela, 139 S. Ct. 1407, 203 L. Ed. 2d 636(2019)—stand for the unremarkable
        proposition that arbitration is a matter of contract. See Hamilton Park, 817 F.3d at 864(holding
        that an NLRB arbitration award could not include "a self-perpetuating arbitration provision that
        the parties did not agree to"); Lamps Plus, 139 S. Ct. at 1410(holding that under the FAA, an
        "ambiguous agreement cannot provide the necessary contractual basis for ... class arbitration").

                None of these four cases has any bearing on the issue of whether the Arbitrator may
        disregard the Court's prior orders and consider anew the issue of arbitrability. To the contrary,
        the cases cited by Respondent are dispositive on this issue. See First Options ofChicago, Inc. v.
        Kaplan, 514 U.S. 938, 944 (1995); BG Group PLC v. Republic ofArgentina, 572 U.S. 25, 34
        (2014)("courts presume that the parties intend courts, not arbitrators, to decide ... disputes about
        'arbitrability'"); Litton Fin'l Printing Div., aDiv. ofLitton Business Systems, Inc. v. NLRB,501
        U.S. 190, 208(1991)("Whether or not a [party] ... is bound to arbitrate, as well as what issues it
        must arbitrate, is a matter to be determined by the court, and a party cannot be forced to 'arbitrate
        the arbitrability question.'"). The Court already definitively determined that the parties
        contractually agreed to arbitrate this dispute before the AAA.

                In addition to citing no legal authority supporting his position. Claimant's factual
         assertions are either mistaken or misleading. As set forth in the Supplemental Declaration of
        Daniel Reed (Respondent's Exhibit 5), previously submitted to the Court, Claimant is wrong
        that his Verizon Wireless account did not cover the phone number at issue (718-387-4565). Mr.
        Reed is clear that the sales receipt Claimant executed in December 2016 covered both phone
        numbers on Claimant's account ending in -6710-00001: 718-387-4565 and 718-675-6897. See
         Respondent's Exhibit 5, Supp. Reed Deck,^ 4; Respondent's Exhibit 6(January 7, 2017 bill for
         Claimant's account, ending in -6710-00001 and showing charges for both phone numbers).
         Thus, Claimant's assertion that the phone number 718-675-6897 never belonged to him is also
         wrong. And Claimant's suggestion that the phone number could not belong to him because it is
         now linked to someone else (Mordechai Beite) is nonsensical; Claimant admittedly closed his
         Verizon Wireless account, and the number would have been reassigned.

                All of Verizon Wireless's customers are bound by the same Customer Agreement, to
         which they assent by purchasing and/or using Respondent's services and equipment. See Supp.
         Reed Deck, Exhs.(Claimant's sales receipt and Customer Agreement). By signing the sales
         receipt, Claimant "agree[d] to the Verizon Wireless Customer Agreement including ...
         settlement of disputes by arbitration instead ofjury trial"); further,"[b]y using the [Verizon
         Wireless] Service," Claimant accepted the entire Customer Agreement, including the Arbitration
         Provision. The parties' Arbitration Provision states plainly that for arbitrations over $10,000, the
         AAA Consumer Rules apply.

                In addition, Claimant is incorrect that the Customer Agreement or Arbitration Provision
         were in any way rescinded by the small claims court judgment or otherwise. As will be
         developed on the factual record, the defaultjudgment that Claimant received in small claims
         court simply awarded him $718.00, which Respondent duly paid to Claimant in full. See
         Respondent's Exhibit 7(Notice of Judgment and attached cover letter from Claimant). There
         was no rescission,just a default moneyjudgment. Moreover, Respondent never appeared in the
         action because Respondent was never served with the Complaint. Respondent only discovered
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the existence of the small claims court action upon receipt of the Notice of Judgment from
Plaintiff in December 2018.


        Although Claimant closed his Verizon Wireless account, received a default money
judgment from the small claims court, and purports to have unilaterally "rescinded" the
Customer Agreement, the Arbitration Provision remains binding. "[A] broad arbitration clause
in an agreement survives and remains enforceable for the resolution of disputes arising out of
that agreement subsequent to the teimination thereof and the discharge of obligations
thereunder." Eisen v. Venulum Ltd., 244 F. Supp. 3d 324, 333(W.D.N.Y. 2017)(citation
om\\X.Q&). See also Cont'lIns. Co. v. Allianzlns. Co., 52 F. App'x 557, 558-59(2d Cir. 2002)
(arbitration clause survived termination of contract because there was no "express rescission of
the arbitration provision" by the parties).

        As Judge Levy and Judge Donnelly previously held in rejecting the same argument
regarding rescission that Claimant reasserts here, the language of the Arbitration Provision "is
sufficiently broad to create a strong presumption of arbitrability." See Respondent's Exhibit 2 at
p. 5. Accordingly, Respondent respectfully requests that the Arbitrator defer to the Court's
ruling - as required by law - and arbitrate the parties' dispute.

      II.      Basis for Request to File Summary Judgment Motion on Res Judicata Grounds


        Respondent asserts that Claimant's current action is barred by res judicata under
applicable New York law. Specifically, a recent decision by the New York Court of Appeals
clarifies that"a small claims judgment may preclude a subsequent claim between the same
adversaries arising out of the same transaction or series of transactions as the prior action."
Simmons v. Trans Express Inc., 37 N.Y.3d 107, 115, 170 N.E.3d 733 (2021). The clarification
was requested by the United States Court of Appeals for the Second Circuit, which certified the
following question to the New York Court of Appeals:

            "Under New York City Civil Court Act § 1808, what issue preclusion, claim preclusion,
            and/or res judicata effects, if any, does a small claims court's prior judgment have on
            subsequent actions brought in other courts involving the same facts, issues, and/or
            parties? In particular, where a small claims court has rendered a judgment on a claim,
            does Section 1808 preclude a subsequent action involving a claim arising from the same
            transaction, occurrence, or employment relationship?"

Simmons, 37 N.Y.3d at 107.

        The issue was presented because the relevant section of the Civil Court Act states that a
small claims courtjudgment "shall not be deemed an adjudication of any fact at issue or found
therein in any other action or court," but that the amount of the judgment will act as an offset in a
subsequent action. N.Y. City Civ. Ct. Act § 1808. The Simons court held that although the text
Page 4 of5


        of Section 1808 prevents a small claims court judgment from having any collateral estoppel
        effect as to individual issues, the legislature intended for small claims judgments to act as a res
        judicata bar to subsequent actions arising out of the same transaction or series of transactions.

                "Under res judicata, or claim preclusion, a valid final judgment bars future actions
        between the same parties on the same cause of action." Parker v. Blauvelt Volunteer Fire Co.,
        93 N.Y.2d 343, 347, 712 N.E.2d 647(1999). Importantly,"the claim preclusion rule extends
        beyond attempts to relitigate identical claims." Simmons, 1)1 N.Y.3d at 111. New York courts
        have consistently applied a "transactional analysis approach" in determining whether an earlier
        judgment has claim preclusive effect, such that "once a claim is brought to a final conclusion, all
        other claims arising out of the same transaction or series of transactions are barred, even if based
        upon different theories or if seeking a different remedy." Id, quoting O'Brien v. City of
        Syracuse, 54 N.Y.2d 353, 357, 445 N.Y.S.2d 687(1981). This rule is grounded in public policy
        concerns, including fairness to the parties, and is "intended to ensure fmality, prevent vexatious
        litigation and promote judicial economy." Id., quoting Xiao Yang Chen v. Fischer, 6 N.Y.3d 94,
        100, 810 N.Y.S.2d 96(2005). Res judicata applies to defaultjudgments. See Lazides v. P &G
        Enters., 58 A.D.3d 607, 609, 871 N.Y.S.2d 357(2009)(Res judicata applies "to an order or
        judgment taken by default which was not been vacated, as well as to issues which were or could
        have been raised in the prior [action].").

               Under the New York transactional approach to res judicata,"to determine whether two
        claims arise out of the same transaction or series of transactions, we have held that courts should
        analyze whether the claims tum on facts that are related in time, space, origin, or motivation,
        whether they form a convenient trial unit, and whether their treatment as a unit conforms to the
        parties' expectations or business understanding or usage." Simmons, 37 N.Y.3d at 111 (internal
        quotation marks omitted). Ultimately,"the application of the transactional approach to claim
        preclusion seeks to prevent litigants from taking two bites at the apple." Id. at 112.

                Here, Claimant seeks to relitigate the very same Verizon Wireless account and phone
        number(718-387-4565)that were previously at issue in his small claims court action. In that
        prior action. Plaintiff received a default judgment against Verizon Wireless for $718. See
        Respondent's Exhibit 7. When Claimant provided a Notice of Judgment to Respondent, he was
         asked whether he would like to have his outstanding account balances of $176.11 on the account
        ending in -6710-00001 and $341.83 on the account ending in -0985-00001 deducted from the
        judgment amount. Claimant stated that he wanted the full judgment amount paid to him, and
        intimated that he planned to take further legal action. Accordingly, Respondent paid him the full
         $718.00 judgment.

                Just three months later, Plaintiff filed an action against Respondent in New York
         Supreme Court for Kings County, asserting Fair Credit Reporting Act("FCRA")claims
         involving the same Verizon Wireless account and phone number(718-387-4565), but now
         requesting $30,000 in damages (the Second Action). See Respondent's Exhibit 8(Supreme
         Court Complaint). Respondent removed the Second Action to federal court, and because the
         parties' arbitration agreement provides for adjudication of disputes only in small claims court or
         by arbitration, Respondent moved to compel arbitration.
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                                                                                            Lisa M.Lawrence

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        Claimant admits in his Arbitration Demand, Complaint and Amended Complaint filed in
this Arbitration that his claims involve the same Verizon Wireless account and phone number at
issue in his small claims action, including reporting of the $176.11 and $341.83 balances he
never paid. See, e.g., Amended Cmplt., 14-15, 29-32. Plaintiff expressly instructed
Respondent's representatives that they should not deduct these balances from payment on his
default judgment. Now, Claimant is attempting to take a second bite at the apple, by bringing a
duplicative, vexatious action based on the same Verizon Wireless account at issue in his small
claims action.


        Claimant's small claims action was clearly part of the same transaction or series of
transactions with Respondent as the current claim. Accordingly, Respondent requests an
opportunity to brief this issue more fully on a motion for summary judgment.

      III.   Conclusion


        Respondent respectfully requests that the Arbitrator(1)affirm the Court's prior holding
that Claimant's claims against Respondent must be arbitrated before the AAA;and(2)set a
briefing schedule for Respondent to bring a motion for summary judgment pursuant to AAA
Consumer Rule 33.


                                             Sincerely,



                                             Lisa M. Lawrence
cc:

Yehuda Herskovic
EXHIBIT 6




    .V.   -ji-   ;
Verizon
                                                                            Manage Your Account                              Account Number         Date Due
PO BOX 4003
ACWORTH,GA 30101                                                            wvvw.vzw.com                                     988876917-00001        Past Due

                                                                            Change your address at                           Invoice Number         3513543757
                                                                            vzw.com/changeaddress



                                                                            Quick Bill Summary                                           Dec 08 -.Jan 07
KEYLINE


                                                                            Previous Balance (see back for details)                                        $75,63
YEHUDA HERSKOVIC
225 ROSS ST                                                                 No Payment Received                                                                 $.00
APT1                                                                        Balance Forward Due Immediately                                                $75.63
BROOKLYN,NY 11211-7204
                                                                            Accourtt Charges and Credits
                                                                                  Includes Late Fee of $5,00                                                   $5,00
                                                                            Monthly Charges                                                                $20.00
                                                                            Usage and Purchase Charges
                                                                                  Voice                                                                         $.49
                                                                            Surcharges
                                                                                  and Other Charges & Credits                                                  $5.43
          Verizon Wireless News -                                           Taxes, Governmental Surcharges & Fees                                              $5.51
                                                                            Total Current Charges Due by February 02,2017                                  $36.43
          Save Time Go Online
  If you have questions about your bill, or
 need help with your devices, you can find
 answers using go.vzw,com/Support. You                                      Total Amount Due                                                             $112.06
  can also easily access Support through
       the My Verizon app. Try it today,




                                   Our records indicate your account is past due. Please send payment now to avoid service disruption.
  1 Pay from phone         I   Pay on the Web                                                           ! Questions:
    flPMT(#768)                My Verizon atwww.vzw.com                                                    1.800,922,0204 or *611 from your phone




Verizony                                                                     Blii Date
                                                                             Account Number
                                                                                                                  January 07, 2017
                                                                                                                  988876917-00001
                                                                             Invoice Number                       3513543757
 YEHUDA HERSKOVIC
 225 ROSS ST                                                                  Total Amount Due
  APT1
  BROOKLYN,NY 11211-7204                                                      Make check payable to Verizon Wireless.
                                                                              Please return this remit slip with payment.                               $112.06
                                                                                                                             $□[
                                                                                                 P.O. BOX 408
                                                                                                 NEWARK, NJ 07101-0408

                                                                                                 IIIm.Im.Im.IIII            IIII.M.i..lllM.lMl.l.l..l




                               3S13SM37S701D1flafl7b=ili7DDDDlDDDDD003bM30DDDDD11.2Dti3

               NOTICE Bank account and routing numbers will be retained to enable future payments by phone or online. To opt out, call 1-866-544-0401.
        Verizon,y
                                                                                          Invoice Number Account Number                Date Due Page
                                                                                          3513543757         988876917-00001 Past Due                2 of 24

         Get Minutes Used                                         Get Data Used                                           Get Balance
                + SEND                                           #DATA + SEND                                            #BAL + SEND


                                                                               Payments
                                                                               Previous Balance                                                                    $75.63
                                                                               No Payment Received
                                                                               Total Payments                                                                           $.00
                                                                               Balance Forward Due Immediately                                                     $75.63

                                                                               Account Charges and Credits
                                                                               Late Fee                                                                                    5.00
                                                                               Gross Receipts Surchg                                                                        .30

                                                                               Subtotal                                                                                  $5.30

                                                                               Total Account Charges and Credits                                                         $5.30




                   Written notations inciuded with or on your payment will not be reviewed or honored. Please send corresponderice to' i
                                      Verizon Wire[ess Attn: Correspondence Team PO Box 5029 Wallingford, CT 06492
Automatic Payment Enrollment for Account: 988876917-00001 YEHUDA HERSKOVIC
By signing below, you authorize Verizon Wireless to electronically debit your bank acc'ount'each month lor the total bala'nc^due on your account. The check you send will be used to
setup Autornatic Payment. You will be notitied each month of tlie dale and amount of the debit 10 days in advance of the payment. I understand and accept these terms. This
agreement does not alter the terms of your existing Customer Agreement. I agree that Verizon Wireless Is not liable for erroneous bill statements or incorrect debits to my account To
withdraw your aultiorization you must call Verizon Wireless. Check with your bank for any charges.
      1. Check this box.        2. Sign name In box below, as shown on the bill and date.             3. Return this slip with your payment. Do not send a voided check.


                 □
Verizon^                                                            Invoice Number Account Number            Date Due Page
                                                           ■   ■


                                                                    3513543757          988876917-00001 Past Due        3 of 24



Overview of Lines

                                                                   Usage                 Surcharges       Taxes,
                                    Account                       and                     and Other    Governmental    Third-Party
                                    Charges      Monthly       Purchase     Equipment    Charges and   Surcharges        Charges        Total
                                   and Credits   Charges       Charges       Charges       Credits       and Fees     (includes Tax)   Charges
Total Account Charges(pg.2)              S5O0                                                               SOJO             SXIO        S5.30




                                                                   Usage                 Surcharges       Taxes,
                                                                    and                   and Other    Governmental    Third-Party
                                         Page    Monthly       Purchase     Equipment    Charges and   Surcharges        Charges        Total
Line Charges                           Number    Charges        Charges      Charges       Credits      and Fees      (Includes Tax)   Charges
718-387-4565    Yehuda Herskovic           4      831,61             S.49                     86.67         S6.35                       $45.12

718-675-6897    Yehuda Herskovic           18    -811.61                                    -81.24         -81.14                      -813.99

Total Current Charges                    S5.D0    $20.00            $049         $.00         $5.43         $S£1             $.00       $3643
Verizon                                                   Invoice Number Account Number         Date Due Page

                                                          3513543757       988876917-00001 Past Due          4 of 24



Summary for Yehuda Herskovio: 718-387-4565


Your Plan                                   Monthly Charges
                                            New Plan
Plan from 12/21 -1/7
                                            Wireless Home Phone Unlimited                               12/21-01/07        11.61
Wireless Home Phone Unlimited
$20.00 monthly charge                         $20.00 per month /18 days on new plan
Unlimited monthly minutes                   Month In Advance

                                            Wireless Home Phone Unlimited                               01/08 - 02/07      20.00
Plan from 12/21-1/7
                                            These are the normal monthly charges billed in advance.
PAYU MB With EVOO
                                                                                                                          S31.61
$1.99 per megabyte

M2M National Unlimited                      Usage and Purchase Charges
Unlimited monthly Mobile to Mobile
                                            Voice                                       Allowance     Used     Blllable   Cost

                                            Cailing Plan (12/21-01/07)         minutes unlimited      1742                 —




UNL Night & Weekend Min
                                                                                                                 —




                                            Mobiie to Mobile                   minutes unlimited      176                  —




Unlimited monthly OFFPEAK
                                                                                                                 —




                                            (12/21-01/07)
                                            Night/Weekend                      minutes unlimited      2329       —         —




                                            Long Distance - Verizon Wireless                                                 .49
 Have more questions about your charges?
                                            Total Voice                                                                     $.49
 Get details at www.vzw.com. Sign into My
 Verizon.                                   Total Usage and Purchase Charges                                                $.49


                                            Surcharges
                                            Fed Universal Service Charge                                                    1.64

                                            Regulatory Charge                                                                ,42
                                            Administrative Charge                                                           2.46

                                            Gross Receipts Surchg                                                           2.15
                                                                                                                           $6.67
                                            Taxes, Governmental Surcharges and Fees
                                            NY Public Safety Comm Surchg                                                    2.40
                                            NYC911 Surchg                                                                    .60

                                            NY State Sales Tax-Telecom                                                      1.51

                                            New York City Sales Tax-Teleco                                                  1.70

                                            NY McTd Sales Tax-Telecom                                                        .14
                                                                                                                           $6.35


                                            Total Current Charges lor 718-387-4565                                        $45.12
Verizon                                                 Invoice Number Account Number              Date Due Page

                                                      V ., 3513543757:     988876917-00001 Past Due           5 of 24



Detail for Yehuda Herskovic: 718-387-4565

Voice
                                                                                                         Alrtime   Long Dist/
Date    Time     Number          Rate    Usage Type        Origination      Destination       MIn.      Charges    Other Chgs   Total

12/21   2:26P    347-731-8818    Peak   PlanAllow          Brotfrlyn NV     New York NY                  —                —       —




12/21   2:40P    718-689-1100    Peak   PlanAllow          Brooklyn NV      NwyrcyznIS NY                —
                                                                                                                          —
                                                                                                                                  —




12/21   2:45P    718-810-0893    Peak   PlanAllow          Broc^lyn NY      New York NY                  —                —       —




12/21   2:48P    718-782-7731    Peak   PlanAllow          Brodtlyn NY      Brooklyn NY        1         —                —
                                                                                                                                  —




12/21   2:52P    917-935-8463    Peak   PlanAllow          Brooklyn NY      Incoming CL        5         —                —       —




12/21   3:00P    718-782-3261    Peak   PlanAllow          Brooklyn NY      Brooklyn NY        4         ~                —       —




12/21   4:07P    718-782-7731    Peak   PlanAllow          Brooklyn NY      Incoming CL        2         —                —       —




12^2    12:54A   914-902-2775   Off-Peak N&W               Brooklyn NY      WschstznOS NY      2         —
                                                                                                                          —
                                                                                                                                  —




12/22   1:45A    718^89-1100    Off-peak N&W               Brooklyn NY      NwyrcyznIS NY     75         —                —
                                                                                                                                  —




12/22   9:47A    718-689-1100    Peak   PlanAllow          BrocSdyn NY ■    NwyrcyznIS fJY'   3 •„                        —
                                                                                                                                  —




12/22   10:42A   718-810-0893    Peak   PlanAllow          BrocAlyn NY      New York NY                  —
                                                                                                                          —
                                                                                                                                  —




12/22   10:43A   718-387-2437    Peak   PlanAllow          Brooklyn NY      Brooklyn NY                                   —
                                                                                                                                  —




12/22   10;5SA   718-782-7731    Peak   PlanAllow          BrocMyn NY       Brooklyn NY        2         —                —       —




12/22   4:36P    718-916-0948    Peak   PlanAllow          Brodrlyn NY      Nwyrcyzii06 NY               —
                                                                                                                          —
                                                                                                                                  —




12/22   4:37P    914-902-2775    Peak   PlanAllow          Brooklyn NY      WschstznOS NY      2         —                —       —




12/22   5:03P    347-731-8818    Peak   PlanAllow          BrocWyn NY       New York NY        1         —                —       —




12/22   5:07P    347-731-8818    Peak   PlanAllow          Brooklyn NY      New York NY                  —                —       —




12/22   5:11P    347-731-8818    Peak   PlanAllow          Brooklyn NY      New York NY        1         —
                                                                                                                          —       —




12/22   5;17P    347-731-8818    Peak   PlanAllow          Brodclyn NY      New York NY        1         —
                                                                                                                          —       —




12/22   5:52P    347-482-7252    Peak   PlanAllow          Brod(lyn NY      Nwyrcyznoe NY                __
                                                                                                                          —       —




12/22   5:54P    347-482-7252    Peak   PlanAllow          Brooklyn NY      Nwyrcyznoe NY      3         —                —       —




12/22   S:S9P    718-599-5291    Peak   PlanAllow          Broddyn NY       Brooklyn NY        2         —
                                                                                                                          —       —




12/22   6:01P    718-916-0948    Peak   PlanAllow          Brooklyn NY      NwyrcyznOO NY      1         —                —       —




12/22   6.20P    347-731-8818    Peak   PlanAllow          Brooklyn NY      New York NY        1         —
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12/22   6.32P    718-384-2666    Pe^    PlanAllow          Brooklyn NY      Brooklyn NY        2         —                —
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12/22   6:49P    718-782-7731    Peak   PlanAllow          Brooklyn NY      Brooklyn NY        2         —
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12/22   6:51P    917-474-0513    Peak   PlanAllow          Brooklyn NY      fiwyrcyznOO NY     1         __
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12/22   6.57P    917-474-0513    Peak   PlanAllow          Brooklyn NY      NwyrcyaiOe NY      1         —                —       —




12/22   7:01P    718-689-1100    Peak   PlanAllow          Brooklyn NY      NwyrcyznIS NY     91         —                —       —




12/22   8:39P    914-902-2775    Peak   PlanAllow          Brooklyn NY      Wschst3i05 NY      3                          —
                                                                                                                                  —




12/22   10:05P   718-782-3261   Off-Peak N&W               Brooklyn NY      Brooklyn NY        3         —                —
                                                                                                                                  —




12/22   11:20P   845-662-3315   Off-Peak N&W               Brooklyn NY      ll/lonroe NY       1         —
                                                                                                                          —
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12/23   1:14A    718-689-1100   Off-Peak N&W                Brooklyn NY     NwyrcyznIS NY      2         —                —       —




12/23   1:21A    718-689-1100   Off-Peak N&W               Brooklyn NY      NwyrcyznIS NY     21         —                —       —




12/23   2:00A    000-000-0086   Off-Peak N&W.CallVM        Brooklyn NY      Voice Nlail CL     5         —                        —




12/23   7:12A    718-210-5572    Peak   PlanAllow           Brooklyn NY     Brooklyn NY        2         —
                                                                                                                          —       —




12/23   7.ISA    718-210-5572    Peak   PlanAllow          Brooklyn NY      Brooklyn NY        2                          —
                                                                                                                                  —




12/23   9:08A    212-444-1100    Peak   PlanAllow          Brooklyn NY      iVwyrcyznOi NY     6         —                —       —




12/23   10:24A   917-903-7216    Peak    M2MAilow           Brooklyn NY     New York NY       40         —                —
                                                                                                                                  —




12/23   11:04A   718-963-2111    Peak   PlanAllow          Brooklyn NY      Brooklyn NY        2         —
                                                                                                                          —
                                                                                                                                  —




12/23   1:08P    347-482-7252    Peak   PlanAllow          Brooklyn NY      Incoming CL        5         —
                                                                                                                          —       —




12/23   1:13P    347-482-7252    Peak   PlanAllow          Brooklyn NY      Incoming CL        1         —                —
                                                                                                                                  —




12/23   1:14P    347-482-7252    Pe^    PlanAllow          Brooklyn NY      incoinino CL       1         —                —       —




12/23   1:18P    201-926-1770    Pe^     M2II4A1IOW        Brooklyn NY      Incoming CL        1         —                —
                                                                                                                                  —




12/23   1:20P    718-599-4824    Peak   PlanAllow          Brooklyn NY      Brooklyn NY ,      2         —
                                                                                                                          —       —
Verizon1/                                                       Invoice Number Account Number           Date Due Page

                                                                3513543757      988876917-00001 Past Due 6 of 24



Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
                                                                                                             Altlitne   Long Dist/
Date    Time     Number          Rate      Usage Type             Origination    Destination      lyil'n.    Charges    Other Chgs   Total


12/23   1:21P    718-599-4872    Peak      PlanAllow              Brooklyn NY    Brooklyn NY        2         —                —       —




12/23   1:22P    718-599-0728    Peak      PlaiAllow              Brooklyn NY    Brooklyn NY                  ~
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12/23   1;23P    718-782-7044    Peak      PlanAllow              Brooklyn NY    Brooklyn NY        2         —                —       —




12/23   1:43P    917-935-8463    Peak      PlanAllow              Brooklyn NY    Incoming CL                  —                —       —




12/23   1:45P    845-351-3100    Peak      PlanAllow              Brooklyn NY    Tuxedo NY         13         ~
                                                                                                                               —       —




12/23   1:59P    917-935-8463    Peak      PlanAllow              Brooklyn NY    NwyrcyznOS NY                —                —       —




12/23   2:07P    917-935-8463    Peak      PlanAllow              Brooklyn NY    Incoming CL                  —                —
                                                                                                                                       —




12/23   2:10P    917-935-8463    Peak      PlaiAllow              Brooklyn NY    Incoming CL        2         —                —       —




12/23   2:13P    845-351-3100    Peak      PlanAllow              Brooklyn NY    Tuxedo NY         ID         —                —       —




12/23   2:22P    718-384-3230    Peak      PlanAllow,CaliWalf     Brooklyn NY   [ncomingCL         4                           —       —




12/23   2:28P    917-935-8463    Peak      PlanAllow              Brooklyn NY    NwyrcyznOS NY      2         —                —       —




12/23   3:36P    845-783-3670    Peak      PI^AIlow               Brooklyn NY    Monroe NY         5          —                —       —




12/23   3:41P    845-662-6367    Peak      PlanAllow              Brooklyn NY    Monroe NY         3                           —       —




12/23   3:43P    845-662-6367    Peak      PlanAllow              Brooklyn NY    Monroe NY                    —
                                                                                                                               —       —




12/23   3:46P    347-988-4904    Peak      M2fMAIl0W              Brooklyn NY    NwyrcyznO? NY      1         ~
                                                                                                                               —       —




12/23   3;48P    718-689-1100    Peak      PlanAllow              Brooklyn NY    NwyrcyzntS NY    34          _

                                                                                                                               —       —




12/23   4.55P    949-201-2330    Peak      PlanAllow              Brooklyn NY    Incoming CL                  —                —       —




12/24   6:01P    845-783-3670   Off-Pe^ N&W                       Brooklyn NY    Monroe NY          1         —                —
                                                                                                                                        -




12/24   6:02P    845-783-3670   Off-Peak N&W                      Brooklyn NY    Mffliroe NY        1                          —       —




12/24   6:03P    845-662-5088   Off-Peak N&W                      Brooklyn NY    Monroe NY                    —
                                                                                                                               —       —




12/24   6:04P    845-248-6429   Off-Peak   N&W                    Brooklyn NY    Monroe NY          1         —
                                                                                                                               —
                                                                                                                                       —




12/24   6:06P    845-783-3670   Off-Peak N&W                      Brooklyn NY    Monroe NY         2          ~
                                                                                                                               —       —




12/24   6:06P    845-248-6429   Off-Peak   NSW.CaliWail           Brooklyn NY    Incoming CL        1         —
                                                                                                                               —       —




12/24   6:09P    212-444-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyznOI NY     4          ~
                                                                                                                               —
                                                                                                                                       —




12/24   6:20P    718-782-7731   Off-Peak N&W                      Brooklyn NY    Incoming CL        1         __

                                                                                                                               —       —




12/24   6:56P    914-902-2775   Off-Peak N&W                      Brooklyn NY    Wscfistzn05 NY    2          —
                                                                                                                               —       —




12/24   8:00P    718-682-2995   Off-Peak N&W                      Brooklyn NY    Incoming CL       2          —
                                                                                                                               —       —




12/24   8;12P    845-774-2413   Off-Peak N&W                      Brooklyn NY    Incoming CL        1         —
                                                                                                                               —
                                                                                                                                       —




12/24   8:15P    000-000-0086   Off-Peak   N&W,CallVU             Brooklyn NY    Voice Mail CL     2          —                        —




12/24   8:18P    949-201-2330   Off-Peak N&W                      Brooklyn NY    Capitmvly CA      2          —
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12/24   8:20P    718-689-1100   Off-Peak NSW                      Brooklyn NY    NwyrcysilS NY    23          __

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                                                                                                                                       —




12/24   8:41P    718-782-7731   Off-Peak N&W,CajlWalt             Brooklyn NY    Incoming CL       2          —                —       —




12/24   8.42P    718-689-1100   Off-Peak   N&W,CallWalt           Brooklyn NY    Nwyrcyzn15 NY     17         —                —
                                                                                                                                       —




12/24   9:17P    888-328-6399   Off-Peak N&W                      Brooklyn NY    Toil-Free CL      3          —                —
                                                                                                                                       —




12/24   9:19P    888-328-6399   Off-Peak N&W                      Brooklyn NY    Toil-Free CL       1         —
                                                                                                                               —
                                                                                                                                       __




12/24   10;19P   646-726-9929   Off-Peak N&W                      Brooklyn NY    New Ywk NY         1         —                —       —




12/25   12:47A   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyzntS NY     3          —                —       —




12/25   12:49A   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyzntS NY    165         —                —




12/25   3:36A    917-935-8463   Off-Peak N&W                      Brooklyn NY    NwyrcyznOS NY     2          —                —       —




12/25   10 15A   718-243-2091   Off-Peak NSW                      Brooklyn NY    Incoming CL        1         —                —       —




12/25   1D:16A   718-243-2091   Off-Peak N&W                      Brooklyn NY    Brookl^ NY        2          —                —
                                                                                                                                       —




12/25   11;22A   347-482-7252   Off-Peak N&W                      Brooklyn NY    Incoming CL        1         —                —
                                                                                                                                       —




12/25   12:22P   917-935-8463   Off-Peak N&W                      Brooklyn NY    Incoming CL        1         —                —       —




12/25   12:24P   917-935-8463   Off-Peak N&W                      Brooklyn NY    NwyrcyznOS NY     3          —                —       —




12/25   12;28P   718-243-2091   Off-Peak   N&W                    Brooklyn NY    Brooklyn NY       2          —                —
                                                                                                                                       __
Verizon                                                   Invoice Number Account Number          Date Due Page

                                                          3513543757       988876917-00001 Past Due         7 of 24




Detail for Yehuda Herskovic; 718-387-4565

Voice, continued
                                                                                                      Airtlme   Long Dist/
Date    Time     Number           Rate     Usage Type       Origination     Destination     Min.      Charges   Other Chgs   Total

12/25   12:30P   718-243-2091   Off-Peak N&W                Broc^lyn NY     Incoming CL      2         —               —       —




12/25   12:31P   718-689-1100   Off-Peak N&W                Brooklyn NY     NwyrcyznIS NY    2         —
                                                                                                                       —       —




12/25   12:33P   718-689-1100   Off-Pe^ N&W                 Brooklyn NY     Nwyrcyzn15 NY   2          —               —       —




12/25   12:3SP   845-351-3100   Off-Peak N&W                Brooklyn NY    Tuxedo NY        27         —               —
                                                                                                                               __




12/25   1:06P    718-782-7731   Off-peak N&W                Brod<lyn NY     Incoming CL      1         —               —       —




12/25   1:07P    718-782-7731   Off-Peak N&W                Brooklyn NY     Brooklyn NY      3         —               —
                                                                                                                               —




12/25   1:33P    718-782-3261   Off-Peak   N&W              Brooklyn NY     Incoming CL      1         —               —




12/25   1:34P    718-782-3261   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —
                                                                                                                              --




12/25   1.37P    718-782-3261   Off-Peak N&W                Brooklyn NY     Incoming CL     5                          —       —




12/25   1:41P    718-782-3261   Off-Peak   N&W              Brorttlyn NY    incoming CL      1         —
                                                                                                                       —
                                                                                                                               —




12^5    1:42P    718-782-3261   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —
                                                                                                                       —       —




12/25   1:43P    718-782-3261   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —
                                                                                                                       —
                                                                                                                               —




12/25   1:44P    347-357-4031   Off-Peak N&W.CallWait       Brooklyn NY     Incoming CL      1         —
                                                                                                                       —
                                                                                                                               —




12/25   1;45P    718-782-3261   Off-Peak NSW                Bro(Alyn NY     Incoming CL      3         —               —       —




12/25   1:47P    347-546-9596   Off-Peak NSW.CallWalt       Brooklyn NY     incoming CL      2         —               —
                                                                                                                               —




12/25   2;18P    347-357-4031   Off-Peak N&W                Brooklyn NY     Nwyrcyznll NY    1         —
                                                                                                                       —
                                                                                                                               —




12/25   2:19P    347-357-4031   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —               —
                                                                                                                               —




12/25   2:59P    347-436-7000   Off-Peak N&W                Brod<lyn NY     Brooklyn NY     10         —
                                                                                                                      ~
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12/25   3;09P    718-782-7731   Off-Peak N&W                Brooklyn NY     Brooklyn NY      1         —               —       —




12/25   3:10P    347-436-7000   Off-Peak N&W                Brooklyn NY     Brooklyn NY     34         —               —       —




12/25   3:44P    718-210-5572   Off-Peak N&W                Brooklyn NY     Brooklyn NY      2         —               —
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12/25   3:46P    347-436-7000   Off-Peak NSW                Brooklyn NY     Brooklyn NY      1         —
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12/25   3:47P    718-384-3230   Off-Peak N&W                Brooklyn NY     Brooklyn NY      2         —
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12/25   3:48P    347-436-7000   Off-Peak N&W                Brooklyn NY     Brooklyn NY      1         —               —
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12/25   3.49P    718-436-7000   Off-Peak N&W                Brooklyn NY     Brooklyn NY      1         —
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12/25   3:50P    347-436-7000   Off-Peak N&W                Brod<lyn NY     Brooklyn NY      1         —               —
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12/25   3:50P    718-384-3230   Off-Peak N&W                Brooklyn NY     Brooklyn NY      2         —
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12/25   3;56P    347-436-7000   Dff-Peak N&W                Brooklyn NY     Brooklyn NY      1         —               —




12/25   3:56P    347_436_7000   Off-Peak N&W                Brodtlyn NY     Brooklyn NY      1         —               —
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12/25   3:S7P    347-436-7000   Off-Peak N&W                Brooklyn NY     Brooklyn NY      1         —               —
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12/25   3:57P    718-384-3230   Off-Peak N&W                Brooklyn NY     Brooklyn NY      2         —
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12/25   4:09P    914-902-2775   Off-Peak N&W                Brooklyn NY     WschslznOS NY   6                          —
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12/25   4:20P    347-436-7000   Off-Peak NSW                Brodtlyn NY     Brooklyn NY      1         --
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12/25   4:20P    718-689-1100   Off-Peak N&W                Brooklyn NY     NwyrcymIS NY     5         —
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12/25   4:25P    718-384-2666   Off-Peak   N&W.CallWalt     Brooklyn NY     Incoming CL      1         —               —       —




12/25   4;26P    718-384-2666   Off-Peak N&W                Brooklyn NY     Incoming CL      2         —
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12/25   4:31P    718-689-1100   Off-Peak N&W                Brooklyn NY     NwyrcyznIS NY   28         —
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12/25   4:48P    347_512-0S30   Off-Peak   N&W.CailWait     Brooklyn NY     Incoming CL      1         —
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12/25   5;24P    718-704-0082   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —               —       —




12/25   S;28P    718-852-1418   Off-Peak N&W                Brooklyn NY     Brooklyn NY      3                         —       —




12/25   5;37P    718-384-3230   Off-Peak N&W                Brodrlyn NY     Brooklyn NY      1         —
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12/25   5:43P    718-384-2666   Off-Peak N&W                Brooklyn NY     Incoming CL      3         —
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12/25   5:47P    718-782-7731   Off-Peak N&W                Brooklyn NY     Brooklyn NY      3         —               —       —




12/25   6:02P    845-782-6841   Off-Peak N&W                Brooklyn NY     Incoming CL      1         —
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12/25   6:03P    718-782-7731   Off-Peak N&W                Brodrlyn NY     Brooklyn NY      1          -              —
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venzon                                               Invoice Number Account Number           Date Due Page

                                                     3513543757       988876917-00001 Past Due         8 of 24




Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
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Dale    Time     Number          Rate   Usage Type     Origination     Destination      Min.      Charges    Other Chgs   Total

12/25   6:04P    718-384-3230   Off-PeaK N&W           Brooklyn NY     Incoming CL       1         —
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12/25   6:05P    718-384-2666   Off-Peak N&W           Brooklyn NY     Brortrlyn NY      1         —
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12/25   6:09P    845-783-4352   Off-peak N&W           Brooklyn NY     Mffiroe NY        2         ~                —
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12/25   6:41P    347-988-4904   Off-Peak N&W           Brooklyn NY     Nwyrcyzn07 NY     1         —                —
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12/25   6:46P    718-384-3230   Off-peak N&W           Brooklyn NY     Brooklyn NY       2         —
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12/25   6:58P    718-782-3261   Off-Peak N&W           Brooklyn NY     Brooklyn NY      8          —
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12/25   7:33P    845-774-2413   Off-Peak N&W           Brooklyn NY     Incoming CL      8          —                —       —




12/25   8:02P    347-742-2280   Off-Peak N&W           Brooklyn NY     Incoming CL       3         ~                —       —




12/25   8.21P    718-384-3230   Off-Peak N&W           Brooklyn NY     Brooklyn NY       1         —                —       —




12/25   8:23P    718-689-1100   Off-Peak N&W           Brooklyn NY     NwyrcyzniS NY    16         —                —       —




12/25   8:41P    347-742-2280   Off-Peak N&W           Brooklyn NY     NwyrcymOe NY      1         ~
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12/25   8:48P    347-742-2280   Off-Peak N&W           Brooklyn NY     NwyrcyznOe NY     1         —                —
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12/25   8:50P    718-389-1100   Off-Peak N&W           Brooklyn NY     Brooklyn NY       2         —                —
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12/25   8:52P    718-689-1100   Off-Peak N&W           Brooklyn NY     NwyrcyzniS NY     1         —
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12/25   8:S4P    718-689-1100   Off-Peak N&W           Brooklyn NY     NwyrcyzniS NY    83         —                —       —




12/26   2:33A    718-689-1100   Off-Peak N&W           Brooklyn NY     NwyrcyzniS NY    56                          —
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12/26   8:51A    718-305-6100    Peak   PlanAllow      Brooklyn NY     New York NY       2         —
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12/26   9 27A    718-782-0747    Peak   PlanAllow      Brooklyn NY     Brooklyn NY       1         —                —       —




12/26   10:31A   888-331-3383    Peak   PlanAllow      Brooklyn NY     Toil-Free CL     13         —                —       —




12/26   10:52A   718-689-1100    Peak   PlanAllow      Brooklyn NY     NwyrcyzniS NY    19         —
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12/26   12:52P   917-363-0041    Peak   PlanAllow      Brooklyn NY     New York NY       1         —                —
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12/26   1:01P    347-587-9851    Peak   PlanAllow      Brooklyn NY     NwyrcyznO? NY     2         —                —
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12/26   3:44P    718-810-0893    Peak   PlanAllow      Brooklyn NY     New York NY       1         —                —
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12/26   3:49P    718-384-3230    Peak   PlanAllow      Brooklyn NY     Brooklyn NY       1         —
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12/26   3 54P    718-782-3261    Peak   PlanAllow      Brooklyn NY     Brooklyn NY       4         —                —
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12/26   4:00P    718-871-0249    Peak   PlanAllow      Brooklyn NY     Brooklyn NY       7         ~                —
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12/26   4:43P    914-902-2775    Peak   PlanAllow      Brod<lyn NY     WschstziiOS NY    2         —                —
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12/26   5;38P    718-782-7731    Peak   PlanAllow      Broc^lyn NY     Brooklyn NY       6         —                —       —




12/26   552P     718-782-7731    Peak   PlanAllow      Brooklyn NY     Brooklyn NY       2         —                —       —




12/26   10:35P   718-689-1100   Off-Peak N&W           Brooklyn NY     NwyrcyzniS NY    113        —
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12/27   9:15A    917-903-7216    Peak   M2MAII0W       Brooklyn NY     New York NY      28         —
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12/27   9:44A    718-407-4151    Peak   PlanAllow      Brotfrlyn NY    Brooklyn NY       1         —
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12/27   9:47A    908-202-4962    Peak   M2MAilow       Brooklyn NY     Newbrnswck NJ     1         —                —       —




12/27   9:57A    917-903-7216    Peak   M2MAIICW       Brooklyn NY     New York NY       1         —                —       —




12/27   10:02A   800-600-9240    Peak   PlanAllow      Brooklyn NY     Toil-Free CL      2         —
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12/27   10:05A   800-275-8777    Peak   PianAilow      Brooklyn NY     Toil-Free CL      4         —
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12/27   12:34P   877-777-0450    Peak   PlanAllow      Brooklyn NY     Tcll-Free CL     11         —
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12/27   2:15P    917-903-7216    Peak   M2MAII0W       Brooklyn NY     New York NY       5         —                        —




12/27   4:48P    718-782-7731    Peak   PlanAllow      Brooklyn NY     Incoming CL       1         —                —
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12/27   4:51P    718-782-7731    Peak   Plan/Ulow      Brooklyn NY     Brooklyn NY      10         —                —
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12/27   5:00P    718-782-7731    Peak   PlanAllow      Brooklyn NY     Incoming CL       1         —
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12/27   5:10P    914-902-2775    Peak   PlanAllow      Brooklyn NY     WscfistznOS NY    3         —                —
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12/27   5:39P    347-426-7463    Peak   M2MAII0W       Brooklyn NY     Incoming CL       1         —                —
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12/27   6:10P    917-935-8463    Peak   PlanAllow      Brooklyn NY     NwyrcyznOe NY     2         —                —       ~




12/27   6:23P    347-988-4904    Peak   M2MAII0W       Brooklyn NY     NwyrcyznO? NY     5         —
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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
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Date    Time     Number          Rate     UsageType              Origination    Destination      Min.      Charges   Other Chgs   Total

12/27   7:24P    888-328-6399    Peak     PlanAilow              Brooklyn NY    Toll-Free CL      1         —
                                                                                                                            —       —




12/27   7:46P    000-000-0086    Peak     PianAllow,CaliVM       Brooklyn NY    Voice Mail CL     4         —
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12/27   7:53P    718-384-2666    Peak     PlanAilow              Brooklyn NY    Brooklyn NY      9          —
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12/27   8:10P    718-689-1100    Peak     PlanAilow              Brooklyn NY    Nwyrcyzn 15 NY   51         —
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12/27   9:04P    718-243-2091   Off-Peak N&W                     Brooklyn NY    Brooklyn NY      23         —
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12/27   10:10P   718-384-2666   Off-Peak N&W                     Brooklyn NY    Incommg CL       7          —
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12/27   10:20P   718-237-0445   Olf-Peak ig&w                    Brooklyn NY    Brooklyn NY       1         —               —
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12/27   10:21P   718-237-0445   Off-Peak N&W                     Brooklyn NY    Brooklyn NY       1         —               —
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12/27   10.22P   718-871-0249   Off-Peak N&W                     Brooklyn NY    Brooklyn NY      43         —               —       —




12/28   1:04A    718-689-1100   Off-Peak N&W                     Brooklyn NY    Nwyrcyzn IS NY   177        —               —       —




12/28   4:16P    929-214-2303    Peak     M2IWAII0W              Brooklyn NY    NwyrcyznOe NY     2         —               —       —




12/28   5.23P    914-902-2775    Peak     PlanAilow              Brooklyn NY    WschstznOS NY     2         —
                                                                                                                            —       —




12/28   5:26P    347-988-4904    Peak     mm\cw                  Brooklyn NY    NwyrcyznO? NY     1         —
                                                                                                                            —       —




12/28   5:37P    718-384-2666    Peak     PlanAilow              Brooklyn NY    Incoming CL       4         —                       —




12/28   5:40P    845-783-4352    Pe^      PlanAllow,CallWait     Brooklyn NY    Incoming CL       3         —
                                                                                                                            —       —




12/28   S;44P    646-699-1252    Peak     PlanAilow              Brooklyn NY    Incoming CL       1         __

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12/28   5:47P    718-782-7731    Peak     PlanAilow              Brooklyn NY    Incoming CL       4         __
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12/28   5:51P    914-902-2775    Pestft   PlanAilow              Brooklyn NY    WscfistznOS NY    3         —               —       —




12/28   6.00P    718-342-5564    Peak     PlanAilow              Brooklyn NY    Incoming CL       1         —               —       —




12/28   6:04P    888-925-5016    Peak     PlanAilow              Brooklyn NY    Toil-Free CL     6          —               —
                                                                                                                                    —




12/28   6:10P    888-925-5016    Peak     PlanAilow              Brooklyn NY    Toll-Free CL     15         —               —       —




12/28   6:55P    800-275-8777    Peak     PlanAilow              Brooklyn NY    Toil-Free CL      1         —               —       —




12/28   6:56P    800-275-8777    Peak     PlanAilow              Brooklyn NY    Toil-Free CL     51         —
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12/28   9:09P    347-743-9270   Off-Peak N&W                     Brooklyn NY    fJwyrcyznoe NY    2                         —       —




12/28   9:14P    347-743-9270   Off-Peak N&W                     Brooklyn NY    Incoming CL       2         —               —
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12/28   9:4SP    718-855-7618   Off-Peak N&W                     Brooklyn NY    Brooklyn NY       8         —               —       —




12/28   9:53P    718-689-1100   Off-Peak N&W                     Brooklyn NY    NwyrcyznlSNY      3         —
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12/28   10;30P   718-782-7731   Off-Peak N&W                     Brooklyn NY    Brooklyn NY       6         —               —
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12/29   10;10A   855-672-5094    Peak     PlanAilow              Brooklyn NY    Toil-Free CL      2         —               —       —




12/29   10:11A   856-672-5094    Peak     PlanAilow              Brooklyn NY    Incoming CL       9         —
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12/29   10.24A   718-599-1495    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       2         —               —
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12/29   10:25A   718-387-5142    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       3         —
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12/29   10;28A   718-387-5142    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       3         —               —
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12/29   10:31A   718-387-5142    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       3         —               —
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12/29   1033A    718-387-5142    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       2         —
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12/29   10:35A   311-000-0000    Peak     PlanAilow              Brooklyn NY    Govt Info CL      9         —               —       —




12/29   10:44A   718-387-5142    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       2         —               —       —




12/29   10:52A   718-938-2650    Peak     M2lriA]low             Brooklyn NY    Brooklyn NY       2         —               —
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12/29   10:57A   678-279-7980    Peak     PlanAilow              Brooklyn NY    Incoming CL      26         —
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12/29   4:27P    917-935-8463    Pe^      PlanAilow              Brooklyn NY    NwyrcyznOB NY     2         —               —
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12/29   5.01P    718-782-7731    Peak     PlanAilow              Brooklyn NY    Incoming CL       1         —               —       —




12/29   5:28P    718-782-7731    Peak     PlanAilow              Brooklyn NY    Incoming CL       1         —               —       —




12/29   5:29P    855-672-5094    Peak     PlanAilow              Brooklyn NY    Toll-Free CL      7         —               —       —




12/29   5;36P    000-000-0086    Peak     PlanAllow.CallVflA     Brooklyn NY    Voice Mail CL     5         —               —
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12/29   5:48P    718-384-1923    Peak     PlanAilow              Brooklyn NY    Brooklyn NY       1         —               —
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Verizon                                                       Invoice Number Account Number           Date Due Page
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Detail for Yehuda Herskovio: 718-387-4565

Voice, continued
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Date    Time     Number          Rate   Usage Type              Origination     Destination      Min.      Charges    Other Chgs   Total

12/29   5:49P    718-582-2995    Peak   Plan Allow              Brooklyn NY     Staler is NY      1         __
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12/29   6:24P    718-689-1100    Peak   PlanAllow               Brooklyn NY     Nwyrcyznl5 NY     1         —
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12/29   7:09P    718-689-1100    Peak   Plan Allow              Brooklyn NY     NwyrcyznlS NY    110        ~
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12/29   7:48P    718-599-5291    Peak   Plan/Ulow.CallWait      Brooklyn NY     Incoming CL      2          —                —
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12/29   802P     718-384-2666    Peak   PlanAllov/.CallWait     Brooklyn NY     Incoming CL       4         —
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12/29   8:57P    718-384-2666    Peak   PlanAllow,CallWait      Brooklyn NY     Incoming CL       1         ~
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12/29   a:58P    718-689-1100    Peak   PlanAllow,CaliWalt      Brooklyn NY     NwyrcyznlS NY    40         —
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12/30   2:16A    718-689-1100   Oft-Peak N&W                    Brooklyn NY     NwyrcyznlS NY    147        ~
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12/30   9:46A    718-782-7731    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       2         —
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12/30   9:48A    718-782-7731    Peak   PlanAlow                Brooklyn NY     Brooklyn NY       1         —                —       —




12/30   9:50A    718-812-8257    Peak   M2MA1I0W                Brooklyn NY     New York NY                 —                —       —




12/30   10:34A   914-902-2775    Peak   PlanAllow               Bro(»(lyn NY    WscfistznOS NY    1         —                —       —




12/30   10:3SA   914-902-2775    Peak   PlanAllow               Brooklyn NY     WscfistznOS NY    3         —                —
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12/30   10:37A   718-782-3261    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       t         —                —       —




12/30   10.39A   347-512-0530    Peak   PlanAllow               Brooklyn NY     Inccming CL       2         —                —       —




12/30   10;40A   201-926-1770    Peak   f^2MAIIow               Brooklyn NY     Incoming CL       2         ~                —
                                                                                                                                     —




12/30   10:42A   201-826-1770    Peak   M2MAII0W                Brooklyn NY     Hackensack NJ                                —      ~




12/30   10;48A   646-726-9929    Peak   PlanAllow               Broc^lyn NY     New York NY      30         —                —
                                                                                                                                     —




12/30   10:47A   718-384-2666    Peak   PlanAllow,CaliWalt      Brooklyn NY     Incoming CL       2         —                —       —




12/30   11:13A   917-935-8463    Peak   PlanAllow,CallWait      Brooklyn NY     Incoming CL       2         —
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12/30   11:17A   347-512-0530    Peak   PlanAllow               Brooklyn NY     New York NY       2         —                —
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12/30   11;20A   718-782-3261    Peak   PlanAllow               Brooklyn NY     Brooklyn NY                 —                —       —




12/30   11:20A   646-726-9929    Peak   PlanAllow               Brooklyn NY     Nev/ York NY     15         —                —       —




12/30   12:18P   718-689-1100    Peak   PlanAllow               Broc^lyn NY     NwyrcyznlS NY    20         —                —       —




12/30   12.37P   718-689-1100    Peak   PlanAllow               Brooklyn NY     NwyrcyznlS NY    18         —                —
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12/30   12:55P   718-599-4824    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       2         —
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12/30   12;56P   718-599-4872    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       2         —                —
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12/30   12.58P   718-599-0728    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       1         —
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12/30   1:02P    718-782-7044    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       1         —                —       —




12/30   1:05P    347-731-8818    Peak   PianAlow                Brooklyn NY     New York NY       2         —                —
                                                                                                                                     —




12/30   1:07P    877-227-3728    Peak   PlanAllow               Brooklyn NY     Toll-FreeCL      9          —                —
                                                                                                                                     —




12/30   1:17P    347-731-8818    Peak   PlanAllow               Brooklyn NY     New York NY       2         —                —       —




12/30   1:53P    718-782-7731    Peak   PlanAllow               Brooklyn NY     Brooklyn NY       1         —                —       —




12/30   1:54P    347-512-0530    Peak   PlanAlow                Brooklyn NY     New York NY       2         —                —       —




12/30   1:5SP    718-218-9269    Peak   PlanAllow,CallWalt      Brooklyn NY     Incoming CL       2         —
                                                                                                                             —       —




12/30   1:56P    347-512-0530    Peak   PlanAllow               Brooklyn NY     New York NY       2         —
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12/30   2:18P    347-988-4904    Peak   M2MAII0W                Brooklyn NY     Incoming CL       5         —                —       —




12/30   2:23P    347-988-4904    Peak   M2MAi{ow                Brooklyn NY     Incoming CL       2         —
                                                                                                                             —       —




12/30   2:33P    718-689-1100    Peak   PlanAllow               Brooklyn NY     NwyrcyznlS NY    35         —                —       —




12/30   3;31P    914-902-2775    Peak   PlanAlow                Brodrlyn NY     WschstznOS NY     3         —
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12/31   6;nP     718-782-3261   Otf-Peak N&W                    Brooklyn NY     Incoming CL       2         —
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12/31   6;28P    347-546-9596   Off-peak N&W                    Brodtlyn NY     Nwyrcyznoe NY     1         —
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12/31   6:29P    347-546-9596   Off-peak N&W                    Brooklyn NY     Nwyrcyzn05 NY     1         —                —
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12/31   6;35P    718-935-1897   Off-Peak N&W                    Brooklyn NY     Brooklyn NY       1         —
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12/31   6.36P    347-546-9596   Off-Peak NSW                    Brooklyn NY     Nwyrcyzn06 NY     1         —                —       —
Verizony                                                    Invoice Number Account Number         Date Due Page
                                                            3513543757      988876917-00001 Past Due         11 of 24



Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
                                                                                                        Airtlme   LongDist/
Date    Time     Numb«-             Rate     Usage Type       Origination    Destination     Min,      Charges    Otfier Chgs   Total

12/31   6:47P    718-384-2666     Off-Peak N&W                Brookiyn NY    Incoming CL      2         —                —        —




12/31   7:UP     718-782-7731     Off-Peak N&W                Brod<iyn NY    Incoming CL      2         —
                                                                                                                         —        —




12/31   7:27P    347-988-4904     Off-Peak NSW                Brookiyn NY    Incoming CL      2         —                —        —




12/31   7:28P    718-782-3261     Off-Peak   \SW.CallWait     Brookiyn NY    irtcoming CL     1         —
                                                                                                                         —        —




12/31   7:29P    718-384-2666     Off-Paak N&W                Brookiyn NY    incoming CL     3          —                —        —




12/31   7:32P    718-243-2091     Off-Peak   N&W,CallWait     Brooklyn NV    incoming CL      2         —                —        —




12/31   7.56P    000-000-0086     Off-Peak   N&W,CallVM       Brookiyn NY    Voice Mail CL    2         —                —        —




12Q1    8:0SP    000-000-0086     Off-Peak   N&W,CallVM       Brookiyn NY    Voice Mail CL    1         ~
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12/31   a:10P    718-384-2656     Off-Peak N&W                Brookiyn NY    incoming CL      2         ~                —        —




12/31   8:39P    84S-662-331S     Off-Peak N&W                Brooklyn NY    Incoming CL .    I'--/;                     —        —




12/31   8:43P    845-662-3315     Off-Peak N&W                Brooklyn NY    Monroe NY        1         —                —        —




12/31   8:44P    718-689-1100     Off-Peak N&W                Brooklyn NY    NwyrcyailS NY   10         ~
                                                                                                                         —        —




12/31   8:48P    917-935-8463     Off-Peak   N&W.CallWait     Brooklyn NY    incoming CL     3          —                —
                                                                                                                                  —




12/31   8:51P    718-384-2666   . ,Off-Peak N&W,CallWaJt      Brooklyn NY    Incoming CL     3          —                —
                                                                                                                                  —




12/31   8:54P    718-689-1100     Ofl-Peak N&W                Brooklyn NY    NwyrcyzniS NY    4         —                —
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12/31   8:57P    845-662-3315     Off-Peak   N&W,CaliWait     BrotfOyn NV    incoming CL      1         —
                                                                                                                         —        —




12/31   8:58P    718-689-1100     Off-Peak   N&W.CallWait     Broddyn NY     NwyrcyzniS NY    1                          —        —




1/01    1:25A    718-243-2091     Off-Peak N&W                Brooklyn NY   Brooklyn NY       4,             ••
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1/01    1:59A    718-689-1100     Off-Peak N&W                Brookiyn NY    NwyrcyzniS NY   29         —                —
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1/01    5:29A    000-000-0086     Off-Peak   N&W,CallVM       Brookiyn NY   Voice Mail CL    2                           —        —




1/01    8:40A    347-731-8818     Off-Peak N&W                Brooklyn NY    New York NY      1         —
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1/01    9;35A    718-782-7731     Off-Peak N&W                Brookiyn NY   Brooklyn NY      2          —                —        —




1/01    11:19A   718-689-1100     Off-Peak NSW                Bfot^iyn NY    NwyrcyzniS NY   3          —                —        —




1/01    11:22A   845-351-3100     Off-Peak N&W                Brod<iyn NY   Tuxedo NY        17         —
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1/01    12 17P   845-513-0512     Off-Peak N&W                Brookiyn NY   incoming CL       1         —                —        —




1/01    12:58P   347-426-7463     Off-Peak N&W                Brookiyn NY    New York NY      1         —
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1/01    12:59P   347-426-7463     Off-Peak N&W                Brookiyn NY   Incoming CL      2          —
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1/01    1:10P    718-384-2666     Off-Peak N&W                Brooklyn NY   incoming CL      3          —                —        —




1/01    1 23P    347-426-7463     Off-Peak N&W                Brooklyn NY   incoming CL      3          —                —        —




1/01    2:19P    917-935-8463     Off-Peak N&W                Brookiyn NY   Incoming CL       3"        __

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1/01    2:50P    917-935-8463     Off-Peak N&W                Brooklyn NY    NwyrcyaiOS NY    2         —
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1/01    2:52P    347-426-7463     OffJ-eak N&W                Brooklyn NY   Incoming CL       1         —
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1/01    3:52P    718-689-1100     Off-Peak N&W                Brooklyn NY    NwyrcyzniS NY   25         —                —        —




1/01    4:31P    718-782-7731     Off-Peak N&W                Brooklyn NY   Brooklyn NY       2         ~
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1,^1    4:46P    718-599-5555     Off-Peak   N&W              Brooklyn NY   Brooklyn NY       1                          —        —




1/01    4:47P    718-387-7777     Off-Peak   N&W              Brookiyn NY   Brooklyn NY       1         -
                                                                                                                         —        —




1/01    4:48P    718-782-7878     Ofl-Peak N&W                Brooklyn NY   Brooklyn NY       1                          —        —




1/01    4:51P    718-782-3261     Off-Peak N&W                Brooklyn NY   incoming CL      8          .
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lAOl    5;01P    718-388-2828     Off-Peak N&W                Brooklyn NY   Brooklyn NY       1         __
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1/01    5:07P    347-623-7597     Off-Peak   N&W              Brooklyn NY   Incoming CL       1         —
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1/01    5:52P    718-782-3261     Off-Peak N&W                Brooklyn NY   Brookiyn NY       1         —
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1/01    6:24P    718-689-1100     Off-Peak   N&W              Brooklyn NY    NwyrcyzniS NY   37         —                —       —




1/01    7:07P    718-599-2771     Off-Peak N&W                Brooklyn NY   Brooklyn NY      3          —                —       —




1/01    7;13P    347-452-5989     Off-Peak N&W                Brookiyn NY   Incoming CL      2          —
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1/01    7;16P    718-935-1897     Off-Peak N&W                Brocadyn NY   Brookiyn NY      7          _

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Verizon,y                                                      Invoice Number Account Number          Date Due Page

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Detail for Yehuda Herskovic; 718-387-4565

Voice, continued
                                                                                                            Alrtime   Long Dist/
Date   Time     Number          Rate      Usage Type             Origination     Destination     Min.      Ctiarges   Other Chgs   Total


1/01   7:36P    718-689-1100   Off-Peak   N&W                    Brodriyn NY     NwyrcyznIS NY   2          —                —       —




1/01   7:39P    718-689-1100   Off-Peak N&W                      Bro(S<iyn NY    NwyrcyznlS NY   14         __
                                                                                                                             —       —




1AD1   7:46P    718-384-2666   Off-Peak   N&W.CallWait           Brooklyn NY     incoming CL      8         —                —       —




1/01   7:53P    718-689-1100   Off-Peak   N&W,CallWalt           Brooklyn NY     Nwyrcyzn15 NY    1         —                —       —




1/01   7-5dP    914-902-2775   Off-Peak N&W                      Brooklyn NY     WschstznOS NY    4         —                ~       —




1/01   8:07P    347-452-5989   Off-Peak N&W                      Brooklyn NY     Brooklyn NY     2          —                —
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1/01   8:12P    929-999-1121   Off-Peak N&W                      Brooklyn NY     Incoming CL      1         ~
                                                                                                                             —       —




1/01   8:29P    888-328-6399   Off-Peak N&W                      Brooklyn NY     Toli-FreeCL      2         —                —       —




1/01   8:34P    914-902-2775   Off-Peak NSW                      Brod<lyn NY     WschstznOS NY    4         —
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1/01   9:28P    718-344-5036   Off-Peak N&W                      BrocWyn NY      Brooklyn NY      1         ~
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1/01   9:30P    718-782-7731   Off-Peak N&W                      Brooklyn NY     Incoming CL     24         —                —       —




1/01   9:53P    718-344-5038   Off-Peak   N&W.CallWalt           Brooklyn NY     Incoming CL      4         —                —




1/01   10:04P   845-783-4352   Off-Peak N&W                      Brooklyn NY     Incoming CL     15         —
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1/01   10:26P   845-783-4352   Off-Peak N&W                      Brortrlyn NY    Incoming CL      3         —                —
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1/01   11:34P   718-689-1100   Off-Peak N&W                      Brooklyn NY     NwyrcyznIS NY   69         —
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1/02   12:S3A   718-689-1100   Off-Peak N&W                      Brooklyn NY     NwyrcyznIS NY   18                          —
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1/02   11:28A   347-623-7597    Peak      PlanAllow              Brooklyn NY     Incoming CL      2         --
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1/02   11;30A   000-000-0086    Peak      PlanAllow.CallVM       Brod<lyn NY     Voice Mali CL    1         ~
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1/02   12:13P   718-689-1100    Peak      PlanAllow              Brooklyn NY     NwyrcyznIS NY    2         —
                                                                                                                             —       —




1/02   2:17P    800-321-5880    Peak      PlanAllow              Brooklyn NY     Toli-Free CL     1         —                —       —




1/02   2;19P    888-321-5880    Peak      PlanAllow              Brooklyn NY     Toli-Free CL    16         —
                                                                                                                             —       —




1/02   3:14P    718-387-2408    Peak      PlanAllow              Brooklyn NY     incoming CL      4         —                —       —




1/02   3:23P    718-387-2408    Peak      Plan/Vlow              Brooklyn NY     Incoming CL      1         —                —       —




1/02   3.25P    888-321-5880    Peak      PlanAllow              Brooklyn NY     Toli-FreeCL      9         ~                —       —




1/02   4:26P    718-384-2666    Peak      PlaiAllow              Brooklyn NY     Brooklyn NY      3         —                —       —




1/02   4:38P    800-308-1977    Peak      PlanAllow              Brooklyn NY     Toli-FreeCL      1         —
                                                                                                                             —       —




1A)2   4:39P    347-731-8818    Peak      PlanAllow              Brooklyn NY     New York NY      4         —
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1/02   4.42P    800-731-4553    Peak      PlanAllow              Brooklyn NY     Toli-Free CL     2         —
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1/02   4:44P    800-731-4553    Peak      PlanAllow              Brooklyn NY     Toil-Free CL     1         —
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1/02   5:01P    718-387-2574    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      2         —
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1/02   5:03P    845-651-4450    Peak      PlanAllow              Brooklyn NY     Florida NY       2          —
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1/02   S;04P    718-342-5564    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      2          __              —
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1/02   5:07P    914-261-5153    Peak      M2MAII0W               Brooklyn NY     Wh Plains NY     2         ~
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1/02   5:09P    718-384-3230    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      2                          —       —




1/02   5:33P    914-902-2775    Peak      PlanAllow              Brooklyn NY     WschstznOS NY    1          —
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1/02   5:37P    718-855-7618    Peak      PlanAllow              Brooklyn NY     Incoming CL     16          —
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1/02   5:54P    718-855-7618    Peak      PlanAllow              Brooklyn NY     Brooklyn NY     13          —
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1/02   6:06P    000-000-0086    Peak      PlanAllow.CayVM        Brooklyn NY     Voice Mail CL    2          —               ~       —




1/02   6:08P    718-344-5036    Peak      M2MAII0W               Brooklyn NY     Brooklyn NY      1          —               —
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1/02   6:12P    718-782-7731    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      7          —
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1/02   6:27P    718-689-1100    Peak      PlanAllow              Brooklyn NY     NwyrcyznIS NY   14          —               —       —




1/02   6:39P    347-357-4031    Peak      M2MAIIow,Ca[IWait      Brooklyn NY     Incoming CL      2         —                —       —




1A)2   6:41P    347-357-4031    Peak      M2MAIiow               Brooklyn NY     incoming CL      1          —               —
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1/02   6:42P    347-357-4031    Peak      M2MAII0W               Brooklyn NY     Incoming CL     27          —
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1/02   7.07P    718-810-0893    Pe^       PlanAllow.CallWait     Broc^lyn NY     Incoming CL      4          —
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Verizon,y                                                      Invoice Number Account Number          Date Due Page

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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
                                                                                                            Airtime   Long Dist/
Date   Time     Number          Rate      Usage Type             Origination    Destination      Min.      Charges    Other Chgs   Total


1A)2   7:12P    718-855-7618    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      10         —
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1/02   7:21P    914-261-5153    Pe^       II/12MAII0W            Brooklyn NY    Wh Plains NY      2                          —       —




1^2    7:23P    718-689-1100    Peak      PlanAllow              Brooklyn NY    Nwyrcyzn 15 NY   12         —                —
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1/02   7:34P    718-782-3261    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      6          —               ~        —




1/02   7:39P    718-387-0553    Peak      PlanAllow,CallWait     Brooklyn NY    Incoming CL      8          —
                                                                                                                             —       —




1/02   8:01P    914-261-5153    Peak      M2MAII0W               Brooklyn NY    Wh Plains NY      1         —                —       —




1/02   8:02P    718-384-3230    Peak      PlanAllow              Brooklyn NY    Brooklyn NY       1         _
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1^2    8:03P    718-732-7731    Peak      PlanAllow              Brooklyn NY    Srorklyn NY       t         —                —
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1/02   8:30P    718-782-7731    Peak      PlanAllow              Brooklyn NY    Incoming CL      17         __

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1/02   9:01P    718-384-3230   Off-Peak N&W                      Brooklyn NY    Incoming CL      10         __

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1/02   9:10P    718-852-1213   Off-Peak   N&W.CailWat            Brooklyn NY    Incoming CL       3         —
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1/02   9:53P    845-662-3315   Off-Peak N&W                      Brooklyn NY    Incoming CL       3         ~
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1A)2   9 S7P    929-251-6134   Off-Peak N&W                      Brooklyn NY    Incoming CL       1         —                —       —




1/02   10:O0P   718-782-2306   Off-Peak N&W                      Brooklyn NY    Incoming CL       1         ~
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1/02   10:07P   718-782-7731   Off-Peak N&W                      Brooklyn NY    Incoming CL       1         —                —       —




1/02   10:18P   718-782-7731   Off-Peak N&W                      Brooklyn NY    Brooklyn NY       1         —                —       —




1/02   10:35P   718-782-2306   Ofl-Peak N&W                      Brooklyn NY    Incoming CL       2         —                —       —




1/02   11;08P   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyznIS NY    56         ~
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1/03   12:04A   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcymiS NY     119        —                —       —




1/03   1D:26A   800-731-4553    Peak      PlanAllow              Brooklyn NY    Toil-Free CL      1         —
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1/03   10:27A   800-731-4553    Peak      PlanAllow              Brooklyn NY    Toil-Free CL      5         —                —
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1/03   10.34A   718-387-2408    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      10         —
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1/03   10:43A   718-387-2408    Peak      PlanAllow              Brooklyn NY    Brooklyn NY       7         —
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1/03   12:26P   000-000-0086    Peak      PlanAllow,CallVM       Brooklyn NY    Voice Wlaii CL    1         ~
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1/03   12.34P   347-623-7597    Peak      PlanAllow              Brooklyn NY    New York NY       1         —
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1/03   12:56P   845-622-3315    Peak      PlanAllow              Brooklyn NY    Croton FIs NY     2         —
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1/03   12:58P   845-662-3315     Peak     PlanAllow              Brooklyn NY    Monroe NY        11         —
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1/03   1.09P    845-662-3315    Pe^       PlanAllow              Brooklyn NY    Incoming CL      27         —                —       —




1/03   2:29P    917-935-8463     Peak     PlanAllow              Brooklyn NY    incoming CL       3         —                —       —




1/03   4;30P    914-902-2775     Peak     PlanAllow              Brooklyn NY    WschstznOS NY     5         —                —
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1/03   4:34P    718-782-7731     Peak     PlanAllow,CaliWait     Brooklyn NY    Incoming CL       3         —                —
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1/03   4:38P    914-902-2775     Peak     PlanAllow              Brooklyn NY    WschstznOS NY     S                          —       —




1/03   4:52P    888-328-6399     Peak     PlanAllow              Brooklyn NY    Toll-Free CL      1         —                —
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1/03   4:53P    888-328-6399     Peak     PlanAllow              Brooklyn NY    Toll-Free CL      1         —
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1/03   5:09P    718-388-1254     Peak     PlanAllow              Brooklyn NY    Incoming CL      15         —
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1/03   5;26P    718-855-7618     Peak     PlanAllow              Brooklyn NY    Brooklyn NY      34         __

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1/03   5:28P    718-388-1254     Peak     PlanAllow,CallWait     Brooklyn NY    Incoming CL       1         —
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1/03   5:31P    718-782-7731     Peak     P!anAllow,CallWait     Brooklyn NY    Incoming CL       1         —                —       —




1/03   5:46P    718-802-5936     Peak     PlanAllow,CallWait     Brooklyn NY    Incoming CL       3         —                —       —




1/03   6:51P    845-774-2413     Peak     PlanAllow              Brooklyn NY    Incoming CL       1         __

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1/03   6;53P    718-387-7777    Pe^       PlanAllow              Brooklyn NY    Brooklyn NY       2         —                —       —




1/03   6:55P    718-388-2828     Peak     PlanAllow              Brooklyn NY    Brooklyn NY       1         —                —
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1/03   7:52P    718-782-7731    Peak      PlanAllow              Brooklyn NY    Incoming CL       2         —                —       —




1/03   8;02P    718-855-7618    Pe^       PlanAllow              Brooklyn NY    Incoming CL       3         —                —       —




1/03   8:22P    718-762-7731    Peak      PlanAlow               Brooklyn NY    Incoming CL       1         —
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verizon                                                        Invoice Number Account Number         Date Due Page

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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
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Date   Time     Number          Rate      Usage Type             Origination    Destination     Min.      Ctiarges   Other Chgs   Total

1/03   8 24P    000-000-0086    Peak      PlanAllow.CallViVI     Brooklyn NY    Voice Mall CL    3                          —
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1/03   fi:26P   000-000-0086    Peak      PlanAIIow.CallVM       Brooklyn NY    Voice Mall CL    2          —
                                                                                                                            —       —




1/03   8:28P    914-261-5153    Peak      M2MAII0W               Brooklyn NY    Wh Plains NY     2          —               —       —




1/03   8:35P    Unavailable     Peak      PlanAllow              Brooklyn NY    Incoming CL      1          —               —       —




1/03   8:53P    718-689-1100    Peak      Plan Allow             Brooklyn NY    NwyrcyzniS NY   15         ~                —       —




1/03   8:59P    718-855-7618    Peak      PlanAllow,CallWait     Brooklyn NY    Incoming CL     9           —               —
                                                                                                                                    —




1«3    9:09P    718-689-1100   Oil-Peak N&W                      Brooklyn NY    NwyrcyzniS NY   19          —               —       —




1/03   9;24P    718-855-7618   Off-Peak N&W,CallWait             Brooklyn NY    Incoming CL      3          —               —       —




1/03   9:28P    718-855-7618   Off-peak N&W                      Brooklyn NY    Brooklyn NY      3          —
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1/03   9:31P    718-963-4080   Off-Peak N&W                      Brooklyn NY    Brooklyn NY      2          —               —
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1/03   9:43P    000-000-0086   Off-Peak   N&W,CallVM             Brooklyn NY    Voice Mail CL    4          —               —
                                                                                                                                    —




1/03   9:45P    718-810-0893   Off-Peak   N&W.CallWait           Brooklyn NY    Incoming CL     7          ~
                                                                                                                            —       —




1/03   9:53P    718-810-0893   Off-Peak N&W                      Brooklyn NY    incoming CL     9           —               —       —




1/03   11:16P   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyzniS NY   16          —               —       —




1/03   11:47P   718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyzniS NY   62          —
                                                                                                                            —       —




1/04   4:ISA    718-689-1100   Off-Peak N&W                      Brooklyn NY    NwyrcyzniS NY   16          __
                                                                                                                            —       —




1/04   12:20P   888-237-8289    Peak      PlanAllow              Brooklyn NY    Toil-Free CL    15          —               —
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1/04   12:35P   000-000-0086    Peak      PlanAllow,CallVI/1     Brooklyn NY    Voice Mall CL    1          —
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1/04   12:37P   718-344-5036    Peak      M2IVIAII0W             Brooklyn NY    Brooklyn NY      1          —
                                                                                                                            —       —




1/04   12;44P   718-344-5036    Peak      M2MAII0W               Brooklyn NY    Incoining CL     3          —               —       —




1/04   1:18P    800-203-5117    Peak      PlanAllow              Brooklyn NY    Toil-Free CL     1          —               —
                                                                                                                                    —




1/04   1:18P    347-370-2556    Peak      Plan/Vlow              Brooklyn NY    Nwyrcyzn07 NY    3          —
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1/04   1:27P    212-839-6335    Peak      Plan/Vlow              Brooklyn NY    New York NY     2           —
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1/04   1:29P    718-810-0893    Peak      PlanAllow              Brooklyn NY    New York NY      1          —
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1/04   1;29P    718-810-0893    Peak      PlanAllow              Brooklyn NY    New York NY      1          —               —
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1/04   1:29P    718-810-0893    Peak      PlanAllow              Brooklyn NY    New York NY      2          —
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1/D4   1:47P    212-839-6335    Peak      PlanAllow              Brooklyn NY    New York NY      2          —               —       —




1/04   2:10P    212-839-6335    Peak      PlanAllow              Brooklyn NY    New York NY      1          —               —
                                                                                                                                    __




1/04   2-20P    347_789_S367    Peak      PlanAllow              Brooklyn NY    Nwyrcyznoe NY    1          —               —
                                                                                                                                    —




1/04   2:22P    718-387-2437    Peak      Plan/Ulow              Brooklyn NY    Incoming CL      1          —               —       —




1/04   2:23P    718-387-2437    Peak      PlanAllow              Brooklyn NY    Incoming CL      1          —               —       —




1/04   4;25P    914-261-5153    Peak      M2II/IAII0W            Brooklyn NY    Wh Plains NY    5           —               —       —




1/04   4:30P    718-782-3261    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      4          —               —
                                                                                                                                    —




1/04   4:34P    718-782-7731    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      1          __

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1/04   4:35P    718-243-2091    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      2          —
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1/04   4:37P    914-261-5153    Peak      M2MAII0W               Brooklyn NY    Wh Plains NY     1          —               —       —




1/04   4.38P    914-261-5153    Peak      M2fi1Allow             Brooklyn NY    Wh Plains NY     1          —
                                                                                                                            —       —




1/04   4:39P    914-261-5153    Peak      M2MAI[ow               Brooklyn NY    Wh Plains NY     2          —               —       —




1/04   4:41P    718-522-3332    Peak      PlanAllow              Brooklyn NY    Brooklyn NY      1          —
                                                                                                                            —       —




1/04   4:44P    914-902-2775    Peak      PlanAllow              Brooklyn NY    WschslznOS NY    1         ~
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1/04   4;46P    347-643-5805    Peak      PlanAllow              Brooklyn NY    NwyrcyznOe NY   5           —               —       —




1/04   4:53P    718-782-7731    Peak      PlanAllow              Brooklyn NY    Incoming CL     9           —               —       —




1/04   5:01P    718-344-5036    Peak      M2MAI10W               Brooklyn NY    Brooklyn NY      2          —               —       —




1/04   5:04P    845-783-5607    Peak      PlanAllow              Brooklyn NY    Mwroe NY         1          —               —       —




1/04   5:G5P    000-000-0086    Peak      PlanAIIow.CallVM       Brooklyn NY    Voice Mail CL    2                          —
                                                                                                                                    —
Verizon                                                        Invoice Number Account Number          Date Due Page

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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
                                                                                                            Airtime   Long Dist/
Date   Time     Number          Rate      Usage Type             Origination     Destination     Min,      Charges    Other Chgs   Total

1/04   5:07P    800-274-5282    Peak      PlanAilow              Brooklyn NT     Toli-Free CL    9          —                —       —




1/04   6:29P    718-388-1254    Peak      PlanAllow              Brooklyn NY     incoming CL      1         —                —       —




1/04   6;30P    845-774-0812    Peak      PlanAilow              Brooklyn NY     Incoming CL     4          —
                                                                                                                             —
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t/04   6:36P    718-810-0893    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          —               —
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1/04   6:39P    718-522-3332    Peak      PlanAllow              Brooklyn NY     Incoming CL      1         ~                —       —




1/04   5:44P    000-000-0086    Peak      PlanAllow.CallVM       Brooklyn NY     Voice Mail CL    2         —                —
                                                                                                                                       -




1/C4   6:47P    646-758-8354    Peak      PlanAllow              Brort<lyn NY    New Ywk NY       1          —               —
                                                                                                                                     _




1/C4   6;49P    888-328-6399    Peak      PlanAllow              Brooklyn NY     Toll-Free CL     1         __
                                                                                                                             —
                                                                                                                                     —




1/04   6:49P    888-328-6399    Peak      PlanAllow              Brooklyn NY     Toll-Free CL     1          —               —




1/04   6:5SP    718-388-1254    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      1         —
                                                                                                                             —       —




1/04   7:04P    347-889-0559    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          —
                                                                                                                             —
                                                                                                                                     —




1/04   7,23P    718-782-3261    Pe^       PlanAllow              Brooklyn NY     Incoming CL      2          —               —       —




1/04   7:30P    718-963-4080    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          —               —       —




1/04   7:31P    914-261-5153    Peak      M2MAII0W               Brooklyn NY     Wh Plains NY     2         —                —       —




1/04   7:51P    845-774-0812    Peak      PlanAllow              Brodtlyn NY     Monroe NY        1         —                —       —




1/04   8:0SP    718-622-2695    Peak      PlanAllow              Brorttlyn NY    Incoming CL      1          —               —       —




1/04   g:14P    718-963-4080    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          —               —       —




1/04   8:17P    718-782-3261    Peak      PlanAllow              Brooklyn NY     incoming CL     5          —                —       —




1/04   8;21P    718-388-5688    Peak      PlanAllow.CallWait     Brodtlyn NY     Incoming CL     9           —               —
                                                                                                                                     —




1/04   8;22P    718-782-3261    Peak      PlanAllow,CallWalt     Brooklyn NY     incoming CL      1          —               —       —




1/04   8:33P    718-344-5036    Peak      M2MAII0W               Brooklyn NY     Incoming CL      2          —               —       —




1/04   8:59P    718-853-0803    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          __
                                                                                                                                     —




1/04   9:14P    718-344-5036   OH-Peak N&W                       Brodolyn NY     Incoming CL      2          —               —       —




1/04   9.28P    718-782-7731   Off-Peak N&W                      Brooklyn NY     Incoming CL     11          —               —       —




1/04   9.54P    718-689-1100   Off-Peak N&W                      Brooklyn NY     NwyrcyznIS NY    3          —               —       —




1/04   9:57P    718-384-2666   Off-Peak N&W                      Brooklyn NY     Brooklyn NY      1          —               —       —




1/04   9:57P    718-384-2666   Off-Peak N&W                      Brodolyn NY     Brooklyn NY      6          —               —
                                                                                                                                     __




1/04   1003P    347-743-9270   Off-Peak   N&W,CallWait           Brooklyn NY     Incoming CL     2           —               —       —




1/04   10:07P   347-743-9270   Off-Peak N&W                      Brooklyn NY     Incoming CL      1          —               —       —




1/04   11:30P   347-432-4119   Off-Peak N&W                      Brooklyn NY     Incoming CL      4          —               —
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1/05   1:28A    718-689-1100   Off-Peak N&W                      Brooklyn NY     Nwyrcy2n15 NY   48          —
                                                                                                                             ~       —




1AD5   10:18A   917-903-7216    Peak      M2MAII0W               Brooklyn NY     New York NY      3          —
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1/05   10:27A   718-388-8813    Peak      PlanAllow              Brooklyn NY     Brooklyn NY      4          —               —       —




1/05   10:36A   888-237-8289    Peak      PlanAllow              Brooklyn NY     Toil-Free CL     5          —               —       —




1/OS   10 47A   347-731-8818    Peak      PlanAllow              Brooklyn NY     New York NY      3          —               —       —




1A55   10-50A   877-227-3728    Peak      PlanAllow              Brooklyn NY     ToH-Free CL     31          —               —
                                                                                                                                     —




1/05   12.00P   718-302-1014    Peak      PlanAllow              Brooklyn NY     Incoming CL      1          —               —       —




1/05   1:06P    718-344-5036    Peak      M2MAII0W               Brooklyn NY     Brooklyn NY      1          —               —       —




1/05   1:07P    000-000-0086    Peak      PlanAllow.CallVM       Brooklyn NY     Voice Mail CL    2          —               —
                                                                                                                                     —




1/05   t:09P    718-812-8257    Peak      M2MAII0W               Brookl^ NY      New York NY      8                          —       —




1/05   1;17P    718-810-0893    Peak      PlanAllow              Brooklyn NY     New York NY      1          —
                                                                                                                             —       —




1A)5   1:17P    718-810-0893    Peak      PlanAllow              Brooklyn NY     New York NY      1          —               —
                                                                                                                                     __




1/05   1:18P    718-810-0893    Peak      PlanAllow              Brooklyn NY     New York NY     7           —                       —




1/05   5:06P    718-689-1100    Peak      PlanAllow              Brooklyn NY     NwyrcyznIS NY    8          —
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1A)S   S;13P    718-384-2666    Peak      PlanAllow.CallWait     Brooklyn NY     Incoming CL      2          —
                                                                                                                             —       —
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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
                                                                                                           Airtime   Long Dist/
Date   Time      Number          Hate   Usage Type             Origination     Destination      Min.       Charges   Other Chgs   Total

1/05   5:16P     914-902-2775    Peak   PlanAilow              Brooklyn NY     Ws^stznOS NY      3          —
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1/05   5:22P     914-902-2775    Peak   PlanAllow              Brooklyn NY     WschstznOS NY                —               —
                                                                                                                                    —




1/05   5;23P     888-328-6399    Peak   PlanAilow              Brooklyn NY     Toil-Free CL                 —
                                                                                                                            —       —




1/05   5:24P     718-782-3261    Peak   PlanAllow              Brooklyn NV     Brooklyn NY                  ~               —       —




1/05   529P      718-384-2666    Peak   PlanAilow              Brooklyn NY     Brooklyn NY                  —
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                                                                                                                                    —




1/05   5:39P     718-782-3251    Peak   PlanAllow              Brooklyn NY     Incoming CL                  —               —       —




1/05   6:nP      347-432-4119    Peak   PlanAllow              Brooklyn NY     Incoming CL                  —
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1/05   6.11P     347-432-4119    Peak   PlanAllow              Brooklyn NY     New York NY                  —
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1/05   6:12P     347-432-4119    Peak   PlanAllow              Brooklyn NY     Incoming CL                                  ~       —




1/05   6:13P     718-782-3261    Peak   PlanAllow              Brooklyn,NY:    Brooklyn NY                                  ~       —




1/05   6:16P     347-432-4119    Peak   PlanAllow              Brooklyn NY     New Yfflk NY            ,    —               —
                                                                                                                                    —




1/05   6:19P     000-000-0086    Peak   PlanAllow,CailVM       Brooklyn NY     Voice Mail CL                ~               —
                                                                                                                                    —




1/05   6:37P     718-782-3261    Peak   PlanAllow              Brooklyn NY     Incoming CL                  —
                                                                                                                            ~
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1/05   6;39P     000-000-0086    Peak   PlanAllow,CallVM       Brooklyn NY     Voice Mail CL     3          __
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1/05   5:41P     000-000-0085    Peak   PlanAllow.CailVM       Brooklyn NY     Voice Mail CL                —
                                                                                                                                    —




1/05   6:52P     718-782-3261    Peak   PlanAllow              Brooklyn NY     Brooklyn NY      10          —
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1/05   7:02P     718-782-3261    Peak   PlanAllow              Brooklyn NY     Biooklyn NY                  —
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1/05   7;05P     000-000-0086    Peak   PlanAllow.CailVM       Brooklyn NY     Voice Mail CL                                        —




1/05   7:09P     718-782-3261    Peak   PlanAllow              Brooklyn NY     Brooklyn NY                  —               ~       ~




1/05   7.13P     914-261-5153    Peak   M2MAII0W               Brooklyn NY     Wh Plains NY                 —
                                                                                                                            —
                                                                                                                                   ~




1/05   7:16P     914-261-5153    Peak   M2MAII0W               Brorklyn NY     Wh Plans NY                  —               —       —




1/05   8:10P     914-261-5153    Peak   M2MAII0W               Brooklyn NY     Wh Plains NY                                         —




1/05   8;15P     718-689-1100    Peak   PlanAllow              Brooklyn NY     NwyrcyznlS NY    134         ~
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1/05   10:32P    514-495-0020   Off-Peak N&W                   Brooklyn NY     Montreal QC                  —               .49    ,49

1/D5   10:38P    914-902-2775   Off-Peak N&W                   Brooklyn NY     WschstznOS NY                —               —
                                                                                                                                    —




1/05   10-.41P   914-902-2775   Off-Peak N&W                   Brooklyn NY     VVschstzn05 NY    3          —                       —




1/05   10:44P    718-782-3261   Off-Peak N&W                   Brooklyn NY     Brooklyn NY      31          —               —
                                                                                                                                    —




1/05   11;57P    718-689-1100   Off-Peak N&W                   Brooklyn NY     NwyrcyznlS NY    30          ~
                                                                                                                            —       —




1/06   403A      718-689-1100   Off-Peak N&W                   Brooklyn NY     Nwyrcyzn15 NY    46          —
                                                                                                                            —       —




1A)6   10;02A    888-328-6399    Peak   PlanAllow              Brooklyn NY     Totl-FreeCL       2          —
                                                                                                                            —
                                                                                                                                    —




1A56   10:05A    914-902-2775    Peak   PlanAllow              Brooklyn NY     WschstznOS NY     2          —               —       —




1^6    10:40A    646-726-9929    Peak   PlanAllow              Brooklyn NY     New York NY                  —
                                                                                                                            —
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1/05   10:44A    646-726-9929    Peak   PlanAllow              Brooklyn NY     New York NY      26          —
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1/05   10:50A    718-388-5688    Peak   PlanAllow,CaiiWait     Brooklyn NY     lii.noniing CL    2          —               —
                                                                                                                                    —




1/06   11:08A    718-387-2437    Peak   PlanAllow,CaliWait     Brooklyn NY     Incoming CL       2          —               —
                                                                                                                                    —




1/06   11:10A    646-726-9929    Peak   PianAllow.CaiiWait     Brooklyn NY     New York NY       8          —               —       —




1/06   11:18A    718-388-5688    Peak   PlanAllow              Brooklyn NY     Brooklyn NY       7          __

                                                                                                                            —       —




1/06   11:25A    718-384-3230    Pe^    PlanAllow              Brooklyn NY     Brooklyn NY                  —               —       —




1/06   11:31A    718-384-3230    Peak   PlanAllow              Brooklyn NY     Brooklyn NY                  —
                                                                                                                            —       —




1/06   11:34A    914.261-5153    Peak   !/12MAIIow             Brooklyn NY     Wh Plains NY      2                          —
                                                                                                                                    —




1/06   11:37A    914-902-2775    Peak   PlanAllow              Brooklyn NY     WschstznOS NY                —               —
                                                                                                                                    —




1/06   11;54A    718-599-4747    Peak   PlanAllow              Brooklyn NY     Incoming CL                  —               —       ~




1/06   12:17P    347-988-4904    Peak   M2MAII0W               Brooklyn NY     Nwyrcyzno? NY                —
                                                                                                                            —
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1/06   12:39P    201-926-1770    Peak   M2MAIiow               Brooklyn NY     Incoming CL                  __
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1/06   12:47P    518-606-3480    Peak   PlanAllow              Brooklyn NY     Incoming CL                  —
                                                                                                                            —       —
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Detail for Yehuda Herskovic: 718-387-4565

Voice, continued
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Date     Time     Number          Rate   Usage Type     Origination    Destination           Min.          Charges    Other Chgs   Total

1/C6     1:07P    718-782-3261    Peak   PianAllow      Brooklyn NY    Brooklyn NY            2                              _

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1/06     1:16P    718-599-4824    Peak   PlanAllow      Brooklyn NY    Bro(Myn NY             2             —
                                                                                                                                     —




1A]6     1;18P    718-599-4872    Peak   PlanAUow       Brooklyn NY    BrotWyn NY             2             —                —       —




1A)6     1:20P    718-782-7044    Peak   PlanAllow      Brooklyn NY    Brod<lyri NY           3             _

                                                                                                                                     —




1A)6     1 24P    718-782-7044    Peak   PlanAllow      Brooklyn NY    incoming CL            1             —                        —




1A]6     2:59P    718-689-1100    Peak   PlanAllow      Brooklyn NY    NwyrcyznlS NY         92             —                —
                                                                                                                                     —




1/07     6;18P    914-902-2775   Off-Peak N&W           Brooklyn NY    WscfistznOS NY         2             —
                                                                                                                                     —




1/07     6;42P    718-243-2091   Oft-Peak N&W           Brooklyn NY    incoming CL           10             _

                                                                                                                                     —




1/D7 •   7:18P    347-546-9596   Olf-Peak N&W           Brooklyn NY    Nwyrcyzn06 NY          1             —

                                                                                                                                    ~




1/07     7:24P    718-782-3261   Off-Peak N&W           Brooklyn.NY    incoming CL;.,' , ,    2       ,.                             —




1/07     7:31P    914-902-2775   Off-Peak N&W           Brooklyn NY    WschstznOS NY          2             —                —
                                                                                                                                     —




1/07     7:41P    347-546-9596   Off-Peak N&W           Brooklyn NY    NwyrcyznOe NY          1             —                        —




1/07     8:19P    718-689-1100   Off-Peak N&W           Brooklyn NY    NwyrcyznlS NY         32             __

                                                                                                                                     —




1/07     8:S0P    718-689-1100   Off-Peak N&W           Brooklyn NY    NwyrcyznlS NY         68             —
                                                                                                                                     —




1/07     9:59P    718-689-1100   Off-Peak N&W           Brooklyn NY    NwyrcyznlS NY          3                              —       __




1/07     10;11P   347-546-9596   Off-Peak N&W           Brooklyn NY    Incoming CL           5              __

                                                                                                                                     —




1/07     10:17P   718-689-1100   Off-Peak N&W           Brooklyn NY    NwyrcyznlS NY         6              __

                                                                                                                                     —




1A)7     10:25P   718-782-3261   Off-Peak N&W           Brooklyn NY    Brooklyn NY           15                                      —




1/07     10;SOP   718-689-1100   Off-peak N&W           Brooklyn NY    NwyrcyznlS NY         20                              __
                                                                                                                                     —
venzon                                                            Invoice Number Account Number                Date Due Page

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Summary for Yehuda Herskovic: 718-675-6897


Your Plan                                           Monthly Charges
                                                    Wireless Home Phone Unlimited Refund                             12/21 -01/07               -11.61
Plan from 12/8-12/20                                  $20.00 per month /18 days refunded
Wireless Home Phone Unlimited                                                                                                                  -$11.61
$20.00 monthly charge
Unlimited monthly minutes
                                                    Usage and Purchase Charges
Plan from 12/8-12/21                                Voice                                           Allowance      Used         Blllable       Cost
PAYU MB With EVDO                                   Calling Plan (12/08 - 12/20)         minutes unlimited         660            —              —




$1.99 per megabyte                                  Mobile to Mobile                     minutes unlimited          18            —              —




                                                    (12/08 - 12/20)
M2M National Unlimited                              Night/Weekend                        minutes    unlimited      943            —
                                                                                                                                                 —




Unlimited monthly Mobile to Mobile                  Total Voice                                                                                   $.00

                                                    Total Usage and Purchase Charges                                                              $.00
UNL Night & Weekend Min
Unlimited monthly OFFPEAK
                                                    Surcharges
                                                    Fed Universal Service Charge                                                                 -.52
                                                    Gross Receipts Surchg                                                                        -.72

                                                                                                                                               -$1.24
                                                    Taxes, Governmental Surcharges and Fees
                                                    NY State Sales Tax-Telecom                                                                    -.51

                                                    New York City Sales Tax-Teieco                                                               -.58

                                                    NY McTd Sales Tax-Telecom                                                                    -.05
                                                                                                                                               -$1.14


                                                    Total Current Charges for 718-675-6897                                                     -$13.99




Detail for Yehuda Herskovic: 718-675-6897

Voice
                                                                                                                     Alrtime      Long DIst/
Date    Time    Number          Rale   (JsageType                   Origination     Destination          Min.       Charges       Other Chgs      Totai

12/09   3:25A   718-689-1100   OH-Peak N&W                          Brooklyn NY     NwyrcyznIS NY         28         __

                                                                                                                                                      —




12/09   4;26A   908-202-4962   On-Peak N&W                          Brooklyn NY     Newbrnswck NJ         1          —
                                                                                                                                                      —




12/09   4.32A   347-731-8818   Off-Peak N&W                         Brooklyn NY     New York NY            1         —                                —




12/09   4:41A   800-742-5877   Off-Peak N&W                         Brooklyn NY     Toli-Free CL          1          —                     —
                                                                                                                                                      —




12/09   4:43A   800-742-5877   OH-Pe^f N&W                          Brooklyn NY     Toli-Free CL          2          —                                —




12/09   4:44A   800-742-5877   Off-Peak N&W                         Brooklyn NY     Toil-Free CL          2                                _

                                                                                                                                                      —




12/09   4.46A   800-742-5877   Off-Peak N&W                         Brooklyn NY     Tell-Free CL          2          __

                                                                                                                                                      —




12/09   4:58A   800-238-5355   Off-Pe^ N&W                          Brooklyn NY     Toli-Free CL          11              ■
                                                                                                                                                      —




12/09   5:16A   718-210-5572   OH-Peak N&W                          Brooklyn NY     Brooklyn NY            1         —                     —          —




12/09   9;24A   718-689-1100    Peak   Plan Allow                   Brooklyn NY     NwyrcyznIS NY         1                                _

                                                                                                                                                      —




12/09   9:29A   718-906-6466    Peak   PlanAllow                    Brooklyn NY     Queens NY             g          __
                                                                                                                                                      —




12/09   9:3eA   718-963-3134    Peak   PlanAllow                    Brooklyn NY     Broc^lyn NY           2          —




12/03   9:39A   718-243-2091    Peak   PlanAllow                    Brooklyn NY     Brooklyn NY           1          —                                —
Verizonx/                                                    Invoice Number Account Number         Date Due Page

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Detail for Yehuda Herskovic: 718-675-6897

Voice, continued
                                                                                                         Alrlime   Long Dist/
Date    Time     Number           Rate     Usage Type           Origination   Destination     Min.      Charges    Other Chgs   Total

12/09   9:42A    718-906-6466    Peak      PlanAllow            Brooklyn NY   Queens NY       8                           —       —




12/10   10:36P   908-202-4962   Off-feak \&W                    Brooklyn NY   Newbrnswck NJ    1         —                —       —




12/10   10:39P   347-731-8818   Off-Peak \&W                    Brooklyn NY   New York NY      1          —               —
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12/10   10.50P   800-925-6278   Off-Peak N&W                    Brooklyn NY   Toil-Free CL     3         —                —       —




12/10   10-53P   800-925-6278   Off-Peak N&W                    Brooklyn NY   Toll-Free CL     1         ~                —       —




12/10   1D:54P   800-925-6278   Off-Peak N&W                    Brooklyn NY   Toll-Free CL     1         —                —       —




12/10   10:55P   800-925-6278   Off-Peak fJ&W                   Brooklyn NY   Toll-Free CL    7           —               —       —




12/10   11:02P   718-782-7731   Off-Peak f^&W                   Brooklyn NY   Brooklyn NY      2         —                —       —




12/10   11:25P   718-782-7731   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1          —               —       —




12/10   11:42P   718-384-2566   Off-Peak N&W                    Brooklyn NY   Brooklyn NY     6          —
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12/11   2:23A    888-328-6399   Off-Peak N&W                    Brooklyn NY   Toll-Free CL     1          —               —
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12/11   2.24A    888-328-6399   Off-Peak N&W                    Brooklyn NY   Toll-Free CL     1          —
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12/11   2:25A    888-328-6399   Off-Peak N&W                    Brooklyn NY   Toll-Free CL     1          —               —
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12/11   2:26A    718-689-1100   Off-Peak N&W                    Brooklyn NY   NwyrcyznlS NY   76         —                —       —




12/11   4:08A    908-202-4962   Off-Peak N&W                    Brooklyn NY   Newbrnswck NJ    1         —                —       —




12/11   8:58A    718-387-4565   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1          —
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12/11   9:48A    718-407-4151   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1          —               —       —




12/11   9;49A    718-633-1834   Off-Peak N&W                    Brooklyn NY   Brooklyn NY     6           —               —       —




12/11   9:54A    718-633-1834   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      3         —                —       —




12/11   11:40A   718-633-1834   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1          —
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12/11   1:38P    718-782-7731   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1         —
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12/11   5:41P    718-855-7618   Off-Peak N&W                    Brooklyn NY   Brooklyn NY     18         —                —
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12/11   6:07P    718-855-7618   Off-Peak NSW                    Brooklyn NY   Brooklyn NY     46          —
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12/11   6:S3P    718-384-2666   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      2          —
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12/11   7:13P    718-782-7731   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1          —
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12/11   7:14P    718-855-7618   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1         —                —
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12/11   7:19P    718-855-7618   Off-Peak NSW                    Brooklyn NY   Brooklyn NY     39         —                —       —




12/11   8.27P    718-855-7618   Off-Peak NSW                    Brooklyn NY   Brooklyn NY     24          —               —       —




12/11   902P     718-855-7618   Off-Peak N&W                    Brooklyn NY   Brooklyn NY     13          —               —       —




12/11   9:17P    718-855-7618   Off-Peak N&W                    Brooklyn NY   Brooklyn NY      1         —                —       —




12/11   11:14P   718-875-1583   Off-Peak NSW                    Brooklyn NY   Brooklyn NY      2          —               —       —




12/11   11;18P   718-782-3261   Off-Peak   NSW                  Brooklyn NY   Brooklyn NY     23          —              ~        —




12/12   12.01P   800-463-3339    Peak      PlanAllow            Brooklyn NY   Toll-Free CL    6           —               —       —




12/12   5:CSP    718-782-7731    Peak      PlanAllow            Brooklyn NY   Brooklyn NY      2          —               —
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12/12   5:07P    914-902-2775    Peak      PlanAllow            Brooklyn NY   WschstznOS NY    3          —               —       —




12/12   5:1GP    914-902-2775    Peak      PlanAllow            Brooklyn NY   WschslznOS NY    2          —               —       —




12/12   5 12P    888-328-6399    Peak      PlanAllow            Brooklyn NY   Toll-Free CL     1          —               —       —




12/12   5:42P    888-328-6399    Peak      PlanAllow            Brodtlyn NY   Toll-Free CL     2          —
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12/12   5:52P    718-935-1897    Peak      PlanAllow            Brooklyn NY   Brooklyn NY      1          —               —       —




12/12   6:09P    347-765-2439    Peak      PlanAllow            Brooklyn NY   Nwyrcyzn06 NY    1          —               —       —




12/12   6:16P    311-000-0000    Peak      PlanAllow            Brooklyn NY   Govt Info CL    25          —               —       —




12/12   7:22P    718-643-4050    Peak      PlanAllow            Brooklyn NY   Brooklyn NY      7         —                —       —




12/12   7:44P    718-782-7731    Peak      PlanAllow            Brooklyn NY   Brooklyn NY      3          —
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12/12   8:13P    718-906-6400    Peak      PlanAllow            Brooklyn NY   Queens NY       11          —
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12/12   8:37P    914-902-2775    Peak      PlanAllow            Brooklyn NY   WschstsiOS NY    4                          —
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Detail for Yehuda Herskovic: 718-675-6897

Voice, continued
                                                                                                   Alrtime   LongDist/
Date    Time     Number          Rate    Usage Type     Origination     Destination      Mln.      Charges   Other Chgs   Total

12/12   9:02P    718-782-3261   Off-Peak N&W            BrO(^lyn NY     Brooklyn NY      3          —
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12/12   9:04P    718-643-1702   Off-Peak N&W            Broc^tlyn NY    Brooklyn NY      12         —
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12/12   9:26P    718-782-7731   Off-Pe^ N&W             Brotf<lyn NY    Brook!^ NY        1         —
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12/12   9;39P    718-384-3230   Oft-Peak N8tW           Brooklyn NY     Brooklyn NY      20         —                       —




12/12   10 16P   718-384-3230   Off-Peak N&W            Broc^lyn NY     Brooklyn NY      3          ~               —
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12/12   10:43P   718-782-7731   Off-Peak N&W            Brortclyn NY    Brooklyn NY       2         —
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12/13   1:15A    718-689-1100   Off-Peak N&W            Brod<lyn NY     NwyrcyzniS NY    61         —               —
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12/13   7:55A    718-384-3230    Peak   PlanAliow       Brod<!yn NY     Incoming CL      5          —               —
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12/13   8;05A    718-689-1100    Peak   PlanAllow       Brooklyn NY     NwyrcyzniS NY    4          —
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12/13   8:30A    718-782-0747    Peak   PlanAliow       Brooklyn NY     Brooklyn NY       1         —               —       —




12/13   5:17P    718-782-7731    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       4         —
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12/13   6:10P    718-643-1702    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       1         —               —
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12/13   6:14P    914-902-2775    Peak   PlanAllow       Brooklyn NY     WscfistznOS NY    5         —               —
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12/13   6:30P    718-384-3230    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       3         —               —       —




12/13   6:35P    718-689-1100    Peak   PlanAllow       Brooklyn NY     NwyrcyzniS NY    34         —               —       —




12/13   7:17P    347-962-9089    Peak    M2MAII0W       Brooklyn NY     NwyrcyznOY NY     1         —               ~       —




12/13   7;27P    718-643-1702    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       1         —               —       —




12/13   7:45P    718-689-1100    Peak   PlanAllow       Brooklyn NY     NwyrcyzniS NY     4         ~
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12/13   11:41P   718-689-1100   Off-Peak N&W            Brooklyn NY     NwyrcyzniS NY    66         —
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12/U    10:48A   347-731-8818    Peak   PlanAllow       Brooklyn NY     New York NY       1         —
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12/14   11:20A   800-925-6278    Peak   PlanAllow       Brooklyn NY     Toll-Free CL     18         ~
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12/14   4:31P    718-243-2091    Peak   PlanAllow       Brooklyn NY     BrooYiOiyn NY    42         _

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12/14   5:12P    718-782-3261    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       1         —
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12/14   5:13P    718-782-3261    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       3         —
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12/14   5.22P    718-782-7731    Peak   PlanAllow       Brooklyn NY     Brooklyn NY      5          __
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12/14   5:39P    718-871-0249    Peak   PlanAllow       Brooklyn NY     Brooklyn NY      11         —
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12/14   5:59P    888-328-6399    Peak   PlanAllow       Brooklyn NY     Toil-Free CL      1         —
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12/14   6.00P    914-902-2775    Peak   PlanAllow       Brooklyn NY     WscfistznOS NY    3         —
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12/14   6.14P    718-643-1702    Peak   PlanAllow       Brooklyn NY     Brooklyn NY       3         —               —       —




12/14   8:04P    718-782-7731    Peak   PlanWIow        Brooklyn NY     Brooklyn NY       3         —
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12/14   8;08P    888-328-6399    Peak   PlanAllow       Brooklyn NY     Toll-Free CL      1         —
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12/14   8:09P    888-328-6399    Peak   PlanAllow       Brooklyn NY     Toll-Free CL      1         —
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12/14   839P     845-239-9429    Peak   PlanAllow       Brooklyn NY     Middletown NY     1         —               —




12/14   8:50P    845-239-9429    Peak    PlanAllow      Brooklyn NY     Incoming CL      5          —               —
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12/14   9:0SP    718-782-7731   Off-Peak N&W            Brort<lyn NY    Brooldyn NY       2         —               —       —




12/14   g:ogp    718-782-7731   Off-Peak N&W            Brocklyn NY     Brooklyn NY       1         —               —       —




12/15   12:54A   718-689-1100   Off-Peak N&W            Brooklyn NY     NwyrcyzniS NY    45         —
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12/15   12;45P   800-238-5355    Peak    PlanAllow      Brooklyn NY     Toil-Free CL      2         —               —
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12/15   12:49P   866-912-9717    Peak    PlanAllow      Brooklyn NY     Toil-Free CL      1         —               —       —




12/15   12:S0P   866-912-9717    Peak    PlanAllow      Brooklyn NY     Toll-Free CL      1         —
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12/15   12:50P   800-238-5355    Peak    PlanAllow      Brooklyn NY     Toil-Free CL      5         —               —      ~




12/15   12:55P   718-782-7731    Peak    PlanAllow      Brooklyn NY     Brooklyn NY       3         —
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12/15   4:36P    718-689-1100    Peak   PlanAllow       Brooklyn NY     NwyrcyzniS NY    23         —
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12/15   5:01P    718-689-1100    Peak   PlanAllow       Brooklyn NY     NwyrcyzniS NY     2         —               —       —




12/15   5.03P    718-782-7731    Peak    PlanAllow      Brooklyn NY     Brooklyn NY       2         __              __
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Voice, continued
                                                                                                            Alrlime   Long Dist/
Date    Time     Number          Rate    Usage Type             Origination    Destination       Min.      Charges    Other Chgs   Total

12/15   5:08P    718-689-1100    Peak    PlanAllow              Brooklyn NY    NwyrcyzilS NY      4          —
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12/15   S:12P    718-782-3261    Peak    PlanAllow              Brookl^ NY     Brooklyn NY       12         ~
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12/15   5:28P    718-782-3261    Peak    PlanAilow              Brooklyn NY    Incoming CL        1          —
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12/15   5:29P    718-782-3261    Peak    PlanAllow              Brooklyn NY    Brooklyn NY        2          —
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12/15   5:30P    718-782-3261    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1         ~
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12/15   5:32P    718-782-3251    Peak    PlanAllow              Brooklyn NY    Brooklyn NY        2                          —
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12/15   5;47P    718-599-4747    Peak    PlanAllow              Brooklyn NY    Brooklyn NY        1                                  —




12/15   5;49P    917-363-0041    Peak    PlanAllow              Brooklyn NY    New York NY        2         —
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12/15   5;23P    718-387-7777    Peak    PlanAllow              Brooklyn NY    Brooklyn NY        2         —
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12/15   6;32P    914-902-2775    Peak   PlanAllow               Brooklyn NY    WsctislznOS NY     2                          —
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12/15   6:37P    888-328-6399    Peak   PlanAllow               Brooklyn NY    Toil-Free CL       1          —
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12/15   63aP     888-328-6399    Peak   PlanAllow               Brooklyn NY    Toil-Free CL       3         _

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12/15   7:33P    718-906-6466    Peak   PlanAllow               Brooklyn NY    Queens NY         33          —
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12/15   8:46P    718-344-5036    Peak    M2MAII0W               Brooklyn NY    Brooklyn NY        3         —                —       —




12/15   8:48P    718-344-5036    Peak    M2MAI10W               Brooklyn NY    Brooklyn NY        1         ~
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12/15   8:50P    718-344-5036    Peak    M2MAII0W               Brooklyn NY    Brooklyn NY        1          —               —       —




12/15   8:50P    718-344-5036    Peak    M2MAIiow               Brooklyn NY    Incoming CL       5          ~
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12/15   9:0SP    718-243-2091   Off-Peak N&W                    Brooklyn NY    Brooklyn NY       7          —                —
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12/16   10:45A   646-726-9929    Peak    PlanAllow              Brooklyn NY    New York NY       31         —
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12/16   11:25A   347-988-4904    Peak    M2MAII0W               Brooklyn NY    Nwyrcyzn07 NY      2          —
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12/16   12:17P   718-689-1100    Peak   PlanAllow               Brooklyn NY    NwyrcyznIS NY      3         —                —       —




12/16   1:16P    347-388-4904    Peak    M2MAII0W               Brooklyn NY    Nwyrcyzn07 NY      1         —                        —




12/16   1:1^     347-988-4904    Peak    l«t2MAIIOW             Brooklyn NY    NwyrcyaiO? NY      1         —
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12/16   1:18P    718-387-2574    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1          —               —
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12/16   1 50P    347-988-4904    Peak    M2MAII0W               Brooklyn NY    Nwyrcyzn07 NY      1         —                —       —




12/16   2:S9P    718-384-2666    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1         —                        —




12/16   3:00P    718-384-2666    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1          —               —       —




12/16   3:01P    718-384-2666    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        2          —
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12/16   3:11P    201-926-1770    Peak    M2MAII0W               Brooklyn NY    Hackensad< NJ      1          —
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12/16   3:38P    718-486-8969    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1         —                —       —




12/16   3-.40P   718-218-8923    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        2          __

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12/16   3:41P    718-387-8347    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        2          __
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12/16   344P     718-388-1254    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        2          —
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12/16   3:46P    718-327-9061    Peak   PlanAllow               Brooklyn NY    Queens NY          1          —               —       —




12/16   3:47P    718-384-0616    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1          —               —
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12/16   3:48P    718-624-0888    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        1         —                —
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12/16   3:54P    718-384-9329    Peak    PlanAllow              Brooklyn NY    Brooklyn NY        1          —               —
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12/16   3:55P    718-522-5448    Peak   PlanAllow               Brooklyn NY    Brooklyn NY        2          —               —
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12/16   3:56P    718-384-0616    Peak    PlanAllow.CallWait     Brooklyn NY    Incoming CL        1          —               —
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12/17   6:25P    888-328-6399   Off-Peak NS.W                   Brooklyn NY    Toil-Free CL       3          —
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12/17   6:28P    914-902-2775   Off-Peak N&W                    Brooklyn NY    WscftstznOS NY     3          —               —
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12/17   6:48P    718-782-7731   Off-Peak N&W                    Brookl^ NY     Brooklyn NY        1         —                —
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12/17   7:13P    347-731-8818   Off-Peak N&W                    Brooklyn NY    New York NY        2         —                —       —




12/17   7:19P    347_534_8599   Off-Peak N&W                    Brooklyn NY    NwiTcyjiOe NY      1          __

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12/17   7;22P    347-534-8599   Off-Peak N&W                    Brooklyn NY    N-ZiTrcyznOe NY    1          —                       —
venzon                                                Invoice Number Account Number             Oats Due Page

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Voice, continued
                                                                                                          Airtime   Long Dist/
Date    Time     Number           Rate   Usage Type     Origination       Desfinafion      Min.           Charges   Other Chgs   Total


12/17   7:27P    347-534-8599    Off-Peak N&W           Brooklyn NV       Nwyrcyznoe NY     1              —               —       —




12/18   2:37A    718-689-1100    Off-Peak N&W           Broc^lyn NV       NwyrcyznlS NY    101             —               —
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12/18   11:11A   718-290-1580    Off-Peak N&W           Brooklyn NV       Brooklyn NY       2              —               —
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12/18   3:24P    866-593-2543    Off-Peak N&W           Brooklyn NV       Toll-free CL     26              __

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12/18   4:28P    914-902-2775    Off-Peak N&W           Brooklyn NV       WschstznOS NV     2              —               —
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12/18   4:49P    718-388-5688    Off-Peak N&W           Brooklyn NY       Brooklyn NY      9               —
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12/18   6:13P    718-384-2666    Off-Peak N&W           Brooklyn NV       Brooklyn NY       1                              —
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12/18   6:13P    718-384-2666    Off-Peak N&W           Brooklyn NY       Brooklyn NY       2              —
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12/18   6:25P    718-384-2.666   Off-Pe^ N&W            Brooklyn NY       Brooklyn NY       2              —
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12/18   6:49P    718-689-1100    Off-Peak N&W           Brooklyn. NY .   •,Nwyrcyzn15 NY    7'„   .                        —
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12/18   7:14P    718-689-1100    Off-Peak N&W           Brooklyn NY       NwyrcyznlS NY     4              —               —
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12/18   8:29P    718-782-7731    Off-Peak N&W           Brooklyn NY       Brooklyn NY       1              ~
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12/18   8:32P    718-782-7731    Off-Peak N&W           Brooklyn NY       Incoming CL       2              ~
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12/18   9:00P    718-782-7731    Off-Peak N&W           Brooklyn NY       Brooklyn NY       1              —
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12/18   9:54P    845-351-3100    Off-Peak N&W           Brooklyn NY       Tuxedo NY        20              —
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12/18   10:17P   845-351-3100    Off-Peak N&W           Brooklyn NY       Tuxedo NY        169             ~
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12/19   8:04A    845-351-3100     Peak   PtanAliow      Brooklyn NY       Tuxedo NY        28              —
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12/19   8:32A    718-689-1100     Peak   PtanAllow      Brooklyn NY       NwyrcyznlS NY     2                              —
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12/19   9:12A    908-202-4962     Peak   M2MAII0W       Brooklyn NY       Newbrnswck NJ     1              —
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12/19   11:18A   718-290-1670     Peak   Pla/iAllow     Brooklyn NY       Brooklyn NY       3              ~
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12/19   11:20A   718-782-7731     Peak   PlanAilow      Brooklyn NY       Brooklyn NY       4              —               —
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12/19   4:31P    914-902-2775     Peak   PianAllow      Brooklyn NY       WschstznOS NY    7               —               —
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12/19   4:52P    718-782-3261     Peak   PlanAilow      Brooklyn NY       Brooklyn NY      7               __

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12/19   4.59P    718-855-7618     Peak   PlanAilow      Brooklyn NY       Brooklyn NY       1              —
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12/19   4:59P    718-855-7618     Peak   PlanAilow      Brooklyn NY       Brooklyn NY      13              —
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12/19   5:12P    718-855-7618     Peak   PlanAilow      Brooklyn NY       Brooklyn NY      20              —               —       —




12/19   S:36P    888-328-6399     Peak   PlanAilow      Brooklyn NY       Toll-free CL      2              —
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12/19   6:23P    718-855-7618     Peak   PlanAilow      Brooklyn NY       Brooklyn NY       4              —               —       —




12/19   6.42P    718-782-3261     Peak   PianAllow      Brooklyn NY       Incoming CL       4                              —       —




12/19   6:48P    718-782-3261     Peak   PlanAilow      Brodrlyn NY       Brooklyn NY       2              —               —       —




12/19   6:S0P    718-782-3261     Peak   PianAllow      Brooklyn NY       Incoming CL       5              —               —
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12/19   7:57P    718-782-7731     Peak   PianAllow      Brooklyn NY       Brooklyn NY       2              —
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12/19   8.06P    718-689-1100     Peak   PianAllow      Brooklyn NY       NwyrcyznlS NY    30              —
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12/20   12:39P   718-810-0893     Peak   PianAllow      Brooklyn NY       New York NY       1              —
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12/20   12:52P   718-407-4151     Peak   Plan/Nlow      Brooklyn NY       Brooklyn NY       1              —
                                                                                                                           —       —




12/20   1:11P    917-398-5009     Peak   PianAllow      Brooklyn NY       NwyrcyznOI NY     1              _

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12/20   1:13P    917-398-5009     Peak   PlanAilow      Brooklyn NY       WwyrcyznOl NY     2              ~               —
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12/20   1:28P    718-407-4151     Peak   PlanAilow      Brooklyn NY       Brooklyn NY       2              —
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12/20   1:30P    718-407-4151     Peak   PianAllow      Brooklyn NY       Brooklyn NY       2              —               —       —




12/20   1:32P    718-407-4151     Peak   PianAllow      Brooklyn NY       Brooklyn NY       3              —               —
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12/20   4:17P    845-351-3100     Peak   PianAllow      Brooklyn NY       Tuxedo NY         2         •    —               —
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12/20   4:21P    718-782-7731     Peak   PianAllow      Brooklyn NY       Brooklyn NY       4              —               —
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12/20   4:25P    718-782-7731     Peak   PlanAilow      Brooklyn NY       InconingCL        2              —
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12/20   5:02P    718-522-3332     Peak   PlanAilow      Brooklyn NY       Brooklyn NY      13              —               —
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12/20   5:1SP    718-855-7618     Peak   PianAllow      Brooklyn NY       Brooklyn NY       1              —
                                                                                                                           —       ~
Verizon,7                                                       invoice Number Account Number          Date Due Page

                                                                3513543757       988876917-00001 : Past Due : 23 of 24



Detail for Yehuda Herskovic: 718-675-6897

Voice, continued
                                                                                                            Airtime   Long Dist/
Date    Time     Number          Rate      Usage Type             Origination     Destination     MIn.      Charges   Other Chgs   Total


12/20   5.16P    718-855-7618    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      1         —
                                                                                                                                     —




12/20   5:17P    718-855-7618    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      6         —                       —




12/20   5:30P    718-243-2091     Peak     PlanAliow              Brooklyn NY     Brooklyn NY      2         —                       —




12/20   5:39P    718-855-7618     Peak     PlanAliow              Brooklyn NY     Brooklyn NY      5         _

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12/20   5:52P    718-855-7618    Peak      PlanAliow              Brortrlyn NY    Brooklyn NY      11        —
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12/20   6:03P    718-855-7618    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      11        —               —       —




12/20   6:07P    718-782-0747    Pe^       PlanAliow,CcnfCall     Brooklyn NY     Brooklyn NY      1         __
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12/20   6:20P    718-855-7618     Peak     PlanAliow              Brooklyn NY     Brooklyn NY      3                         __
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12/20   7:01P    347_546-9596     Peak     PlanAliow              Brooklyn NY     Nwyrcyznoe NY    23        —
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12/20   7:30P    718-243-2091    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      3         __

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12/20   7:33P    718-782-7731    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      11                                —




12/20   8,56P    718-384-2666    Peak      PlanAliow              Brooklyn NY     Brooklyn NY      4         __

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12/20   9:00P    718-384-2666     Peak     PlanAliow              Brooklyn NY     Brooklyn NY      3         _

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12/20   9:30P    718-855-7618   Off-Peak N&W                      Brooklyn NY     Brooklyn NY      13        —                       __




12/20   9:31P    718-782-0747   Off-Peak   N&W.ConfCall           Brooklyn NY     Brooklyn NY      3         —                       —




12/20   10:15P   718-782-3261   Off-Peak Hm                       Brooklyn NY     Brooklyn NY      7         —
                                                                                                                                     —




12/20   11:41P   888-328-6399   Off-Peak ftj&W                    Brooklyn NY     Toll-Free CL     1         _

                                                                                                                                     —
verizon,y                                                                 Invoice Number Account Number          Date Due Page

                                                                          3513543757      988876917-00001 Past Due           24 of 24



 Need-to-Know Information

Customer Proprietary Network Information(CPNI)                                FUSC Change

CPNI is information made available to us solely by virtue of our              The Federal Universal Service Charge (FUSC)is a Verizon Wireless
relationstiip with you that relates to the type, quantity, destination,       charge that is subject to change each calendar quarter based on
technical configuration, location, and amount of use of the                   contribution rates prescribed by the FCC, On January 1, the FUSC
telecommunications and interconnected VoIP services you                       decreased to 4,26 percent of assessable wireless charges, other
purchase from us, as well as related billing information. The                 than separately billed interstate and international telecom charges.
protection of your information is important to us, and you have a             The FUSC on separately billed interstate and international telecom
right, and we have a duty, under federal law, to protect the                  charges decreased to 16,7 percent. For more details, please call
confidentiality of your CPNI.                                                 888,684,1888.


We may use and share your CPNI among our affiliates and agents                Customer Agreement Revision
to offer you services that are different from the services you
currently purchase from us, Verizon offers a full range of services,          We updated the My privacy section of our Customer Agreement to
such as television, telematics, high-speed Internet, video, and local         reflect that it is your responsibility to notify others that use your
and long distance services. Visit Verizon.com for more information            wireless devices to connect to the internet that we will collect
on our services and companies.                                                information regarding their device and usage in accordance with
                                                                              our privacy policy. See
If you don't want your CPNI used for the marketing purposes                   https://verizonwireless,com/b2c/support/customer-agreement
described above, please notify us by phone any time at
800.333.9956, online at vzw.com/myprivacy or through Customer
Service at 800,922,0204 from Monday - Friday 7 AM to 11 PM and
Saturday - Sunday 8 AM to 9 PM,

Unless you notify us in one of these ways, we may use your CPNI as
described above beginning 30 days after the first time we notify
you of this CPNi policy. Your choice will remain valid until you notify
us that you wish to change your selection. Your decision about use
of your CPNI will not affect the provision of any services you
currently have with us.

Note: This CPNI notice does not apply to residents of the state of
Arizona.


Explanation of Surcharges

Surcharges include (i) a Regulatory Charge (which helps defray
various government charges we pay including government number
administration and license fees): (ii) a Federal Universal Service
Charge (and, if applicable, a State Universal Service Charge) to
recover charges imposed on us by the government to support
universal service; and (iii) an Administrative Charge, which helps
defray certain expenses we incur, including: charges we,or our
agents, pay local telephone companies for delivering calls from our
customers to their customers; fees and assessments on our
network facilities and services; property taxes; and the costs we
incur responding to regulatory obligations. Please note that these
are Verizon Wireless charges, not taxes. These charges,and
what's Included, are subject to change from time to time.

Returned Payments

in the event your check for payment of your wireless bill is returned
by your bank for insufficient or uncollected funds, Verizon Wireless
may resubmit your check electronically to your bank for payment
from your checking account.
EXHIBIT 7
The attached fax was received from 7187826757 on 12/17/2018 at 5:42:29 PM.

JobID: 039570
     12-17-18;05:38PM:AZ INS DMV               17187826757   #   1/   2
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     Civil Court ofthe City of
                            of New
                               New York
                                   York                                                                                                     /
     COUKIY OF                                                  L-i                              Index Number S.C.                        j
                         Small Clainis/Commefcial Claims Part


                                                                            Claimant(s),
                                                against                                     /             NOTICE OF JUDGMENT

                                                                            Defendanns)
     UEC^ON: After TrialAnquest,tha decision in the above action is as follows:
     A.(^Judgment in fevor of_                                                                           £L




                                     Judgment Award Amount                     $ _699iM                           When an Award has been granted,
                                                                              ^                                  information below the bold line and
                                     Disbursmnents                             S                               on the reverse side applies to ailparties.
                                     TOTAL JUDGMENT                            $ ll^JO

    B.□' Judsnicnt In fkvor of:Defmdau£'Cl^                No monei^ award.
         - informatioH'below'the'boldftne and on the revertO side pfthisform does notappfy to Dismissed Claims
                   .           (LIhIi^ . ,,
                                                                                                                      JttdBtf, LivdCouit^ArtiSto^
      APPEAL: An Appeal may only be taken from an Oider,pr. a,Judgment jCTder;^.by a Judge,(not an Arbitrator), after a trial.
                 An Appeal from this Judgment must be          no.,later di^ t^
                   I (i),tbirty   after receipt mjcbuft of a c^yoftKb^^
              *' '' 'Oi)^dttf^<iays''aft)Drpersoi^''deHv^bfacb^'ofthejudgment'by m
                                                appealing party (or by the appcalirigvparty tb'anolbef party);«or: ■
                       ;!0|.         (ui)ithirtyrfrverdaysaft»idieimBilingjof acopy ofthejud^enttoithe^^pealingpartyrbylthe cleikof
              ■^                          I -the court or bv^another-partv^theia^on                        .      ;               ■
                                                      j^FORmTIONFORTHEJTJDGP^
                                                     ^ ''' "^(Thk'pdt^a^niriMHbiiraiw                 has been shtered)
                   .. XPP                      A legal pBUt^TlON Tb^Wy'T^^IS W                                                        CREDITOR,
                   '           YOU MUST PRESENT'PRObF TO THE COURT UPON'^ATISFACTION OF THE JUDGMENT.
                                 Your failure to pay the judgment may subject you to any one or any combination of the following:
         •i                    li-             a) garnishment of wage(s)and/6r bank account(s)J
                                                b) lien, sciprc and/or sale of real property and/or personal property, including autoinobilc(s)
                                                c) suspension of motor vehicle registration, and/or drivers license, if the underlying claim is
                                                    based on judgment debtor's ownership or operation of a motor vehicle.
                                               d) revocation, suspension, or denialof renewal of any applicable business license or permit.
                                               e) investigation and prosecution by the State Attorney Oenoral for fraudulent or ille^l business practices.
                                               0 a penalty equal to three times the amount of the unsatisfied judgment plus attorney's fees, if there are
                                                    unpaid claims.
                      Ifyou did not appear in court on the d^ the Hearing was held, you are a defaulting party. A judgment may have been
    taken against you oven though you were not In court. If that is so, you may come to the court and apply in writing to have the default
    jud^ent opened. You must give the Judge a reasonable excuse for your failure to appear in court and show that you have a meritorious
    defense. The Judge will review your request and may vacate the defaultjudgment and give you another chance to go to court.
                        THE JUDGMENT IS VALID FOR A PERIOD OF 20 YEARS. IF THE JUDGMENT IS NOT COLLECTED
                       UPON THE FIRST ATTEMPT, FURTHER ATTEMPTS TO COLLECT MAY BE MADE AT A LATER DATE.
                                               -C®<FOBMATlONFORTHEJin>GMENT.CREDITOR*l,toon.ttierevBraesitie.)                                  _
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Z   /I         f                        Z.9Z.938/.8U:                                                                 Am SNI 2V:m88:SO 18L-/.1-SL
EXHIBIT 8
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF-4l^ewy




^f'JuDS                         Plaintiff,                   Index No./             /20 /f
                 -against-
                                                              COMPLAINT


yj£K\'2^0
                                Defendant.


   TO THE SUPREME COURT OF THE STATE OF NEW YORK

           The complaint of the plaintiff.              H£f(6kaUf^              , respectfully
   shows and alleges as follows:

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     Dated: ^/x/^ /

                                                        if/ptjpP-
                                                        7           DIaSntSff
                                                                    Plaintiff     ~~


                                             VERIFICATION

       ~7~                                  4=- 1 being duly sworn, deposes and says:
             I am the plaintiff in the above-entitled action. 1 have read the foregoing complaint
       and know the contents thereof. The samp are true to my knowledge, except as to matters
       therein stated to be alleged on information and belief and as to those matters I believe
      them to be true.




                                                                    Signature

   Sworn to before me this , „                                                                  C_
  7J^^¥of hMc^u 20/^                                          /     Print Name



NOTARY PUBLIC-STATE OF NEW YORK
        No,01PEB075e99
     Quellflad In Kings County
My Cemtnlaiier^ SxplrffsOB-90'2010
^ , ^®*®'StriJte/to//cfee(/wording which does not apply.

                                              VERIFICATION


   STATE OF NEW YORK)

   COUNTY OF KINGS )                   ss.:


                                                                       sworn,deposes and says;

            ThatI am H^^pl^^etitipner/deferuhntIrespondentin this action /
  proceeding. ThatI have read the foregoing
                                                                          and know the



  «.w to .11^.4„                           „4 belief; «.d to Uk,„^                       „i.
 true.




                                                           Petitioner/DefendantlResponded
                                                   Sign your name before a Notaiy Public)

                                                                                 U/C-,'
                                                 (frint Name)
Sworn before me this %({>
"ay of                             20_ll

            NotfflV Public
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Exhibit N
                                                                                                           Jordan S. Yu,Esq.
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                                                  June 23, 2022



 VIA EMAIL


Michael D. Blechman, Esq.
American Arbitration Association
c/o Pro Se Administrator 1
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         RE;      Yehuda Herskovic v. Verizon Wireless
                  American Arbitration Association Case No.: 01-21-0016-5580


                                    ARBITRATION CLOSING BRIEF


Dear Arbitrator Blechman:


       Respondent Cellco Partnership (Eb/a Verizon Wireless("Verizon")submits this
Arbitration Closing Brief in connection with the telephonic evidentiary hearing held in this
matter on June 9, 2022.

                                          I.       INTRODUCTION


        Claimant Yehuda Herskovic ("Claimant") has failed to establish that he is entitled to any
recovery &om Verizon under any of the three legal theories he purports to assert for: (1)breach
of contract,(2) violation of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.,("FCRA")
and(3) violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, etseq.
("FDCPA").'

         The crux of Claimant's case is his claim that he did not owe Verizon an early termination
fee of $176.11^ that was charged to him under the express terms of his Verizon Customer
Agreement("Agreement"). Claimant contends that because he cancelled his Verizon service and

'The Original Complaint filed by Claimant(Respondent's Exh. 1 -3) appears to be for breach ofcontract(which he
identifies on the civil case cover sheet) and violation of the FCRA,although Claimant does not specifically cite to
the statute. In his Amended Complaint, Claimant does not mention breach of conti-act, but does reference the FCRA
(Respondent's Exit. 2). Moreover, while the Amended Complaint includes two counts, both appear based on the
FCRA and do not mention the FDCPA, although Claimant complains of collection attempts by outside agencies and
cited to the FDCPA during the evidentiary hearing. Plaintiffs Arbitration Demand (Respondent's Exh. 3)simply
states that "Verizon Wireless has been reporting false charges on my credit report.").

^ The $176.11 total includes the actual early tennination fee of$145.00 and an additional $31.11 in governmental
surcharges and taxes based on the fee. See Respondent's Exhibit 6-321 (bill for December 2018).
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         later obtained a default money judgment against Verizon in small claims court, he effectively
         "rescinded" the Agreement. However, there is no basis in law or fact for Claimant's contention.
         To the contrary, the evidence introduced at the hearing—and the case records from the inquest in
         Claimant's small claims court action—reveal that there was no rescission, that Claimant
         continued to owe Verizon $176.11 even after entry of his default judgment, and that Verizon's
         credit reporting of the unpaid early termination fee was not only accurate, but is non-actionable
         under the FCRA and FDCPA.


                 First, the parties' Agreement plainly states that Claimant's "early termination fee will be
         $175, which will decline by $5 per month upon completion of months 7-17"(Respondent's Exh.
         5-2), and that any compensation for "dropped calls or interrupted Service" is strictly limited to a
         "credit for the time lost"(Respondent's Exh. 5-5). It is immaterial that Plaintiffs account
         allowed unlimited calls for a set monthly fee. Claimant's account bills reflect that he was
          credited on more than one occasion for dropped calls and/or interrupted service. See, e.g.,
          Respondent's Exh. 6-186 (credit adjustment for $13.88 on bill for August 2017), Exh. 6-238
         (credit adjustment for $12.11 on bill for September 2017).

                  Second, Claimant is at best confused, and at worst, disingenuous in his insistence that
          Verizon promised to waive the $176.11 early tennination fee under his Agreement. The Account
          Notes, which constitute a complete record of all calls between Verizon and Claimant, do not
          reflect any such promise, and Verizon's witness testified at the hearing that no fee waiver was
          ever offered to Claimant {see Respondent's Exh. 7-4). Moreover, the two calls to Verizon that
          Claimant claimed he made to discuss the fee waiver never occurred. Verizon established at the
          evidentiary hearing that both calls were in fact placed to AT&T, Claimant's new service
          provider, not Verizon. See Respondent's Exh. 6-335 and 6-336.

                  Third, it is simply not true that the small claims court ordered rescission of the parties'
          Agreement. See Respondent's Exh. 8. There is nothing in the default judgment or the Court's
          inquest record that would suggest an award of rescission, which is an equitable remedy. See
          Case Record Card, attached hereto as Respondent's Exh. 9.^ Instead, there is a $698.00 damages
          award for "defective services rendered" on "02-01 -2017." Claimant is also mistaken that this
          award was somehow a "refund" of the amounts he paid under the Customer Agreement: The
          total he paid on his account under the Agreement was only $377.54.^^ The $698.00 was
          obviously a damages award (obtained via default judgment) for purported "defective services,"
          which by no means "rescinded" the parties' Agreement or represented any refund.

                 Fourth, an FCRA claim brought by a private litigant can only be based on a failure to
          reasonably investigate a credit reporting dispute. An FCRA claim cannot be predicated on
          merely inaccurate credit reporting. Here, as the Account Notes reflect. Plaintiff only submitted

          ^ Verizon has attempted unsuccessfully to obtain a copy of the small claims summons from Claimant. Verizon was
          never served with the summons,and for this reason, did not attend tlie inquest. Verizon was subsequently able to
          obtain a copy ofthe case record card from the small claims court, which reflects the inquest proceedings, the relief
          requested and the relief awarded.

           This is the total of all amounts Claimant paid on his monthly bills; additionally, Claimant paid an initial $20.00
          when he opened the account on December 8, 2016. So at most, Claimant paid Verizon only $397.54—hundreds of
          dollars less than the $698 he was awarded in damages by the small claims court in the default judgment.
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        two disputes to Verizon via an Automated Consumer Dispute Verification("ACDV")— on
        October 10 and 11, 2018. This was two months before Claimant obtained his default small
        claims judgment in December 2018. Thus, Verizon's reasonable investigation revealed that the
        $176.11 reporting was based on a valid final bill that Claimant had never paid.

               Finally, as discussed more fully below, Claimant's FDCPA claim—^to the extent he
        purports to assert one—is barred as a matter of law because Verizon is a direct creditor, not a
        debt collector under the statute, and thus cannot be held liable on an FDCPA claim for any debt
        collection activity.

                 Accordingly, Claimant should take nothing by way of this Arbitration.

                                          II.    RELEVANT FACTS


              A. Claimant's Opening of the Account and Assent to the Customer Agreement

                On or about December 8, 2016, at a Verizon retail location located at 100 Wall Street,
        New York, NY,Claimant opened a Verizon Wireless Home Phone Unlimited Plan ("Account").
        The Account was initially associated with a phone number ending in 6897, but Plaintiff ported-in
        the phone number ending in 4656 to the Account the next month. See Respondent's Exh. 4. In
        opening the Account and signing the receipt at the point of sale, Claimant accepted all of the
        terms of the Agreement: "I agree to the Verizon Wireless Customer Agreement including an
        early termination fee of up to $350 per line" and "settlement of disputes by arbitration instead of
        jury trial." Respondent's Exh. 4-2.

               The Agreement is clear that if a customer terminates his or her service early, an early
        termination fee will apply:

                        What happens if my Fostpay Service is canceled before the end
                        of my contract term?

                        ... If you cancel a line of Service, or if we cancel it for good
                        cause, during its contract term, you'll have to pay an early
                        termination fee. If your contract term results from your
                        purchase of an advanced device, your early termination fee will
                        be $350, which will decline by $10 per month upon completion
                        of months 7-17,$20 per month upon completion of months 18-
                        22,$60 upon completion of month 23 and will be $0 upon
                        completion of the contract term. For other contract terms
                        entered into on or after November 14, 2014, your early
                        termination fee will be $175, which will decline by $5 per
                        month upon completion of months 7-17,$10 per month upon
                        completion of months 18-22, $30 upon completion of month 23
                        and will be $0 upon completion of your contract term. If you
                        cancel service, you may have to immediately pay off the
                        remaining balance on any device agreement. Cancellations will
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                       become effective on the last day of that month's hilling cycle,
                       and you are responsible for all charges incurred until then.

         Respondent's Exh. 5-2(emphasis in original). Similarly, the Agreement states in relevant part
         that Verizon's liability for defective service is limited to service credits:

                       What are my rights for dropped calls or interrupted Service?

                       If you drop a call in your Coverage Area, redial. If it's answered
                       within 5 minutes, call us within 90 days if you're a Postpay
                       customer, or within 45 days if you're a Prepaid customer, and we'll
                       give you a 1-minute airtime credit. If you're a Postpay customer
                       and you lose Service in your Coverage Area for more than 24
                       hours in a row and we're at fault, call us within 180 days and we'll
                       give you a credit for the time lost. Please he aware that these are
                       your only rights for dropped calls or interrupted Service.

         Respondent's Exh. 5-2(emphasis in original).

                Moreover, the Agreement states that it is the sole agreement between the parties and
         cannot be overridden by any oral representation:

                       This agreement and the documents it incorporates form the
                       entire agreement between us. You can't rely on any other
                       documents, or on what's said by any Sales or Customer Service
                       Representatives, and you have no other rights regarding
                       Service or this agreement.

        Respondent's Exh. 5-9 (emphasis in original). The Agreement also expressly
        limits liability for both parties:

                       You and Verizon both agree to limit claims against each other
                       solely to direct damages. That means neither of us will claim
                       any damages that are indirect, special, consequential,
                       incidental, treble or punitive. For example, disallowed damages
                       include those arising out of a Service or device failure,
                       unauthorized access or changes to your account or device, or
                       the use of your account or device to access or make changes to
                       an account with another entity, such as a financial entity,
                       without authorization. This limitation and waiver will apply
                       regardless of the theory of liability.

        Respondent's Exh. 5-7(emphasis in original).

               Finally, the Agreement specifically authorizes collection attempts by
         Verizon or other parties:
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                        You consent to allow Verizon and anyone who collects on our
                        behalf to contact you about your account status, including past due
                        or current charges, using prerecorded calls, email and calls or
                        messages delivered by an automatic telephone dialing system to
                        any wireless phone number, other contact number or email address
                        you provide.

         Respondent's Exh. 5-2.

              B. Claimant's Service, Billing and Termination of His Account

                On or about December 7, 2016, Claimant received his first bill, which included $20.00 in
         monthly charges and a $40.00 activation fee. See Respondent's Exh. 6-3. At the evidentiary
         hearing, Claimant testified that a Verizon representative told him that his activation fee and
         related taxes would be waived. As Verizon's witness testified, and as the Account Notes
        establish, this is false. Respondent's Exh. 7-14.

                The following month, Claimant ported-in the phone number ending in 4656 to his
         Account. See Respondent's Exh. 6-3. That same month, and again in July and September 2017,
         Claimant was given adjustments for dropped calls and/or interrupted service. See e.g.
         Respondent's Exh. 6-186 (credit adjustment for $13.88 on July 2017 bill); Exh. 6-238 (credit
         adjustment for $12.11 on bill for September 2017).

                On or about December 27, 2017, Claimant tenninated his Verizon service and closed his
        Account, porting his line out to AT&T. See Respondent's Exh. 7-4. Claimant's December bill
        reflects an early tennination fee of$145, along with taxes and fees of $31.11, for a total
        outstanding bill of$176.11. See Respondent's Exh. 6-321. There is no indication in the Account
        Notes that Claimant ever contacted Verizon to request that the early termination fee be waived.
        See Respondent's Exh. 7-4.

               At the evidentiary hearing. Claimant referenced two telephone calls reflected in his
        December 2017 bill and falsely claimed that it was during these calls that Verizon promised to
        waive the early termination fee and taxes. See Respondent's Exh. 6-335(22 minute call to 866-
        895-1009); 6-336(40 minute call to 866-895-1009). However,those calls were to AT&T as
        established at the hearing, to which he transferred his phone service, not to Verizon.

              C. Claimant's Continued Refusal to Pay His Final Bill and Submission of Two ACDVs

                 Verizon continued to send Claimant bills for the unpaid early termination fee and taxes of
        $176.11 every month from January through May 2018 {see Respondent's Exh. 6-347 to 6-352).
        However, it was not until June 28, 2018 that Claimant disputed the bill. See Respondent's Exh.
        7-3 ("cust[omer] disputing bill, advised cust[omer] charges are for ETF [early termination
        fee].").
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               Claimant then let four additional months pass before he submitted two ACDVs—on
         October 10 and 11, 2018. The first ACDV submitted on October 10, 2018 included "no details."
        Respondent's Exh. 7-2. The second ACDV submitted the following day stated that Claimant
        "made a 2 year contract" but that "after about a month of usage," he "started experiencing
        trouble with the service." Id. In response, Verizon verified that the Account information being
        reported "matches what we have on file," affirmed that the Account as an "unpaid collections
        account," and added a dispute indicator. Id.

               Claimant continued to refuse to pay the debt. For example, the Account Notes entry for
         December 13, 2018 indicates that Claimant "refused to pay [his final] bill." Respondent's Exh.
         7-1 to 7-2.


              D. Claimant's Small Claims Court Action and Judgment

               Unbeknownst to Verizon, which was never served with any summons or complaint, on or
        about October 26, 2018, Claimant filed an action in the Civil Court for the City of New York,
        Small Claims,      Herskovic v. Verizon Wireless, Case. No. 37766/18. See Respondent's Exh.
        9. An inquest was held on December 4, 2018 at which Verizon did not appear. Id. The Inquest
         Case Card indicates that the claim was for $2,500 for "defective services rendered ... on
         2/01/2017." Id. Because Verizon did not appear in the action, a defaultjudgment was entered
         against it for damages in the amount of $698.00 with $20.00 in costs. Id. and Respondent's Exh.


                On December 17, 2018, Claimant faxed a Notice of Judgment to Verizon, reflecting a
        total judgment of $718.00. See Respondent's Exh. 8. There is nothing in the Notice of
        Judgment, nor the Court's Inquest Notes that suggests the parties' Agreement was rescinded or
        that Plaintiff did not continue to owe the $176.11 outstanding balance on his Account.

              E. Verizon's Payment of the Judgment and Claimant's New Lawsuit

                On or about January 8, 2019, a Verizon representative spoke with Claimant and noted
        that he received a "judgment against Verizon for $718.00." The representative requested that a
        check be remitted to Claimant "in that amount." The representative had asked Claimant whether
        he wished to have his charged off balance of $176.11 deducted from the judgment check;
        however. Claimant demanded a check for the full amount and told the Verizon representative
        that he would resolve "that matter in a 'different' way." Respondent's Exh. 7-1.

                 On March 28, 2019, Plaintiff filed a second action in the New York Supreme Court for
        the County of King alleging breach of contract and what appeared to be a claim based on the
        FCRA,requesting $30,000 in damages. See Respondent's Exh. 1. The case was removed to
        federal court, where it is currently pending as Herskovic v. Verizon Wireless, E.D.N.Y. Case No.
        1:2019-cv-03372("Federal Action"). On or about November 29, 2021, Plaintiff filed an
        Amended Complaint in both the Federal Action and this arbitration. The Amended Complaint
        contains two causes of action—for what appears to be violation of the FCRA and possibly the
        FDCPA. See Respondent's Exh. 2.
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                                           III.   LEGAL ARGUMENT


              A. Claimants Breach of Contract Claim Fails

                As a preliminary matter, Claimant's assertion that the Agreement was somehow
        "rescinded" by the Small Claims Court is meritless. Under New York law, a contracting party
        may elect to seek rescission in equity or damages at law. Vitale v. Coyne Realty, Inc.^ 66 A.D.2d
        562, 568, 414 N.Y.S.2d 388, 393(1979). "A claim for rescission, as opposed to a claim for
        breach of contract, seeks to 'restore the parties to status quo,' as if the parties had never entered
        into the contract." Unger v. Ganci, 200 A.D.3d 1604, 161 N.Y.S.3d 546,549(2021)(internal
        quotation marks omitted). Rescission "is appropriate only where, among other things, the status
        quo can be 'substantially restored.'" Id. Where, as here, performance under the contract
        precludes a return to the status quo, rescission is unavailable, and money damages are the
        appropriate remedy for an alleged breach. Id. (trial court erred in granting rescission because
        '"the assimilation of plaintiffs company [into defendant's business is] complete,' and events
        have rendered the status quo practically impossible to recreate").

                 Here, the Agreement was for wireless home phone services, v/hich Verizon provided to
         Claimant for a year, and which Claimant used on a daily basis as evidenced by the monthly
         billing statements. See Respondents' Exh. 6. In fact, in a span ofjust one month from January to
         February 2017, Claimant used Verizon's phone service over one thousand times. Respondents'
         Exh. 6-31 to 55. Moreover, there is no indication in the Small Claims records or judgment that
         Claimant sought—or was awarded—^rescission. Quite the opposite: Claimant was awarded
         $698.00 to compensate him for purported "defective services rendered ... on 02-01-2017."
         Respondent's Exh. 9. The total Claimant paid on his Account under the Agreement was only
         $377.54. See Respondent's Exh. 6. Accordingly, the small claims judgment could not have
         been a rescission or refund. Claimant's argument otherwise has not merit.

                To the extent Plaintiff is attempting to bring a breach of contract claim for the $176.11
         charge and its related credit reporting and collection, this claim is a non-starter. "The essential
         elements of a breach of contract cause of action are the existence of a contract, the plaintiffs
         performance pursuant to the contract, the defendant's breach of his or her contractual
         obligations, and damages resulting from the breach." Maspeth Fed. Sav.^ & Loan Ass'n v.
         Yeshiva Kollel Tifereth Elizer, 197 A.D.Sd 1253, 1254, 153 N.Y.S.3d 580, 581 (2021)(internal
         quotation marks omitted).

                 Here, Claimant failed to pay his early termination fee under the Agreement, which
         Verizon was contractually authorized to charge and Claimant agreed to pay. See Respondent's
         Exh. 5-2. There is no evidence whatsoever—aside from Claimant's own self-serving
         testimony—that Verizon would have abrogated its ov/n policies and offered to waive the fee and
         related taxes. Such a waiver request would have required escalation to a supemsor and would
         have been noted in tlie Account Notes. The Account Notes, however, contain no notation
        regarding any waiver. In fact. Claimant previously attempted to argue that Verizon also agreed
        to waive activation fees and taxes, which was also false. See Respondent's Exh. 7-4, 7-14.
        Finally, although Claimant attempted to falsely testify that two calls noted in his December 2017
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         bill were the calls wherein he requested (and Verizon agreed to) waive the termination fee, those
         calls were not even made to Verizon, but rather to AT&T.

                 In short, given the evidence presented at the hearing, Claimant has failed to establish
         either that he complied with the Agreement, or that Verizon breached it in any way.
         Accordingly, Claimant's breach of contract claim fails.

              B. Claimant's FCRA Claim Fails


                Congress enacted the FCRA "to ensure fair and accurate credit reporting, promote
        efficiency in the banking system, and protect consumer privacy." Safeco Ins. Co. ofAm. v. Burr,
        551 U.S. 47, 52, 127 S. Ct. 2201, 2205 (2007); see also 15 U.S.C. § 1681 (describing the purpose
        of the FCRA). As part of its regulatory scheme, the FCRA "imposes several duties on those who
        furnish information to consumer reporting agencies." Longman v. Wachovia Bank, N.A., 702
        F.3d 148, 150(2d Cir. 2012).

                Section 1681s—2(a) details a furnisher's responsibility to provide accurate information,
        including a duty to refrain from knowingly reporting inaccurate infomiation, see 15 U.S.C. §
        1681s-2(a)(l), and to correct information discovered to be inaccurate, see id. § 1681s-2(a)(2).
        However, the FCRA does not provide a private cause of action for violations of §1681s-
        2(a). See 15 U.S.C. § 1682s-2(d); Longman v. Wachovia Bank, N.A., 702 F.3d 148, 151 (2d Cir.
        2012)("[T]he statute plainly restricts enforcement of[15 U.S.C. § 1681s-2(a)] to federal and
        state authorities.").

                The only private right of action in the FCRA against furnishers like Verizon is under 15
        U.S.C. § 1681s-2(b), which "imposes a duty on furnishers of information to investigate disputed
        information after receiving notice of a dispute concerning the completeness or accuracy of
        information from a [consumer reporting agency]." Burns v. Bank ofAm.,655 F. Supp. 2d 240,
        250(S.D.N.Y. 2010). This notice of dispute, called an ACDV (automated consumer dispute
        verification), is electronically sent from a consumer reporting agency("CRA")to a furnisher like
        Verizon with a dispute code and a dispute description. See Selvam v. Experian Info. Sols., Inc.,
        No. 12 Civ. 1828(DLI)(JO),2015 WL 1321615, at *2(E.D.N.Y. Mar. 24, 2015), vacaW om
        other grounds, 651 F. App'x 29(2d Cir. 2016)(summary order)."An ACDV is sent to the
        furnisher of the disputed information and asks the furnisher to verify, amend, or delete the
        reported information." Id.

               To state a claim against a furnisher under § 1681s-2(b) of the FCRA,"a consumer must
        show that(1)a furnisher received notice of a credit dispute from a [credit reporting agency](as
        opposed to from the consumer alone) and (2)the furnisher negligently or willfully failed to
        conduct a reasonable investigation." Ngambo v. Chase, No. 20-CV-02224, 2020 WL 1940553,
        at *3(S.D.N.Y. Apr. 22, 2020)(internal quotations and citation omitted); alterations in original).
        "The cornerstone of a claim under 15 U.S.C. § 1681s-2(b) is that the subject information was
         inaccurate; ifthe information was not inaccurate, there can be no FCRA violation." Tescher v.
        Experian Info. Sols., Inc., No. 21-CV-02266(PMH),2022 WL 564048, at *6(S.D.N.Y. Feb. 23,
        2022), citing Lieberman v. Am. Express Co., No. 19-CV-6989(BMC),2020 WL 5517271, at *3
        (E.D.N.Y. Sept. 14, 2020). See also Mohnkern v. Equifax Info. Servs., LLC,No. 19-CV-6446L,
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         2021 WL 5239902, at *7(W.D.N.Y. Nov. 10, 2021)("Without a threshold showing of
         inaccuracy, it follows, ... that plaintiffs cannot show that [defendant] violated section 1681 s-2(b)
         by failing to either conduct a reasonable investigation of the disputed Debt or request that the
         CRA defendants delete the Debt from plaintiffs' credit reports."). To be "inaccurate" under the
         FCRA,the information must be either "patently incorrect" or "misleading in such a way and to
         such an extent that it can be expected to adversely affect credit decisions." Sepulvado v. CSC
         Credit Servs., Inc., 158 F.3d 890, 895 (5th Cir. 1998).

                In determining whether a furnisher ofinformation has satisfied its obligations arising
         under 15 U.S.C. § 1681s-2(b),"courts have required a 'reasonable investigation' to determine
         whether disputed information can be verified." Jenkins v. AmeriCredit Fin. Servs., Inc.,'No.
         14CV5687SJFAKT,2017 WL 1325369, at *6(E.D.N.Y. Feb. 14, 2017), quoting Amendoeira v.
         Monogram Credit Card Bank of Georgia, No. 05-CV-4588, 2007 WL 2325080, at * 1 (E.D.N.Y.
         Aug. 7, 2007). Therefore, fumishers ofinformation satisfy their investigation obligations under
         the FCRA by "review[ing] information provided by the consumer reporting agency,
         investigat[ing], and report[ing] any inaccuracies to all consumer reporting agencies to which the
         fumishers provide information." Trikas v. Universal Card Servs. Corp., 351 F. Supp. 2d 37,44
         (E.D.N.Y. 2005). The FCRA does not require that a fumisher of information delete a
         consumer's disputed account, but rather,"simply requires the fumisher ofinformation to
         investigate and to report information from the investigation." See Ritchie v. N. Leasing Sys.,
         Inc., No. 12 Civ. 4992, 2016 WL 1241531, at *17(S.D.N.Y. Mar. 28, 2016).

                Here, as a threshold matter. Claimant concedes that he did not pay the $176.11 Account
         balance, which is the balance Verizon reported to the CRAs. Accordingly, there is no inaccuracy
         in Verizon's reporting, and hence, there can be no liability under the FCRA.

                 But further, Plaintiff submitted two ACDVs,both in October 2018. The first did not
         include any details regarding the dispute; the second stated that Claimant had "made a 2 year
         contract" but that "after about a month of usage," he "started experiencing trouble with the
         service." Respondent's Exh. 7-2. In response to the ACDVs,Verizon conducted a thorough
         investigation of Claimant's Account records and confirmed that he had an outstanding balance of
         $176.11, which Claimant admitted he never paid and which was being accurately reported to the
         CRAs. In particular, as Verizon's witness testified, Verizon reviewed Claimant's billing and
         pajonent records, as well as the Account Notes, which all confirmed that Claimant owed a fmal,
         unpaid bill of$176.11.        Respondent's Exhs. 6-7.

                 Moreover, after conducting its investigation of Claimant's disputes, Verizon added a
         dispute indicator to the reporting. Therefore, Verizon fully complied with the FCRA. It bears
         noting that Claimant submitted his ACDVs two months before he received his default small
         claims court judgment on December 4, 2018. Thus, even if the Court had somehow "rescinded"
         the Agreement—which it did not—this would have no bearing whatsoever on Verizon's
         compliance with the FCRA. Significantly, Verizon did not receive any ACDVs after the small
         claims court entered its judgment on December 4, 2018. See Respondent's Exh. 7.

                  The evidence presented at the hearing establishes that Verizon's reporting was accurate in
         the first instance, and that Verizon conducted a reasonable investigation based on the information
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         provided by Claimant in the two October 2018 ACDVs,and timely reported the results of its
         investigation (including Claimant's dispute) to the CRAs. Accordingly, Verizon has no liability
         under the FCRA.


                C. Claimant's FDCPA Claim Fails


                 Congress enacted the FDCPA after finding "abundant evidence of the use of abusive,
         deceptive, and unfair debt collection practices by many debt collectors'' 15 U.S.C. § 1692(a)
         (emphasis added). Accordingly, the purpose of the FDCPA is "to protect consumers from
         deceptive or harassing actions taken by debt collectors." Gabriele v. Am. Home Mortg. Serv.,
         Inc., 503 Fed.Appx. 89, 93(2d Cir. 2012)(citations omitted); see 15 U.S.C. §§ 1692d-1692f.
         "To that end,[the FDCPA]regulates debt collectors' tactics and, inter alia, creates a private
         cause of action for victims of oppressive or offensive collection agency behavior." Chiang
         V. Verizon New Eng. Inc., 595 F.3d 26, 41 (1st Cir. 2010)(citation and internal quotation
         omitted). "In order to prevail on an FDCPA claim, a plaintiff must prove that(1) he was the
         object of collection activity arising from consumer debt,(2)the defendant is a debt collector
         within the meaning of the statute, and (3)the defendant engaged in a prohibited act or omission
         under the FDCPA." Poulin v. The Thomas Agency, 760 F. Supp. 2d 151, 158(D. Me. 2011)
         (citation and internal quotation omitted)(emphasis added).

                 The FDCPA only applies to statutorily defmed "debt collectors." 15 U.S.C. § 1692a(6)
         (defining "debt collector" as "any person who uses ... interstate commerce or the mails in any
         business the principal purpose of which is the collection of any debts, or who regularly collects
         or attempts to collect... debts owed ... or due another")(emphasis added). "The term 'debt
         collector' ... does not include ...(F)any person collecting or attempting to collect any debt owed
         or due or asserted to be owed or due another to the extent such activity ... (ii) concerns a debt
         which was originated by such person." 15 U.S.C. § 1692a(6)(F)(emphasis added). Thus,
         creditors attempting to collect their own debts are not "debt collectors" under the FDCPA and
         are excluded from its coverage. See Shieh v. Flushing Branch, Chase Bank USA, N.A., No. 11-
         civ-5505, 2012 WL 2678932, at *7-8(E.D.N.Y. July 6, 2012)(dismissing FDCPA claim against
         bank, the original creditor, because "Chase, as [plaintiffs] former creditor,[was] exempted from
         the FDCPA" and there was "no allegation that it attempted to collect the debt under a false
         name"); Torres v. Baum,^o. lO-civ-1385, 2011 WL 2532945, at *7(N.D.N.Y. June 24, 2011)
         ("[F]urther disqualifying Chase Bank N.A. as a possible debt collector under our facts is its
         obvious status as a former creditor"); Somin v. Total Cmty. Mgmt. Corp., 494 F. Supp. 2d 153,
         160(E.D.N.Y.2007)("Since the Bank was not collecting the debt 'of another,' it is not a proper
         defendant under the FDCPA.").

                In fact, m Perez v. Experian, No. 20CV9119PAEJLC,2021 WL 4784280(S.D.N.Y. Oct.
         14, 2021), report and recommendation adopted. No. 20CIV9119PAEJLC,2021 WL 5088036
         (S.D.N.Y. Nov. 2, 2021), the court held that Verizon was not a "debt collector" subject to the
         FDCPA:


                         Similarly, Verizon is not a "debt collector" as [Plaintiffs]
                         pleadings, if anything, establish that it extends credit, thus creating
                         a debt. See Vallecastro, 2014 WL 7185513, at *3; Mazzei v.
Page 11 of13


                       Money Store, 349 F. Supp. 2d 651,658(S.D.N.Y. 2004)
                       ("Creditors are generally not considered debt collectors under the
                       FDCPA.")(citing 15 U.S.C. § 1692a(6)(F)). [Plaintiff] instead
                       alleges that Verizon "hire[s] debt collection companies like
                       Sequiuin." PI. 0pp. at 13. Further,[Plaintiff] does not allege that
                       Verizon used the name of a third party in connection with his debt
                       so as to fall within the narrow category of"creditors" who are also
                       considered "debt collectors." Scalercio-Isenberg v. Citizens Fin.
                       Grp., Inc., No. 18-CV-9226(JGK),2019 WL 7187247, at *8
                       (S.D.N.Y. Dec. 26, 2019)(creditors only subjected to the FDCPA
                       if they use third party name to collect debts). Because Verizon is a
                       "creditor" who hires a debt collection company seeking to collect
                       its debts,[Plaintiff] has failed to allege that Verizon is a "debt
                       collector" within the meaning of the FDCPA. See Houckv. U.S.
                       Bank, N.A.for Citigroup Mortg. Loan Tr. 2007-AR5,689 F. App'x
                       662, 664(2d Cir. 2017)(affirming dismissal against creditor under
                       FDCPA).

        Id. at *13. See also Chiang v. Verizon New England Inc., 595 F.3d 26, 30(1st Cir. 2010)
        ("We also affirm entry of summary judgment on Plaintiffs FDCPA claim because there is no
        material dispute of fact that Verizon NE is not a debt collector.").

                Furthermore, creditors "cannot be held responsible for the actions of any other entity
        merely based on vicarious liability." Schuh v. Druckman & Sinel, LLP,602 F. Supp. 2d 454,463
        (S.D.N.Y. 2009); see also Kolari v. New York-Presbyterian Hosp. (Kolari I), 382 F. Supp. 2d
        562, 573(E.D.N.Y. 2005)("[A] creditor that is not itself a debt collector is not vicariously liable
        for the actions of a debt collector it has engaged to collect its debts."), vacated in part, 455 F.3d
        118. The rationale for treating debt collectors differently than creditors is that "debt collectors,
        unlike creditors, are not constrained in their actions by the risk that a negative reputation
        regarding debt collection practices might threaten their continued access to new borrowers."
         Williams v. Citibank, N.A., 565 F. Supp. 2d 523, 528 n. 6(S.D.N.Y. 2008)(citation omitted).

                Here, Claimant complains that he received collection letters regarding the $176.11 debt
         from outside debt collectors, including Diversified Consultants, Inc. {see Claimant's Exh. D)and
         Convergent Outsourcing, Inc.{see Claimant's Exh. G). However, as Verizon's witness
         established at the evidentiary hearing, these are third-party independent outside collection
         agencies retained by Verizon. Verizon does not own, control or manage either of these entities,
         nor does Verizon direct the collection activities of these entities. Because Verizon is Claimant's
         original creditor, Verizon is exempt from the FDCPA.

                Moreover, even if Verizon could be held liable under the FDCPA (which it cannot), there
        was nothing harassing about the letters sent by these third-party collection agencies attempting to
        collect the legitimate outstanding balance on Claimant's Account. See, e.g.. Claimant's Exh. G
        (offering to settle $176.11 debt for $155.85). In fact. Claimant testified that the collection
Page 12 of13


         activity ceased when he requested the collection agencies to stop contacting him.^ Accordingly,
         there can be no claim against Verizon under the FDCPA.

               D. Claimant Has Failed to Establish Any Damages

                Even if Claimant were to succeed substantively on any of his claims (which he cannot).
        Claimant has not established any recoverable damages, much less $30,000 in recoverable
        damages sought in the Arbitration Demand. As a preliminary matter, the parties' Agreement
        expressly limits Claimant's recovery to "direct damages" and precludes "any damages that are
        indirect, special, consequential, incidental, treble or punitive." Respondent's Exh. 5-7. Such
        "contractual limitations on liability are generally enforceable." S.A. De Obras y Servicios,
        COPASA V. Bank ofNova Scotia, 170 A.D.3d468,472, 96N.Y.S.3d 173, 176 {1^\9)-, Abacus
         Fed. Sav. Bank v. ADTSec. Servs., Inc., 11 A.D.3d431,433,908 N.Y.S.2d 654,656(2010),
         affd as modified, 18 N.Y.3d 675,967 N.E.2d 666(2012). Accordingly, to the extent that
         Plaintiffs claimed emotional distress and credit denial damages are "consequential" or "special"
         or "indirect," they are barred by this contractual limitation of liability clause.''

                Moreover, Claimant has failed to submit sufficient evidence to support his alleged
        damages. First, although Claimant contends that he was denied credit based on Verizon's
        reporting of the $176.11 outstanding debt, none of the credit denials Claimant introduced into
        evidence identifies this reporting as the reason for the denial. For example. Claimant's Exhibit
        L—a credit denial from Bank of America dated November 11, 2021—^provides no reason at all
        for the denial. Similarly, Claimant's Exhibit N-1, a credit denial from Barclay's Bank dated
        October 9, 2018, states that the only reason for the denial is excessive credit applications—not
        any delinquency.




         ^ The fact that Verizon sent Claimant's debt to more than one collection agency is immaterial. The FDCPA applies
         only to "debt collectors," and does not regulate the conduct of creditors, like Verizon. Moreover, the FDCPA
         contemplates debt collection by successive debt collectors. See Hernandez v. Williams, Zinman & Parbam PC,829
         F.3d 1068, 1081 (9th Cir. 2016)("[T]he FDCPA unambiguously requires any debt collector—first or subsequent—
         to send a § 1692g(a) validation notice within five days of its first communication with a consumer in connection
         with the collection of any debt."); Tocco v. Real Time Resols., Inc.,48 F. Supp. 3d 535, 539(S.D.N.Y. 2014)
        (holding that"a debt collector must send a validation notice under section 1692g(a)even if a prior debt collector
        already sent a notice regarding tlie same debt"). Nonetlieless, Verizon's policy is to not send an account to more than
        one collection agency if a written cease and desist request is received by either Verizon itself, or by the collection
        agency. See 15 U.S.C. § 1692c(c)("If a consumer notifies a debt collector in writing that the consumer refuses to
        pay a debt or that the consumer wishes the debt collector to cease further communication witli the consumer, the
        debt collector shall not communicate further with the consumer with respect to such debt.")(emphasis added).
        Here, Claimant continued to contact Verizon. See, e.g., Respondent's Exh. 7-1 Regardless, all collection activity
         stopped by the end of 2018.

        ^ Damages can be direct/general or consequential/special. Direct/general damages "are the natural and probable
        consequence of the breach" of a contract and include "money that the breaching party agreed to pay under the
        contract." BiotronikA.G. v. ConorMedsystemsIreland, Ltd., 22 N.Y.3d 799, 805, 988 N.Y.S.2d 527, 11 N.E.3d
        676(2014)(citations omitted). "By contrast, consequential, or special, damages do not directly flow from the
         breach." Id. See Paciocco v. Acker, 121 Misc. 2d 342, 344,467 N.Y.S.2d 548, 550(Sup. Ct. 1983)(treating
        "consequential damages" as "including emotional distress" on breach of contract claim against physician).
Page 13 of 13


                Likewise, Claimant's Exhibits M and N are credit card dernals that cite a multiplicity of
         reasons for the denials, including the ratio of balances to credit limits and the length of time
         Claimant's accounts have been established. Moreover, Claimant has offered no evidence or
         testimony to establish that he suffered any direct monetary loss as a result of the alleged credit
         denials. Accordingly, Claimant's damages remain speculative. Farrar v. Brooklyn Union Gas
         Co., 73 N.Y.2d 802, 804, 533 N.E.2d 1055, 1055 (1988)(damages that are "inherently
         speculative" are not "compensable"). Indeed, Claimant admitted that he has multiple active
         credit cards he uses, and that no creditor reduced or increased the cost ofcredit due to Verizon's
         reporting of the Account.^

                 Further, Claimant has also failed to support his claimed emotional distress damages with
         sufficient evidence. For example. Plaintiff admitted at the hearing that he never saw a healthcare
         professional, nor took any prescribed medications for his alleged emotional distress. Claimant's
         emotional distress damages are based on nothing more than his vague testimony that the credit
         reporting and attempted collection of the $176.11 debt caused him ariuoyance. Yet, Claimant
         admits that he refused to pay that $176.11. In any event, Claimant admits that all collection
         activity stopped as of January 2019.

                 Finally, Claimant failed to mitigate his damages by refusing to have the $176.11 he owed
          Verizon deducted from his small claims court judgment. As the Account Notes indicate.
         Claimant informed Verizon in December 2018 that he would resolve the issue "anotlier way,"
         which was the filing of this lawsuit. See, e.g., Claimant's Exhs. L(November 22, 2021)and M
         (March 2, 2021). Thus, the evidence does not support Claimant's damages.

                                                     IV,      CONCLUSION
                                                                                                     I




                For all the foregoing reasons, Verizon respectfully remiests that the Arbitrator enter an
         award in Verizon's favor, and that Claimiant take nothing by way of his Arbitration.


                                                               Sincerely,

                                                              /s/Jordan S. Yii

                                                               Jordan S. Yu




       'Both the FCRA and FDCPA pennit recovery of actual damages and statutory damages, but they both cap the
       recovery ofstatutory damages at $1,000. See 15 U.S.C.A. § I681n(a)(permitting recovery of actual damages "or
       damages of not less than $100 and not more than $1,000" for s»/illful violation of the FCIdM (emphasis added); 15
          U.S.C.A. § 1681 o(a)(permitting recovery of actual damages, but not statutory damages, for"negligent violation of
         FCRA); 15 U.S.C. § 1692k (permitting statutory damages "not exceeding $1,000").            '
Respondent's Exhibit 9
C. HERGKOVIC. VtHlJDI^                                                                 376&/201O

                                                                                 TRIAL:!^ 04-£?01O

D: UERIZDN WIRELESS,


           .^'SQU^S



£2500.00 (DEI-GinOTTCTIVE SERytCES RENDERED. 02 01-2017 DN 02-01-2017
DECISION:
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                           ^                    -A^.

                                                                                                           I




                                                                          Respondent's Exhibit 9
                            /                     CIVIL COL'RT OF THE CITY OF NEW YORK                                                  /
rnimivnf                K                        SM ALL CLAIMS PART - CASE KFXOHO CARD                                ^ J             /,/
3-                                                                I. INQL'LST                                                       ^
     Having been designated by the Court as the Referee in this case, to hear and report my findings, and after having examined the Ciaimani's
proof, I,.                                                               , c!o hereby find and recommend:
       Claimant is entitled,to recover from the Defendant the sum of S .ffA                 wilh interest frnrn:        •                    □ Dismissed
Oaie             !                                   kcf<fci;_                                       w-
The above report is approved, and the clerk is directed to enter judgment accordingly.
Daie                                                                                                 .


□                                                     H. A. CONSENT TO ARBITRATION
       WE WERE INFORMED THAT THE ARBITRATION AWARD IS FINAL AND THAT NO APPEAL IS PERMITTED.

Our consent is given to submit this controversy to                                                                                          . as Arbitrator.
Claimani                                                Aitorne'.
m Person                                                for C.lainiani
                                                                                (Isign ah<sve and Prim Name and .Address on rcvetsc side)
Defendani                                               Aiiorney
in Person                                               fur Dtl'snilam
                                                                                  iSipn abiisc and Pnni Name and Address on reverse side)

                                                  n. B. ARBITRATOR S FINDING AND AWARD
       I, the Arbitrator designated to hear and determine this case, having heard the disputants, make ihi.s finding:
                □ Award in favor of Claimant S                                        ^■uh interest from:
                □ Claim Dismissed. No monetary award.
                iH Conditional award:                                         —
                n Settled as per .stipulation.

Dace                                                    ARBITKATOR,
CiV-5C-90 (Revised S.'93)




                                                                                                    Respondent's Exhibit 9
Exhibit O
From:       Yehuda Herskovic
            225 Ross Street
            Brooklyn, NY 11211

To:         Hon. Michael D. Blechman
            Arbitrator
            American Arbitration Association

In Re: Yehuda Herskovic v. Verizon Wireless

June 23, 2022
                  Briefing Post Evidentiary Hearing
      Yehuda Herskovic submits the following as his briefing post the
evidentiary hearing:
                           Clalnnant's Claim
      1.   This lawsuit arises out of an injury that Respondent caused
after Claimant obtained a judgment in the Smali Cfaims Court of Kings
County against Respondent.
     2.   On or about December 6, 2016, Claimant purchased a home
device from Verizon Wireless and Celico Partnership under the phone
number 718.387.4565 that would allow making phone calls through the
internet.

      3.    The services were for a "Wireless Home Phone Unlimited"
with a $20.00 monthly charge for unlimited phone calls. RESPONDENT'S
EXHIBIT 6-3.

     4.    After finding the home device defective due to frequent
dropped calls, Claimant submits that Respondent was unable to cure the
defective service, and the services were rescinded.
      5.    On or about December 27, 2017, the services between
Respondent and Claimant v^ere rescinded. Claimant submits that a
representative for Respondent conveyed to him that it would issue a
refund and will not be charged a tefrnination fee.
     6.     On or about January 30, 2018, Responc'ent issued an invoice
to Claimant charging an "early termination fse" along with other
surcharges in the total amount of $173.11. In evidence. Claimant's
Exhibit A is a true copy of the invoice that Claimant received.


                                  Paga i
     7.   Because Respondent failed-to refund the money paid and
continued charging a termination fee, Claimant sued Respondent in
Small Claims Court of King County under the 'eapti^h Yehuda Herskovic
V. Verizon Wireless, Index No. 3766/18. Th# lawsdit was filed February
7, 2018. The basis for the lawsuit sought a refund of all payments for the
rescinded services.                                  -    -
     8.     On December 4, 2018, the Small Claims Court awarded
judgment in his favor for $718.00,. In evidence, Claimant submitted
Exhibit B a true copy of the judgment from the Small Claims Court.
       9.   On January 9, 2019, Respondent duly satisfied the judgment
in full. In evidence, Claimant submitted Exhibit C a true copy of the
paystub of the check that he received from Respondent, which state in
the Description that the payment is a "Customer Refund".
      10. The issue in this case is that starting about August 2018 to
the present. Respondent has been reporting on Claimantc credit report
a "charge off of $176, representing the early termination fee. In evidence
Claimant submitted Exhibit I, J, and K, true copies of copies of his credit
reports, which show the only negative reporting is from Respondent.
      11. This report has been repeated monthly with all three credit
bureaus and every time that Claimant disputed the alleged debt with the
credit bureaus, Respondent has been insisting that the debt is valid.
Indeed, at the evidentiary hearing. Claimant has insisted that the debt is
valid and contended that the furnishing on Claimant's credit report is
accurate.

     12. Claimant submits that Respondent's negative report is false
because the services has been rescinded and should have never been
charged an early termination fee. A recisslon leaves the parties with the
position as if there was no contract and with no contract there is no basis
for the early termination fee.                        ,     •
      13. Most important, Respondent's negative report is false
because Claimant prevailed in Small Claims Court upholding the
rescission awarding a refund of all monies paid.
     14. After Respondent satisfied the judgment. Respondent is now
barred by collateral estoppel and transactional res judicata from claiming
that Claimant still owed them any money.
     15. At all relevant times, it is undisputed that Respondent had
agreed to abide by the judgment by the Small Claims Court and the

                                  Page 2
contention that Claimant owe them $176.11 was either waived or
foreclosed as a matter of law.
    16. By accepting the judgment of the Small Claims Court,
Respondent agreed to an accord and satisfaction that the judgment for
$718 settles all controversies between the parties arising from the
transaction regarding the defective home device.
    17. Moreover, by virtue ofthejudgmentof the Small Claims Court,
Respondent was bound by the rescission of the contract and there can
be no termination of the contract, when the contract is rescinded. Since
a recission leaves the parties in a position as If there was never a
contract.

       18. Claimant requests an award of declaratory and injunctive
relief, that Respondent is collaterally estopped from pursuing any claim
arising from the home device, including any claim for $176.11.
     19.    Claimant also requests an award that Respondent has no
legitimate basis for publishing a negative tradeline on Claimant's credit
report.
     20. As Exhibit I, J, and K, which are true copies of Claimant credit
reports shows, except for Respondent's false report, Claimant has an
unblemished credit report with a credit score in the mid 700s.
      21. As a direct result of Respondent's negative report, Claimant
submits to have repeatedly been denied credit. Claimant submitted
Exhibit L, M, N, and N1, true copies of instances where Claimant was
denied credit to "serious delinquencies" all while the only delinquency
was the negative reporting from Respondent.
      22. As a direct result of Respondent's negative report, Claimant
submits to have suffered actual damages and emotional distress. The
actual damages arise from the fact that Claimant lives on social security
and much of his income is supplemented by offering people to handle
automobile registrations at the local motor vehicle agencies. A
substantial part of the income involves using a credit card and receiving
points or milage on the spendings. These points or milage are the
equivalent of money, where Claimant is able to either convert the points
into cash or spend it on personal expenses. Claimant submitted Exhibit
O, P, Q, R, S, and T, true copies of billing statements showing the bulk
of charges are made by motor vehicle agencies, ranging in monthly
transactions from $10,000 to $51,000. Each dollar is the equivalent of at


                                 Page 3
least one point.
     23. Because of the negative reporting of Respondent, Claimant
submits to have been repeatedly denied credit where he could have
received for the same transaction a minimum of 2 to 5 points per dollar.
This is a substantial loss of income over the past two and half years of
over a million points, the equivalent of at least 1 to 2 cents per points,
ranging from $10,000 to $20,000.
     24. Although Respondent views Claimant's income of credit card
points in a negative light. Claimant submits that it is his livelihood and is
necessary to keep himself occupied while living solely on social security.
      25. In addition, every single day Claimant has been going through
the emotional toll the loss of these points is causing, when in fact, if not
for Respondent's negative reporting, Claimant submits that he could
have been enjoying far more credit card points.
     26.   Furthermore, every single time that Claimant could have
received a new credit card. Claimant lost out on the thousands of
bonuses points that credit card providers offer for new accounts.
      27. Respondent submits that upon learning of the judgment they
wanted to offset the $176.11 and Claimant refused. Respondent did not
go to the Small Claims Court to argue for that offset and instead paid the
judgment in full. Claimant submits that Respondent knew of the
judgment and the basis of the judgment on January 7, 2019, at the time
they issued payment of "Customer Refund".
    28. After prevailing in Small Claims Court, Respondent pursued a
game of harassing Claimant.
     29.   As shown in Exhibit B, on December 4, 2018, Claimant
obtained judgment from the Small Claims Court.
     30. On December 7, 2018, Respondent utilized a debt collector
with the name Diversified Consultants Inc. to issue a dunning letter
falsely purporting that Claimant owes $176.11 plus $31.69 in interest in
the total amount of $207.80. Claimant submitted Exhibit D, a true copy of
the collection letter delegated from Respondent.
      31. This collection letter was false and deceptive for a number of
reasons. First, Respondent had no legal basis for charging Claimant
interest on the termination fee. Respondent has been unable to explain
the basis for sending debt collectors to Claimant seeking compounded


                                   Page 4
interest on a disputed termination fee. Second, the $31.69 violated the
usury statutes of the State of New York. The General Obligations Law
voids obligations that charge above the civil usury rate of 16%. Third,
Respondent caused a debt collector to harass Claimant by falsely
misrepresenting the amount of the debt, in violation of 15 USC §
1692e(2)(a). Fourth, the judgment of the Small Claims Court and the
satisfaction thereof foreclosed the claim that Claimant owed Respondent
any money.

     32. Claimant duly disputed the false debt with Diversified
Consultants inc. Respondent was unable to verify the debt with
Diversified   Consultants   Inc.   and   the   tradeline   was   returned   to
Respondent.
     33. On June 14, 2019, Respondent utilized a debt collector with
the name Convergent Outsourcing Inc. to send Claimant a dunning letter
to falsely state that he owes $176.11 plus $31.69 in interest in the total
amount of $207.80. Claimant submitted Exhibit G a true copy of the
collection letter delegated from Respondent.
      34. Claimant duly disputed the false debt with Convergent
Outsourcing Inc. Yet, despite having prevailed with a judgment on the
entirety of the transaction and despite having Claimant's dispute honored
by independent debt collectors, Respondent had continued the negative
reporting on Claimant's credit report, causing Claimant the damages as
outlined earlier.

     35. Despite having debt collectors return the tradeline to
Respondent as an illegal collection. Respondent continues injuring
Claimant with a false and negative tradeline on his credit report. Three
years has already passed, and Respondent still maintains the negative
tradeline on Claimant's credit report.
     36. Respondent has a habit of alternating debt collectors after a
debt is marked as disputed to harass the consumer and illegitimately
force the consumer to either repeat the dispute process, give up on the
dispute, or extort payment for the disputed debt. At the hearing
Respondent admitted that the FDCPA does not apply to original creditor,
it only applies to a debt collector, and thus they are able to alternate debt
collectors and force the consumer to repeat disputing the debt. This is
harassment.

     37. Furthermore, this harassment by Respondent is by design.
They have a "recovery" team to dun consumers with malicious charges

                                    Page 5
as a "termination fee" in retaliation for leaving Respondent to another
utility provider. The malicious charge offs imposed by Respondent
against consumers is by design, even when the debt cannot be
substantiated, to create an obstacle for the consumer to obtain utility
services with another provider. The negative results are that a
successive utility provider will demand a substantial security deposit from
the consumer, because Respondent has reported on the consumer's
credit report the termination fee.
      38. Respondent abuses the credit report system knowing that
consumers have a limited recourse, given that Congress has enacted the
Fair Credit Reporting Act to refocus all causes of action on where a report
constitutes accurate reporting. As a direct result, Claimant was unable
to ask the Small Claims Court to enjoin Respondent from further
harassing him.
      39. It is upon this history of abuse Respondent willfully tarnished
his credit report—despite that the judgment of the Small Claims Court
foreclosed Respondent's claim for $176—and punitive damages are
warranted.

     40. As a direct result, each separate time that Respondent
reported the false debt on Claimant's credit report from December 4,
2018 onwards constitute a separate willful violation of Claimant's rights
under the FCRA. Claimant duly ask for punitive damages compounded
by each separate negative report on Claimant's credit report.
     41. Meaning, each month that Respondent made a negative
report to the credit bureaus constitute a separate willful violation of the
FCRA.

     42. There is no other adequate remedy at law to correct
Respondent's habit of extorting consumers through reporting false
charges to the credit bureaus.
     43. As Exhibit I, J, and K, true copies of Claimant's credit reports
show that Respondent made the negative report separately to Experian
and separately to TransUnion.
     44. There has been a passing of 43 months since December
2018. They are 86 negative reports that Respondent made between
Experian and TransUnion.
     45.    Respondent has known about the judgment as late as
January 7, 2019. Respondent still did not remove the negative tradeline


                                     Page 6
from Claimant's credit report and thus did not even seek to mitigate the
damages. Indeed, the payment stub, wherein Respondent paid Claimant
to satisfy the judgment shows that that Respondent acknowledged that
the judgment of the Small Claims Court was for a refund. At the
evidentiary hearing, Respondent acknowledged that it made a business
choice, instead of challenging the judgment it was satisfied. Thus,
Respondent is bound by the outcome of the judgment.
      46. Wherefore, Claimant requests an award in compensatory
damages of $20,000 as damages afforded by law under 15 USCA
1681n(a)(1)(A) and General Business Law § 380-m for actual damages
for willful noncompliance with the FCRA and actual damages for
negligent noncompliance with the FCRA under 15 USCA 16810(a)(1)(A)
and General Business Law § 380-1.
     47. Claimant also requests an award of damages afforded by law
as punitive damages under 15 USCA 1681n(a)(2) of $1,000 per false
reporting to each credit bureau in the total amount of $86,000.
     48. Claimant also request that Respondent be ordered to
immediately delete from Claimant's credit reports any negative reporting
it has made.

     49. Claimant also request that Respondent be placed under the
threat of a severe penalty that its continuous negative reporting of the
tradeline on any of his credit reports be met with a $10,000 penalty per
month for each report.
                           Legal Argument
     50. The controversy in this case arises froni a post judgment
violation. This case does not arise from a breach of contract. -
     51. To the extent that Respondent seeks affirmative relief that the
termination fee is valid, under its Customer Agreement, Respondent had
the opportunity to litigate the issue in the Small Claims Court. In its
Customer Agreement, Respondent provides that auxiliary to arbitration,
they accept litigating claims in Small Claims Court. The judgment herein
comes from the Small Claims Court.
     52.   Under New York law, the transactional analysis approach to
res judicata provides, that once a claim is brought to a final conclusion,
all other claims between the same parties or those in privity with them
arising out of the same transaction or series of transactions are barred,
even if based upon different theories or if seeking a different remedy.


                                  Page 7
Kleinman v Weisman Law Group. P.C., 176 AD3d 1046, 1047 [2d Dept
2019]. The transaction here has been fully decided, which involved the
services of a home device, the doctrine of res judicata precludes the
Respondent from relitigating the basis for the termination fee, as a
judgment on the merits exist in the prior action between the same parties
involving the same transaction. Kleinman v Weisman Law Group, P.C,,
176 AD3d 1046, 1047 [2d Dept 2019]. Even if Respondent is to argue
that the doctrine of res judicata only applies to claims and cannot
bar affirmative defenses, affirmative defenses may be dismissed as
barred by res judicata. Conwav & Conwav v Kaplan, 70 Misc3d 1213(A)
[Sup Ct 2021]. Resjudicata applies to affirmative defenses, as well as all
defenses and compulsory counterclaims that were, or could have been,
raised in the prior matter. In re Ditech Holding Corp., 19-10412 (JLG),
2022 WL 1750997, at *13[BankrSDNY May 28, 2022].
     53. In this sense of res judicata, the violation here arises from
Respondent's failure to give credence to the judgment of the Small
Claims Court and continuing reporting a termination fee that arose from
the same series of transactions upon which Claimant obtained a refund.
Regardless of whether the Small Claims Court involved a claim for
recission, the claim in this action does NOT arise from the series of
transactions covered under the Customer Agreement, because all claims
and defenses arising from that series of transaction are now barred.
Respondent has no legal basis for continuing furnishing on Claimant's
credit report that the Claimant owes them $176.11, because that claim is
barred by the judgment arising from the same series of transactions. This
failure to abide by a valid judgment is a claim completely independent
from the transactions that created that judgment. See CPLR 5101, 5104,
5210(examples of methods to enforce a judgment).
     54.   Here, the violations of the FCRA are independent claims from
the judgment of the debt that created the negative report; see Williams v
Capital One Bank (USA) N.A.. 785 Fed Appx 741, 745 [11th Cir 2019]
(citing Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 282,
125S.Ct. 1517, 161 L.Ed.2d454(2005)). Also see Wilson v HSBC Bank.
USA. 16-CV-8405 (NSR), 2018 WL 1449204, at *7 [SONY Mar. 22,
2018].
     55. Viewed in light most favorable to Respondent as the furnisher,
the Respondent's duty to remove the tradeline from Claimant's credit
report was conferred (according to the latest time possible—
notwithstanding that the report was inaccurate from its inception), when

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the judgment by the Small Claims Court was entered. At that point, the
Respondent's endeavor to assert a claim against Claimant was barred
by transactional res judicata. The FCRA regulates how the furnisher
must correct or delete inaccurate information. A consumer may sue a
furnisher and recover damages if the furnisher willfully or negligently
violated FCRA. Gross v CitiMortqaqe, Inc.. 33 F4th 1246, 1251 [9th Cir
2022]. The FCRA does allow for private civil causes of action against
furnishers under limited circumstances, such as when a furnisher willfully
or negligently fails to correct a credit reporting error after receiving notice
of      a        dispute        from        a       consumer          reporting
agency. See 15 U.S.C. §§ 1681 n, I68I0, 1681s-2(bMd).Galper v JP
Morgan Chase Bank, N.A.. 802 F3d 437, 445 [2d Cir 2015]
     56. Moreover, Respondent is barred by the doctrine of collateral
estoppel, which precludes a party from relitigating in a subsequent action
or proceeding an issue clearly raised in a prior action or proceeding and
decided against that party or those in privity, whether or not the tribunals
or causes of action are the same. The doctrine of collateral estoppel
applies here, as the issues in both actions are identical to the extent of
determining whether the Claimant was entitled to a refund or owed
money to Respondent, the issue in the prior action was actually litigated
and decided, there was a full and fair opportunity to litigate the action, the
issue previously litigated was necessary to support a valid and final
judgment on the merits, and the Respondent had its time to litigate the
validity of the termination fees. Kleinman v Weisman Law Group, P.C..
176 AD3d 1046, 1047 [2d Dept 2019]
       57. Respondent has not shown that its Customer Agreement
continues for a claim of recission. Respondent has also not shown that
its arbitration clause continues for controversies arising post judgment.
The judgment of the Small Claims Court brought to an end any claims or
defenses presented by the Customer Agreement.
      58. The propounded basis for arbitration arises from the
contention the Respondent's Customer Agreement has an arbitration
component. The Customer Agreement states that it applies only to an
issue involving a service provided by Respondent("By using the Service
you are agreeing to every provision of this Agreement whether or not you
have read it. This agreement also applies to anyone who uses your
Service.").
      59.   But the controversy in this case arises from a violation to


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abide by a judgment by the Small Claims Court and continuing a negative
tradeline on Claimant's credit report for a debt that is collaterally barred
by the judgment of the Small Claims Court. The controversy in this case
arises from a judgment; not a service. Claimant submits that the action
in the Small Claims Court sought a recission on the transaction creating
the Customer Agreement and seeking a full refund of all monies paid.
Respondent satisfied that judgment as a Customer Refund. Respondent
presented at the evidentiary hearing that upon learning of the judgment
in the Small Claims Court it made a business decision to satisfy the
judgment and issue a Customer Refund, rather than litigate it.
      60. Instead, Respondent argues that upon learning of the
judgment it offered Claimant to offset its termination fee from the
judgment, which Claimant declined. Respondent submits that upon
discussing the judgment with Claimant, there was a threat that Claimant
will sue Respondent for its reporting of the $176.11 on his credit report.
While Claimant denies having made any threats, the Respondent's
argument underscores the fact that Respondent was aware of Claimant's
dispute and made a conscious-willful choice to continue with the negative
reporting even after knowing that such claim is precluded by the
judgment.
      61. Respondent keeps waiving its Exhibit 4 for the proposition
that Claimant signed an arbitration agreement. Claimant submits that this
is false. First, there is no mention of Yehuda Herskovic anywhere on that
document to illustrate that the signature has any relationship with
Claimant. Second, there is no evidence from the document itself that
Yehuda Hesrkovic signed that document. Third, Respondent did not
submit any extrinsic evidence showing that Claimant signed Exhibit 4.
Fourth, Claimant disputed that this document is not his signature, does
not look like his signature and Respondent did not produce a signature
expert to assess whether the signature is of Claimant.
      62. Respondent insists that despite the services were $20.00
monthly charge for unlimited phone calls and Claimant received a refund
of approximately $12-13. But these refunds confirm that the Claimant
faced an issue with Respondent's services. While it is nice that
Respondent offered a partial refund. Respondent offers no logical reason
why a consumer would hold onto a defective service, spend hours calling
Respondent's customer service for a correction, and have to frequently
call the provider to receive an inconsequential refund of $12-13. Claimant
as the consumer needed and paid for a phone service, not for an

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extracurricular activity of chasing Respondent's customer service. In fact,
the Customer Agreement offers no compensation to a user who needs
to spend hours chasing Respondent's customer service.
      63. Indeed, the Respondent insists that under the User
Agreement the "only rights for dropped calls or interrupted Service" were
to receive a penny refund for each dropped call. Respondent's Exhibit 5-
5. In other words, a consumer facing dropped calls with Respondent has
no meaningful remedy other than to suck It up. Claimant submits that it
is precisely this experience why Claimant had no choice but to seek a
recission and refund of the defective services.
     64. Moreover, Respondent insists that its Exhibit 7 is a true and
complete record a recording of all the phone calls that Claimant had with
Respondent.     Exhibit 7 on its face dispels that. For Instance,
Respondent's Exhibit 7-8 shows that on 09/10/2017 "MDN 718-387-
4565: TROUBLE SHOOTING WAS DONE TIER 2 TECH TRANSFER
PHONE IS DROPPING SIGNAL INTERMITTENTLY, CLOSED BY
PREV REP PREMATURELY"(emphasis added).
     65. The record of dropped calls continues on Respondent's
Exhibit 7-7, shows that on "MDN 718-387-4565: DROPS CALLS. HAND
SET SAYS NO SIGNAL AND DROPS CALLS. CUSTOMER IS NOT
ABLE TO CHECK THE HOME PHONE DEVICE. HAVING HIM DIAL
THE *228 TO PROGRAM THE HOME PHONE AND TO WATCH IT FOR
DROPPED CALLS." Respondent's Exhibit 7-3 shows that on 06/28/2018
"***SUP      CALL***SPOKE          WITH      YEHUDA         DROPPED....
VROYALS/RECOVERY." Respondent's Exhibit 1-1 shows that on
December 13, 2018 "MDN 718-387-4565:001 CHECK DATES WHEN
CALLING RE REDISPUTES OF BILL. OUST ASKED FOR DATES
WHEN HE CALLED IN. ASKED TO KNOW WHAT WAS STATED ON
THE REMARKS. INFORMED OUST I AM UNABLE TO GIVE HIM THAT
INFO. OUST MAY WANT TO GO TO COURT BC HE HAD ISSUES IN
PAST. OUST UPSET BC HE HAD DROPPED CALLS IN THE PAST.
REFUSED TO PAY THE BILL. NEEDS REPRINT OF BILL. EDU OUST
TO GET A REPRINT AT THE STORE."
     66. These quotes from Respondent's Exhibit 7 shows that
Claimant did have an issue with Respondent's services due to frequent
dropped calls. While Respondent thinks that a consumer faced with
dropped call should continue a defective service, in the real world
dropped calls in the middle of a conversation Is extremely frustrating and


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is not a what a consumer bargain for. Respondent cannot show that any
consumer would want a defective service after having promoted itself as
the "Most Reliable Network."
     67. Finally, under New York public policy, it is the public policy of
this State, however, that a party may not insulate itself from damages
caused by grossly negligent conduct. This applies equally to contract
clauses purporting to exonerate a party from liability and clauses limiting
damages to a nominal sum. Gross negligence, when invoked to pierce
an agreed-upon limitation of liability in a commercial contract, must
smack of intentional wrongdoing. Sommerv Fed. Signal Corp., 79 NY2d
540, 554 [1992], Media Glow Digital. LLC v Panasonic Corp. of N. Am..
16 CIV. 7907(JFK), 2018 WL 2175550, at *5[SONY May 11, 2018]. The
Respondent cannot resort to its Customer Agreement as a shield against
damages for willful misconduct. The FCRA under 15 USCA
16810(a)(1)(A) and General Business Law § 380-1 provides for damages
for willful misconduct of making an inaccurate report on a consumer
credit report. Respondent is foreclosed under Sommer from escaping
liability for incidental and punitive the damages it caused.
                              Conclusion
      68. Wherefore, Claimant requests an award, that Respondent is
collaterally estopped from pursuing any claim arising from the home
device, including any claim for $176.11.
     69. Wherefore, Claimant also requests an award that Respondent
has no legitimate basis for publishing a negative tradeline on Claimant's
credit report.
      70. Wherefore, Claimant requests an award in compensatory
damages of $20,000 as damages afforded by law under 15 USCA
1681n(a)(1)(A) and General Business Law § 380-m for actual damages
for willful noncompliance with the FCRA and actual damages for
negligent noncompliance with the FCRA under 15 USCA 16810(a)(1)(A)
and General Business Law § 380-1.
     71. Wherefore Claimant also requests an award of damages
afforded by law as punitive damages under 15 USCA 1681n(a)(2) and
General Business Law § 380-! of $1,0C0 per false reporting to each credit
bureau in the total amount of $86,000.
     72. Wherefore Claimant also request that Respcridsnt be ordered
to immediately delete from Claimant's credit reports any negative


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reporting it has made.
     73. Wherefore Claimant also request that Respondent be placed
under the threat of a severe penalty that its continuous negative reporting
of the tradeline on any of his credit reports ba.met wJt^ ^ $;|.p,000 penalty
per month for each report.          .                 ^       -
Respectfully submitted,
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